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                              UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF TEXAS
    In re:
                                                               Chapter 11
    HIGHLAND CAPITAL MANAGEMENT, L.P.,1
                                                               Case No. 19-34054-sgj11
                     Reorganized Debtor.

    MARC S. KIRSCHNER, AS LITIGATION
    TRUSTEE OF THE LITIGATION SUB-TRUST,

                     Plaintiff,
                                                               Adv. Pro. No. 21-03076-sgj
              v.

    JAMES D. DONDERO et al.,

                     Defendants.


                            NOTICE OF SUPPLEMENTAL AUTHORITY

             Marc S. Kirschner (the “Trustee”), the Litigation Trustee of the Litigation Sub-Trust

submits this Notice of Supplemental Authority relevant to his pending Opposition to Defendants’

Motions To Dismiss (ECF No. 210).

             On October 12, 2022, the United States District Court for the Southern District of New

York decided a motion to dismiss in a case involving a litigation trustee. In re Tops Holding II

Corp. (Halperin v. Morgan Stanley Inv. Mgmt. Inc.), No. 18-22279, 2022 WL 6827457 (Bankr.

S.D.N.Y. Oct. 12, 2022) (attached as Exhibit A). The decision addresses, among other things, a

litigation trustee’s ability to use the Internal Revenue Service (the “IRS”) as a triggering creditor

under section 544(b) of the Bankruptcy Code, and the IRS’s standing, as a future creditor under

state law, to pursue fraudulent transfers that occurred prior to an assessment of tax liability, id. at




1
  The last four digits of the Reorganized Debtor’s taxpayer identification number are (8357). The Reorganized Debtor
is a Delaware limited partnership. The Reorganized Debtor’s headquarters and service address are 100 Crescent Court,
Suite 1850, Dallas, TX 75201.

                                                         1
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12-15, which are issues that are also raised by Defendants’ motions to dimiss and in the Trustee’s

opposition to those motions.

 Dated: January 6, 2023                              Respectfully submitted,

                                                     SIDLEY AUSTIN LLP
                                                     p
                                                     /s/ Paige Holden Montgomery
                                                     Paige Holden Montgomery
                                                     Juliana L. Hoffman
                                                     2021 McKinney Avenue
                                                     Suite 2000
                                                     Dallas, Texas 75201
                                                     Telephone: (214) 981-3300
                                                     Facsimile: (214) 981-3400

                                                     -and-

                                                     QUINN EMANUEL URQUHART &
                                                     SULLIVAN, LLP
                                                     Deborah J. Newman (admitted pro hac vice)
                                                     Robert S. Loigman (admitted pro hac vice)
                                                     Calli Ray (admitted pro hac vice)
                                                     Kate Scherling (admitted pro hac vice)
                                                     Anna Deknatel (admitted pro hac vice )
                                                     Aaron M. Lawrence (admitted pro hac vice)
                                                     51 Madison Avenue
                                                     Floor 22
                                                     New York, NY 10010
                                                     Telephone: (212) 849-7000

                                                     Counsel for Marc S. Kirschner, as Litigation
                                                     Trustee of the Highland Litigation Sub-Trust




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies, that on this 6th day of January 2023, the undersigned

caused a true and correct copy of the foregoing document to be served by electronically filing it

with the Court using the CM/ECF system, which sent notification to all parties of interest

participating in the CM/ECF system.

                                                    /s/ Paige Holden Montgomery
                                                    Paige Holden Montgomery




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                    2022 WL 6827457
     Only the Westlaw citation is currently available.                      MEMORANDUM OF DECISION
     United States Bankruptcy Court, S.D. New York.                          ON MOTIONS TO DISMISS

               IN RE: TOPS HOLDING II                           Robert D. Drain, United State Bankruptcy Judge
             CORPORATION, et al., Debtors.
       Alan D. Halperin, as the Litigation Trustee for                                  Introduction 1
        the Tops Holding Litigation Trust, Plaintiff,
                          v.                                    In late 2007 a group of private investors led by Morgan
              Morgan Stanley Investment                         Stanley, defined below, acquired the stock of the predecessor
           Management, Inc., et al., Defendants.                of Tops Holding II Corporation, which with its affiliated
                                                                debtors in these chapter 11 cases (together, “Tops” or
      Case No. 18-22279 (RDD) (Jointly Administered)            the “Debtors”), 2 before this bankruptcy case owned and
                             |                                  operated 169 supermarkets in upstate New York, northern
                  Adv. Pro. No. 20-08950
                                                                Pennsylvania, and Vermont 3 employing about 14,000
                             |
                 Signed October 12, 2022                        people, including over 12,300 union members. 4 The private
                                                                equity group paid approximately $300 million for the
Attorneys and Law Firms                                         purchase, although $200 million of such sum plus transaction
                                                                fees was funded with secured debt incurred by Tops and only
McKOOL SMITH, P.C., by Kyle A. Lonergan, Esq., James
                                                                $100 million came from the investors themselves. 5
H. Smith, Esq., Joshua Newcomer, Esq., Mike McKool, Esq.,
and Lewis T. LeClair, Esq. for Plaintiff Alan D. Halperin, as
                                                                Before the acquisition, Tops’ contingent pension plan
the Litigation Trustee for the Tops Holding Litigation Trust.
                                                                withdrawal liabilities so concerned Morgan Stanley that it
O'MELVENY & MYERS LLP, by Pamela A. Miller, Esq.,               decreased its offer from $415 million to $300 million when
Peter Friedman, Esq., Daniel S. Shamah, Esq., and Patrick D.    the seller refused to indemnify the purchasers or otherwise
McKegney, Esq. for Defendants Morgan Stanley Investment         curtail or eliminate the withdrawal liability risk. 6 In its 2007
Management, Inc., Morgan Stanley Capital Partners V U.S.        internal investment committee memo, Morgan Stanley stated
Holdco LLC, Gary Matthews, Eric Kanter, and Eric Fry.           that the primary pension plan “is significantly underfunded,
                                                                and we are concerned that this liability ... would seriously
GREENBERG TRAURIG, LLP, by Louis Smith, Esq., Alan              threaten the financial health of Tops if it were assumed as
J. Brody, Esq., and Matthew F. Bruno, Esq. for Defendants       part of the deal” and, with other pension plan exposure, likely
HSBC Equity Partners USA, L.P. and HSBC Private Equity
                                                                “scared away” other potential bidders. 7 Tops’ pre-acquisition
Partners II USA LP.
                                                                contingent pension-related liabilities came from two sources.
PATTERSON BELKNAP WEBB & TYLER LLP, by Daniel                   First, Tops was the largest participating employer in the
A. Lowenthal, Esq., for Defendant Begain Company Limited.       United Food & Commercial Workers Local One Pension
                                                                Plan (the “UFCW Pension Plan”) and was responsible for
ALSTON & BIRD LLP, by Jonathan T. Edwards, Esq.,                the vast majority of its liabilities. 8 Because of significant
Steven Campbell, Esq., and Evan Glasner, Esq. for Defendant     underfunding, the UFCW Pension Plan was in “critical
Turbic Inc.
                                                                status,” 9 and subject to a legally required rehabilitation
RICHARDS KIBBE & ORBE LLP, by David B. Massey,                  plan. 10 Tops made only the minimum required annual
Esq., Gregory G. Plotko, Esq., and Rebecca L. Salk, Esq. for    payments to the UFCW Pension Plan thereunder, equaling
Defendants Gregory Josefowicz and Stacey Rauch.                 less than 50% of the annual benefit payment by the Plan,
                                                                and, notwithstanding those payments, the UFCW Pension
                                                                Plan's underfunding continued to increase each year after
                                                                the acquisition. 11 Second, under a Supply Agreement with
                                                                C&S Wholesale Grocers, Inc. (“C&S”), Tops indemnified


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C&S for any pension withdrawal liability under the New             directors wrongfully permitted that to happen in 2012 and
York State Teamsters Conference Retirement Fund/Teamsters          2013 when claims against them for such conduct are not time-
Local Pension Fund (the “Teamsters Pension Plan;” with the         barred. 26 The same can be said of Tops’ payment of the 2010
                                              12
UFCW Pension Plan, the “Pension Plans”).                           dividend, based on there being no solvency opinion, proper
                                                                   adjustments to the 2009 solvency opinion for contingent
*2 Over the next six years while Tops not only was under           Pension Plan obligations that the 2009 opinion ignored, and
Morgan Stanley's controlling ownership but also its day-           Tops’ increasing indebtedness between the 2009 and 2010
to-day control of business decisions, 13 Tops’ contingent          dividends. 27 Moreover, even disregarding the flaws in the
pension-related withdrawal liabilities grew significantly,         solvency opinions, they, along with Morgan Stanley's own
from $85 million upon the acquisition to over $515 million         view of what would be a proper post-dividend capital surplus,
in May 2013, 14 the month of the last transfer to the private      show that the dividends left Tops with insufficient capital and
equity investors challenged by the Complaint. Tops’ funded         that Tops believed it would incur debts beyond its ability to

debt, almost entirely secured, 15 also grew, from $227 million     pay as they matured. 28

after the acquisition to $649 million in May 2013, 16 and Tops
                                                                    *3 Having failed to sell their stake in Tops to outside
severely constrained its investment in its stores, 17 a risky      investors in 2012, in large measure because the market was
practice in the grocery industry. 18                               wary of Tops’ financial condition, including its contingent
                                                                   pension-related liabilities, 29 the private equity investors
Nevertheless, during those six years Tops also paid over
                                                                   obtained their last dividend in May 2013 30 (at the same time
$375 million in four dividends to the private equity investors,
                                                                   that management received bonuses ranging from $75,000 to
funded not from operations but from the proceeds of
almost entirely secured loans and the curtailment of capital       over $2 million) 31 and entered into a Purchase and Sale
                                                                   Agreement, dated December 3, 2013, under which they sold
expenses, 19 with Morgan Stanley receiving the lion's share,
                                                                   their stock to an entity controlled by Tops’ senior management
a handsome rate of return on investment, to say the
                                                                   for, according to the Complaint, “a pittance, with Tops itself
least. 20 As stated by Tops’ CFO, Morgan Stanley's “intent
                                                                   funding the vast majority of the purchase price” 32 and the
                                                        21
[was] to take every nickel plus” in the dividends.         The     management group funding $4.3 million.
Complaint contends that each dividend -- along with Tops’
contingent pension plan liabilities, increased funded debt, and    Tops filed for protection under the Bankruptcy Code on
curtailed capital expenditures -- rendered Tops insolvent and
                                                                   February 21, 2018. 33 The Court confirmed Tops’ joint
insufficiently capitalized, and that Tops believed that after
                                                                   chapter 11 plan (the (“Plan”) on November 9, 2018, under
making each of the dividends, it would not be able to pay
                                                                   which it emerged as a reorganized business having shed
its debts, which included the contingent pension liabilities, as
                                                                   hundreds of millions of dollars of funded secured debt in
they came due. 22                                                  return for new, substantially reduced secured debt and all of
                                                                   the equity in the reorganized company, with the exception of
Tops obtained favorable solvency opinions before the               reserved equity for a management incentive plan. As part of
issuance of three of the dividends, 23 but the Complaint           its chapter 11 case, Tops also terminated the UFCW Pension
contends that those opinions were so flawed in their               Plan and settled its liability to the Teamster's Pension Plan for
formulation and on their face, as well as diverging from           a modest amount and left over $1 billion in creditor losses. 34
other evidence in Morgan Stanley and Tops’ possession              The Plan established the GUC Litigation Trust (the “Trust”)
regarding Tops’ financial condition, that they not only should
                                                                   for the benefit of Tops’ unsecured creditors, 35 with Alan D.
be disregarded without appropriate corrections that would
                                                                   Halperin as trustee and Trust assets including the causes of
show Tops to have been insolvent at the relevant times, 24         action based on the payment of the dividends alleged in the
but also, in context -- including that Tops took no meaningful
                                                                   Complaint. 36
measures to address its ever-increasing contingent pension
plan liabilities 25 along with Tops’ increased borrowing, and      The Complaint asserts thirteen claims -- against Morgan
capital expenditure reductions -- show that (a) Tops acted         Stanley Investment Management Inc. d/b/a Morgan Stanley
with fraudulent intent in issuing the dividends and (b) its        Private Equity and Morgan Stanley Capital Partners


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(“MSIM”), Morgan Stanley Capital Partners V U.S. Holdco
LLC a/k/a North Haven Capital Partners V U.S. Holdco
LLC (“MSCP V Holdco;” together with MSIM, “Morgan
Stanley”); HSBC Equity Partners USA, L.P. (“HSBC I”),
HSBC Private Equity Partners II USA LP (“HSBC II,”
and with HSBC I, “HSBC”); Turbic Inc. (“Turbic”); and
Begain Company Limited (“Begain;” collectively with
Morgan Stanley, HSBC, and Turbic, the “Private Equity
Investors”); and Gary Matthews (“Matthews”), Eric Kanter
(“Kanter”), Eric Fry (“Fry;” collectively with Matthews and
Kanter, the Morgan Stanley Director Defendants”), Greg
Josefowicz (“Josefowicz”), and Stacey Rauch (“Rauch;”
collectively with the Morgan Stanley Director Defendants and
Josefowicz, the “Director Defendants;” and together with the
Private Equity Investors, the “Defendants”), to avoid under
New York's Debtor and Creditor Law (“NY DCL”), 37 as
incorporated by section 544(b) of the Bankruptcy Code, the
four dividends to the Private Equity Investors as constructive
and intentional fraudulent transfers and to recover them
under section 550 of the Bankruptcy Code (Counts I-VIII);
for damages, in each case related to the consideration and
approval of the 2012 and 2013 dividends, against the Director
Defendants under New York's Business Corporation Law
(“NY BCL”) based on the unlawful authorization of the 2012
and 2013 dividends (Counts IX-X), and claims for damages
against the Director Defendants under the NY BCL and New
York common law for breach of fiduciary duty (Count XI)
and against MSIM for aiding and abetting breach of fiduciary
duty (Count XII), as follows:
                                                                 [Editor's Note: The preceding image contains the reference
                                                                 for footnote 38 ]

                                                                 Morgan Stanley and the Morgan Stanley Director Defendants
                                                                 (each of whom was a Morgan Stanley director when serving
                                                                 on Tops’ Board; 39 HSBC; Turbic; Begain; and Josefowicz
                                                                 and Rauch have filed motions (the “Motions”) 40 to dismiss
                                                                 the claims asserted against them under Fed. R. Civ. P. 12(b)
                                                                 (6), and, where relevant, Fed. R. Civ. P. 9(b), incorporated by
                                                                 Fed. R. Bankr. P. 7012 and 7009, respectively. HSBC, Turbic,
                                                                 Begain, and Josefowicz and Rauch joined in the following
                                                                 arguments made by Morgan Stanley, in addition to making
                                                                 certain points of their own in large measure based on their
                                                                 assertedly lesser role than Morgan Stanley and the Morgan
                                                                 Stanley Directors in the years-long looting scheme alleged by
                                                                 the Complaint:

             Defendant                                     Joinder                               Separate
                                                          in Morgan                            Memo of Law/
                                                                                               Other Joinder

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                                                           Stanley's
                                                          Arguments

          HSBC (in each                            • Time Barred                • Conclusory
         case as to claims                         (Counts I-VIII)              Actual Fraudulent
           to avoid and                                                         Transfer Claims
            recover the                            • Not Plausible              (Counts VVIII)
          dividends to it                          (Counts (I-VIII)
           as fraudulent                                                        • Supplemental
             transfers)                            • Fails to Show              11 U.S.C. §
                                                   Transferee's                 546(e) argument
                                                   Fraudulent Intent
                                                   (Counts V – VIII)
                                                   • Safe-Harbored
                                                   by 11 U.S.C. §
                                                   546(e) (Counts I,
                                                   III-V, VII-VIII)

          Turbic (in each                          • Time Barred                • Conclusory
         case as to claims                         (Counts I-VIII)              Actual Fraudulent
           to avoid and                                                         transfer claims
            recover the                            • Not Plausible              (Count V-VIII)
          dividends to it                          (Counts I-VIII)              (Joins in HSBC's
           as fraudulent                                                        arguments)
             transfers)                            • Fails to Show
                                                   Transferee's                 • Supplemental
                                                   Fraudulent Intent            11 U.S.C. §
                                                   (Count V-VIII)               546(e) argument
                                                   • Safe-Harbored
                                                   by 11 U.S.C. §
                                                   546(e) (Counts I,
                                                   III-V, VII-VIII)

          Begain (in each                          • Time Barred                • Conclusory
         case as to claims                         (Counts II-IV, VI-           Actual Fraudulent
            to avoid and                           VIII)                        Transfer Claims
             recover the                                                        (Counts VIVIII)
           dividends to it                         • Not Plausible              (Joins in HSBC's
           as fraudulent                           (Counts II-IV, VI-           arguments)
              transfers)                           VIII)
                                                   • Fails to Show
                                                   Transferee's
                                                   Fraudulent Intent
                                                   (Counts II-IV, VII-
                                                   VIII)
                                                   • Safe-Harbored
                                                   by 11 U.S.C. §
                                                   546(e) (Counts II-
                                                   IV, VI-VIII)

          Josefowicz and                           • Unlawful                   • Unlawful
          Rauch (in each                           Dividend and                 Dividend Claims
         case as to claims                         Breach of                    (Counts IX and X)


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          for their conduct                           Fiduciary Duty                             Do Not Plausibly
           related to their                           Claims (Counts                             Assert Breach of
          approval of and                             IX-XI) Time                                Fiduciary Duty or
           Tops’ issuance                             Barred                                     Insolvency
            of dividends)
                                                      • Unlawful                                 • Exculpation
                                                      Dividend Claim                             of Duty of Care
                                                      Safe- Harbored                             Claims (Count XI)
                                                      by 11 U.S.C. §
                                                      546(e) (Counts IX                          • Duty of Loyalty/
                                                      and X)                                     Good Faith
                                                                                                 Claims (Count XI)
                                                      • Trustee Lacks                            Not Plausible
                                                      Standing to
                                                      Bring Breach of
                                                      Fiduciary Duty
                                                      Claim (Count
                                                      XI) Because
                                                      Insolvency not
                                                      Plausible

                                                                    Complaint does not plausibly allege insolvency or a breach of
The Trust opposes the Motions in their entirety. 41
                                                                    fiduciary duty in connection the issuance of the dividends.

Generally, the Defendants contend that (i) the Trust cannot
                                                                     *6 For the reasons stated below, the Motions are granted in
assert the Complaint's fraudulent transfer claims with regard
                                                                    part and denied in part.
to the 2009 and 2010 dividends because the Complaint does
not identify, as required by section 544(b) of the Bankruptcy
Code, a creditor holding an allowable unsecured claim on the
bankruptcy petition date with the right to avoid those transfers                             Jurisdiction
under applicable law; (ii) the Trust's fraudulent transfer
                                                                    The Court has subject matter jurisdiction over this adversary
claims in any event are not plausible because the Complaint
                                                                    proceeding and the Motions under 28 U.S.C. §§ 157(a)-(b)
(a) does not plausibly allege that Tops was insolvent or
                                                                    and 1334(b), the Amended Standing Order of Reference,
undercapitalized or rendered insolvent or undercapitalized
                                                                    dated January 31, 2012, and the reservation of jurisdiction
when any of the dividends were paid, or that Tops paid the
                                                                    in the Plan and Confirmation Order. As noted, the Trust
dividends with the belief that it would incur debts beyond its
                                                                    was established under the Plan to pursue claims including
ability to pay as they matured, and (b) has not sufficiently pled
                                                                    those in the Complaint, which were primary assets of the
intent to defraud as to any of the dividends; (iii) the dividends
                                                                    Debtors’ bankruptcy estates as far as unsecured creditors
sought to be avoided as fraudulent transfers and that serve as
                                                                    were concerned. For purposes of the Court's retention of
the basis for breach of fiduciary duty and unlawful dividend
                                                                    post-confirmation jurisdiction, this litigation therefore has the
claims in any event are safe-harbored under section 546(e) of
the Bankruptcy Code; (iv) the Trust lacks standing to bring         necessary close nexus to the Plan and its implementation. 42
its fiduciary duty and aiding and abetting breach of fiduciary
claims because the Complaint does not plausibly allege that         This ruling on the Motions is interlocutory, and therefore any
Tops was insolvent when the 2012 and 2013 dividends were            issues regarding the Court's ability to decide claims asserted
made; (v) the breach of fiduciary duty and aiding and abetting      in the Complaint by a final judgment are not implicated
breach of fiduciary duty claims are time barred; and (vi)           here. 43 Nor is the Court required to state findings of fact or
as to Josefowicz and Rauch, (a) the Complaint's claims for          conclusions of law with respect to the Motions. 44
breach of the fiduciary duty of care are exculpated, (b) the
Complaint's claims for breach of the fiduciary duties of
loyalty/good faith are not plausible, and (c) the Complaint's
unlawful dividend claims should be dismissed because the                          Legal Standards on the Motions




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                                                                   two plausible inferences that may be drawn from factual
1. Motion to Dismiss for Failure to State a Claim                  allegations is not a choice to be made by the court on a
When considering a motion under Fed. R. Civ. P. 12(b)(6),
                                                                   Rule 12(b)(6) motion.” 57 Thus, “[a] court ruling on such
the Court must assess the legal sufficiency of the complaint
                                                                   a motion may not properly dismiss a complaint that states
in the light of Fed. R. Civ. P. 8’s pleading requirements
                                                                   a plausible version of the events merely because the court
(and, as applicable, Fed. R. Civ. P. 9(b)), not require the
                                                                   finds a different version more plausible.” 58 Instead, “a well-
plaintiff to prove those allegations. 45 The Court accepts
                                                                   pleaded complaint may proceed even if it strikes a savvy
the complaint's factual allegations as true and must draw all
                                                                   judge that actual proof of the facts alleged is improbable, and
reasonable inferences in the plaintiff's favor. 46
                                                                   that a recovery is very remote and unlikely.” 59

*7 Consistent with Rule 8, courts evaluate a Rule 12(b)(6)
motion, “based on [t]wo working principles” articulated in         2. Matters that May Be Considered on a Motion to
Ashcroft v. Iqbal, 556 U.S. at 678-79, 129 S.Ct. 1937. 47 First,   Dismiss
“[w]hile legal conclusions can provide the framework of a          On a Rule 12(b)(6) motion, a court is generally limited to
complaint, they must be supported by factual allegations.” 48      considering allegations contained in the “four corners of the
Thus “[a] pleading that offers labels and conclusions or a         complaint.” 60 A complaint is “deemed to include any written
formulaic recitation of a cause of action will not do.” 49         instrument attached to it as an exhibit or any statements or
Instead, the Court must identify the elements of the applicable    documents incorporated in it by reference.” 61 A document
cause of action 50 and determine whether the complaint             is incorporated by reference, however, only if the complaint
states sufficient facts, not legal conclusions, to support it,     makes “a clear, definite, and substantial reference to it,” and
recognizing that, while Rule 8’s pleading standard “does not       “[m]ere discussion or limited quotation of a document in
require detailed factual allegations” and “marks a notable and     a complaint does not qualify as incorporation.” 62 “Even
generous departure from the hypertechnical, code-pleading          where a document is not incorporated by reference, the
regime of a prior era,” “it demands more than an unadorned,        court may nevertheless consider it where the complaint relies
the-defendant-unlawfully-harmed-me accusation.” 51                 heavily upon its terms and effect, which renders the document
                                                                   ‘integral’ to the complaint,” 63 provided that plaintiff had
“Second, only a complaint that states a plausible claim for        actual notice of the document, 64 there is no dispute as
relief survives a motion to dismiss. Determining whether
                                                                   to its relevance, authenticity, or accuracy, 65 and the court
a complaint states a plausible claim for relief will ... be a
                                                                   is satisfied that the document is in all relevant respects
context-specific task that requires the reviewing court to draw
on its judicial experience and common sense. But where the         complete. 66 Generally, consideration of such an “integral”
well-pleaded facts do not permit the court to infer more than      document is warranted because it is a “contract or other legal
the mere possibility of misconduct, the complaint has alleged      document containing obligations upon which the plaintiff's
-- but it has not ‘show[n]’ -- ‘that the pleader is entitled to    complaint stands or falls, but which for some reason -- usually
                                                                   because the document, read in its entirety, would undermine
relief.’ Fed. R. Civ. Proc. 8(a)(2).” 52
                                                                   the legitimacy of the plaintiff's claim -- was not attached to

“To be plausible, the complaint need not show a probability        the complaint,” 67 or the complaint is based on an allegedly
of plaintiff's success, but it must evidence more than a mere      fraudulent statement or omission in a document and therefore
                                                                   examination of the document will show whether in fact the
possibility of a right to relief.” 53 Thus, while a plaintiff
need not prove its factual allegations at the motion to dismiss    statement was made. 68
stage, to unlock the door to discovery and continued litigation,
the complaint's allegations must at least “raise a reasonable      *8 A court may also consider “matters of which a court

expectation that discovery will reveal liability, 54 including     may take judicial notice,” 69 such as public records or other
                                                                   documents where there is “no serious question as to their
in the inferences that it asks the court to make. 55 “Because
plausibility is a standard lower than probability, a given set     authenticity.” 70 However, it may consider such a document
of actions may well be subject to diverging interpretations,       only “to determine what statements [it] contain[s], and not for

each of which is plausible,” 56 and “[t]he choice between          the truth of the matters asserted therein,” 71 because where a



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fact is in issue the latter determination is not appropriate for     of a bankruptcy trustee may vary depending on whether
a motion to dismiss.   72                                            the plaintiff has had an opportunity to take discovery of
                                                                     those who may possess knowledge of the pertinent facts,” 81
The Court has spent more than the usual time on issues about         because often “a trustee is an outsider to the transactions who
the types of documents it can consider in connection with a          must plead fraud from second-hand knowledge.” 82 Here,
motion to dismiss because Morgan Stanley and Josefowicz              the record is not entirely clear as to the extent of discovery
and Rauch have filed extensive documents in support of their         available to the Trust before the filing of the Complaint, but
Motions, 73 and the Trust argues that most of them are neither       it does not appear to have been minimal.
incorporated in the Complaint -- indeed not even mentioned
in it -- nor “integral” to it because not relied on by it or          *10 Corporations act only through those who control
necessary to its allegations, that others tell less than the whole   them under applicable state law -- directors or controlling
story and therefore are incomplete, and that others are offered      shareholders -- and therefore it is the intent of those people,
for the purpose of asking the Court to make a ruling on              acting in such capacity, that must be pled as to the specific
a disputed factual issue. 74 This memorandum of decision             transaction at issue. 83
discusses specific instances when a Motion improperly cites
to such documents, or, alternatively, where a Motion properly        Rule 9(b) expressly does not require that fraudulent intent
cites to extraneous documents, only when it addresses those          be pled with particularity, 84 and the Second Circuit has
aspects of the Motions that rely on them and such citations          long recognized that because of the difficulty of proving
might be material to the outcome.                                    it, the pleader is allowed “to allege facts that give rise
                                                                     to a strong inference of fraudulent intent.” 85 Generally,
 *9 “Although the statute of limitations is ordinarily an
                                                                     such an inference “may be established either (a) by
affirmative defense that must be raised in the answer, a statute
                                                                     alleging facts to show that defendants had both motive
of limitations defense may be decided in a Rule 12(b)(6)
                                                                     and opportunity to commit fraud, or (b) by alleging facts
motion if the defense appears on the face of the complaint.
                                                                     that constitute strong circumstantial evidence of conscious
If it appears from a complaint that the claims are prima facie
time-barred, the burden is on the plaintiff to plausibly allege      misbehavior or recklessness.” 86 The same approach applies
that they fall within an exception to the applicable statute of      in the intentional fraudulent transfer context, 87 although
limitations.” 75                                                     courts often rely on established “badges of fraud,” “i.e.,
                                                                     circumstances so commonly associated with fraudulent
                                                                     transfers that their presence gives rise to an inference of
3. Rule 9(b)                                                         intent.” 88 At the same time, “[m]otives that are generally
Fed. R. Civ. P. 9(b), incorporated by Fed. R. Bankr. P.              possessed by most corporate directors and officers do not
7009, states that “[i]n alleging fraud ... a party must state        suffice to demonstrate fraud,” and approval of merely “a
with particularity the circumstances constituting fraud. ...         risky transaction ... would arguably support a negligence or
Malice, intent, knowledge, and other conditions of a person's        constructive fraud claim but not ... an intentional fraudulent
mind may be alleged generally.” It is well established that          transfer claim. Indeed, there is nothing unlawful about
Rule 9(b) applies to claims to avoid intentional fraudulent          a company transacting business during unusually difficult
transfers under NY DCL § 276. 76 On the other hand, the              financial times in an attempt to prevent its own collapse.” 89
overwhelming weight of authority is that Rule 8(a), not
Rule 9(b), applies to claims to avoid constructive fraudulent
transfers under NY DCL §§ 273-275, 77 for breach of
                                                                                                The Claims
fiduciary duty, 78 and for authorizing unlawful dividends
under NY BCL § 720. 79 Although the circumstances                       1. The Fraudulent Transfer Claims.
constituting alleged intentional fraudulent transfers -- the         A. Are the Claims to Avoid the 2009 and 2010 Dividends
“what,” “to whom,” “when,” and “how” of the transfer,                as Fraudulent Transfers Time-Barred, Thereby Depriving the
including the consideration for it or lack thereof -- must be        Trust of Standing? The Trust brings its fraudulent transfer
                                                                     claims under section 544(b) of the Bankruptcy Code, which
pled with particularity, 80 “the degree of particularity required
                                                                     provides, with inapplicable exceptions, “[T]he trustee may



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avoid any transfer of an interest of the debtor in property ...        *12 Pointing to New York's six-year limitations period, the
that is voidable under applicable law by a creditor holding           Defendant's contend, though, that the October 2009 and July
an unsecured claim that is allowable under section 502 of             2010 dividends cannot be avoided under NY DCL § 273
this title.” 90 Thus, in addition to pleading the transfers of        because they are time-barred on the face of the Complaint.
the dividends -- in each case indisputably a transfer of the          The Trust responds that the general six-year limitations period
Debtor's property -- the Trust must plead, in satisfaction of         is not the only applicable period to bring a claim under NY
                                                                      DCL § 273, however. The Trust alleges the Internal Revenue
Rule 8, that (a) as of the bankruptcy petition date 91 there
                                                                      Service (“IRS”), specifically named in the Complaint as
was a least one holder of an allowable unsecured claim (b)
                                                                      holding an unsecured claim against Tops on the bankruptcy
that had the ability to avoid the challenged transfer “under
                                                                      petition date, at that time had the ability to avoid the 2009
applicable law,” that is, applicable non-bankruptcy transfer-
                                                                      and 2010 dividends under “applicable law” for purposes of
avoidance law. Without the existence of such a creditor, the
                                                                      section 544(b) of the Bankruptcy Code 101 because the IRS
Trust would lack standing to pursue the claim. 92 With such a
                                                                      has the benefit of a separate limitations period that would
creditor, however, the Trust can pursue the claim not only for
                                                                      extend NY DCL 273’s reach-back to the transfers.
the benefit of that creditor, who may have only a small claim
to satisfy, but also for the benefit of all unsecured creditors. 93   The Private Equity Investors contend, though, that,
                                                                      notwithstanding the plain terms of section 544(b)(1), the
 *11 “It is not necessary that the claim held by that creditor        Trust cannot, however, assert the IRS's avoidance rights
at the bankruptcy filing be identical to the one held at the time     under “applicable law.” They argue, first, that because the
of the fraudulent conveyance,” 94 or, under some applicable           longer limitations period applying to the IRS derives from the
fraudulent transfer laws, that the creditor even have had             doctrine of quod nullum tempus occurrit regi (or “no time
a claim at the time of the transfer, only that the petition           runs against the king”), under which the United States is not
date creditor could avoid the transfer under applicable non-          bound by state statutes of limitation, the Trust -- obviously not
bankruptcy law. For example, by their plain terms NY DCL              a federal entity -- cannot appropriate it. The nullum tempus
§§ 274 - 276 provide that the types of transfers described            doctrine enables the IRS to avoid fraudulent transfers that
therein are fraudulent as to future creditors as well as to           occurred outside of applicable state law limitations periods,
creditors at the time of the transfer, 95 and some creditors can      provided that it was enforcing a public right or the public
avoid a constructive fraudulent transfer under NY DCL § 273           interest absent a clear showing of contrary congressional
even if the debt in existence at the time of the transfer was         intent. 102 Relying on the logic of Wagner v. Ultima Homes,
replaced by new debt. 96                                              Inc. (In re Vaughan Co., Realtors), 103 the Private Equity
                                                                      Investors contend that those restrictions on the doctrine
Tops’ bankruptcy petition date was February 21, 2018. The             preclude anyone using it except the federal government, that
applicable limitations period to avoid a fraudulent transfer          is, that the Trust is not pursuing a public right or public interest
under the NY DCL, which the parties agree would be the                and that congressional intent to incorporate the doctrine into
applicable transfer-avoidance law, generally is six years from        section 544(b) is not clear. 104
the date of the transfer. 97
                                                                      In re Vaughan has been cogently criticized by several courts,
The claims to avoid the 2012 and 2013 dividends, which                however, (a) as being contrary to the plain meaning of section
were paid in December 2012 and May 2013, respectively, 98             544(b), which establishes congressional policy to provide, for
facially are not time-barred, as the dividends were paid              the benefit of the estate, the avoidance claim of any triggering
within six years of the petition date. The same holds true for        creditor “under applicable law” and (b) for not recognizing, in
claims to avoid all four of the dividend issuances under NY           any event, that fulfilling the IRS's ability to collect a tax from
DCL §§ 274-276. The Defendants have not challenged the                the transferee of a taxpayer for the benefit of all unsecured
Complaint's allegations that there was at least one holder of         creditors in the equitable operation of the bankruptcy law is in
an allowed unsecured claim that had the ability on the petition       the public interest. 105 Indeed, Vaughan has been rejected by
date to avoid those transfers. 99 In any event, such a general        every other court considering the issue, now a long list. 106 I
pleading suffices at this stage in the litigation. 100                agree with those decisions; for the Private Equity Investors’
                                                                      argument to prevail, section 544(b)(1) would need to be


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amended by adding to its final clause “provided, that only          collect on it or proceed in court to collect, including to seek
the state law limitations period shall apply.” Thus, the Trust      to avoid a fraudulent transfer. As for the first limitation, the
is correct that if the IRS qualifies as a triggering creditor       general rule is that “the amount of any tax imposed by this
under section 544(b), the Trust has standing to seek to avoid       title shall be assessed within 3 years after the return was filed
the 2009 and 2010 dividends under NY DCL § 273 as                   (whether or not such return was filed on or after the date
incorporated by that section of the Bankruptcy Code.                prescribed).” 107 That is, the first step to triggering the time
                                                                    to assess is the taxpayer's filing of a return; the IRS's filing
 *13 The Private Equity Investors further argue, however,           of a return under 26 U.S.C. § 6020(b), does not start the
that if, as the Court has concluded, the Trust could use the
                                                                    period to run. 108 In addition, the Internal Revenue Code has
IRS as a triggering creditor under section 544(b), the IRS’
                                                                    at least 15 specified exceptions to the general three-year rule,
fraudulent transfer claim under NY DCL § 273 would be
                                                                    including to permit the IRS to proceed in court without an
time-barred in any event. They contend that the relevant
provision of the Internal Revenue Code by its plain terms           assessment. 109
does not give the IRS the right to pursue a fraudulent transfer
made before the underlying tax was assessed and that the            But more importantly, it is the IRS's status as a creditor at the
Complaint does not allege that the 2009 and 2010 dividends          time of the transfer (or as a future creditor, depending on the
occurred after any such assessment. This argument, however,         applicable fraudulent transfer statute) that gives it standing to
misconstrues the statue and the case law applying the nullum        avoid a fraudulent transfer, not the assessment. “[T]he IRS's
tempus doctrine.                                                    status as a creditor of the debtor is not dependent on the
                                                                    assessment of the tax” at all. 110 In other words, “Reading all
The Trust concedes that the nullum tempus doctrine is limited       of these provisions together suggests that the IRS need not
by 26 U.S.C. § 6502, which provides in relevant part,               assess the tax to qualify as a triggering creditor for purposes
                                                                    of § 544(b),” 111 only that after an assessment it has ten years
  (a) Length of period. Where the assessment of any tax
     imposed by this title has been made within the period of       to commence suit. 112
     limitation properly applicable thereto, such tax may be
     collected by levy or by a proceeding in court, but only if      *14 The Private Equity Holders’ citation of two decisions
     the levy is made or the proceeding begun --                    to the contrary is not persuasive. In Luria v. Thunderflower,
                                                                    LLC (In re Taylor Bear, & Whitaker Mortg. Corp.), 113 the
     (1) within 10 years after the assessment of the tax .... If    court stated merely that “[t]he Court is unaware of case
     a timely proceeding in court for the collection of a tax       law permitting the IRS to avoid transfers made prior to
     is commenced, the period during which such tax may be          the original taxpayer assessment” and, therefore, withheld
     collected by levy shall be extended and shall not expire       summary judgment and permitted the parties to “revisit this
     until the liability is satisfied or becomes unenforceable.
                                                                    issue.” 114 Presumably the result would have changed if the
The Trust correctly contends, though, that neither the nullum       court had been informed of the many cases (see, e.g. n.112
tempus doctrine nor section 6502(a) require the imposition of       above) that in fact permit just such a result. Kittery Point
an assessment before the commencement of an action to avoid         Partners, LLC v. Bayview Loan Servicing LLC (In re Kittery
the transfer or that the assessment have preceded the transfer      Point Partners, LLC), 115 also cited by the Private Equity
for it to be avoidable. The IRS's right to avoid a taxpayer's       Investors, assumed, based on its reading of 27 U.S.C. §
fraudulent transfer stems from the nullum tempus doctrine,          6502(a)(1), that the IRS's tax assessment triggered its right to
which flows from its status as a claimant, not from section         avoid a transfer and that the automatic stay precluded such an
6502(a), which does not even address the IRS's time to avoid        assessment. 116 As discussed above, however, while it is the
a fraudulent transfer.                                              timely assessment that starts the limitations period running, it
                                                                    is the IRS's status as a creditor in connection with the transfer
Instead, section 6502(a) establishes two separate time limits
                                                                    that triggers its right to avoid the transfer. 117
for the IRS to enforce its rights to collect a tax. First, as set
forth in the introductory clause to the section, the assessment
                                                                    Although not raised by the Private Equity Holders, for the
of the tax must have been timely. Second, if the tax was timely
                                                                    sake of completeness the Court also has considered the effect
assessed, under section 6502(a)(1) the IRS has ten years to
                                                                    of a second provision of the Internal Revenue Code that


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addresses the IRS's rights against transferees of taxpayers            require a separate timely assessment of the transferee before
(which, after all, is the right that gives the IRS status as a         commencing the recovery action against it. This argument,
triggering creditor under section 544(b)). 26 U.S.C. § 6901            though, has been rejected, including by the Supreme Court
provides in relevant part,                                             in interpreting section 6901’s predecessor, 119 as well as by
                                                                       the several circuit courts of appeal that have considered the
  (a) Method of Collection. The amounts of the following
                                                                       issue. They have concluded, based on their analysis of section
  liabilities shall ... be assessed, paid, and collected in the
                                                                       6901 and Supreme Court precedent, that section 6901 merely
  same manner and subject to the same provisions and
                                                                       supplements, and does not in subsection (c) limit, the IRS's
  limitations as in the case of the taxes with respect to which
                                                                       power to avoid a transfer by a taxpayer-transferee for at least
  the liabilities were incurred:
                                                                       ten years after the tax was required to be assessed. 120
  (1) Income, estate and gift taxes. (A) Transferees. The
  liability, at law or in equity, of a transferee of property --       It therefore does not appear from the Complaint and all other
                                                                       matters that the Court can consider in connection with the
     (i) of a taxpayer in the case of a tax imposed by [26             Motions that the IRS’ rights to avoid the 2009 and 2010
     U.S.C. §§ 1 et seq.] ... in respect of the tax imposed by         dividends under NY DCL § 273 “are prima facie time-
     [26 U.S.C. §§ 1 et seq.]....
                                                                       barred,” 121 and thus the Private Investor Defendants’ statute
  (c) Period of limitations. The period of limitations for             of limitations defense is, at best for the Defendants, premature
  assessment of any such liability of a transferee... shall be         at this stage in the litigation. 122
  as follows:
                                                                       B. Are the Fraudulent Transfer Claims Plausible? As noted,
  (1) Initial transferee. In the case of the liability of an initial   the Complaint asserts that the 2009, 2010, 2012 and 2013
  transferee, within 1 year after the expiration of the period         dividends can be avoided as constructive fraudulent transfers
  of limitation for assessment against the transferor... except        under NY DCL § 273-275, as well as intentional fraudulent
  that if, before the expiration of the period of limitation for       transfers under NY DCL § 276.
  the assessment of the liability of the transferee, a court
  proceeding for the collection of the tax or liability in respect     i. The Constructive Fraudulent Transfer Claims. “Under the
  thereof has been begun against the initial transferor or the         DCL, a conveyance by a debtor is deemed constructively
  last preceding transferee, respectively, then the period of          fraudulent if it is made without ‘fair consideration,’ and
  limitation for assessment of the liability of the transferee         (inter alia) if one of the following conditions is met: (i) the
  shall expire 1 year after the return of execution in the court       transferor is insolvent or will be rendered insolvent by the
  proceeding.                                                          transfer in question, DCL § 273; (ii) the transferor is engaged
                                                                       in or is about to engage in a business transaction for which
Section 6901(a)(i) appears to incorporate for claims against a         its remaining property constitutes unreasonably small capital,
transferee of a taxpayer-transferor section 6502(a)’s generous         DCL § 274; or (iii) the transferor believes that it will incur
post-assessment limitations period for the assessment,
                                                                       debt beyond its ability to pay, DCL § 275.” 123
payment, and collection from the taxpayer. Thus, because
section 6901(c)’s limitations period is triggered by the
                                                                       As relevant here, NY DCL § 272 defines “fair consideration”
expiration of the IRS's time to assess Tops and, for the reasons
                                                                       for purposes of NY DCL §§ 273 - 275 as an exchange for
discussed above, one cannot on the face of the Complaint
                                                                       a transfer of property of “a fair equivalent therefor, and in
determine that the IRS's time to assess Tops has expired,
                                                                       good faith.” Unless a dividend is a form of compensation
section 6901(a)(1) does not support dismissal of the Trust's
                                                                       for services rendered or property conveyed -- not alleged
claims to avoid the 2009 and 2010 dividends under NY DCL
                                                                       here -- it is by definition a distribution with respect to an
§ 273. 118                                                             owner's equity interest and therefore a conveyance without
                                                                       fair consideration, indeed without any consideration. 124
 *15 It could be argued, however, that section 6901(c)(1)
seems to separately limit the period for assessment of a
                                                                        *16 NY DCL § 271 states that a person is “insolvent” “when
transferee to one year after the expiration of the period
                                                                       the present fair salable value of his assets is less than the
for assessment against the transferor and therefore perhaps
                                                                       amount that will be required to pay his probable liability on


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his existing debts as they become absolute and matured.”               the United States to be owned by a co-defendant and subject
NY DCL § 270 defines “debt” broadly to include “any                    to forfeiture under 18 U.S.C. § 982(a)(2), and, in response,
legal liability, whether matured or unmatured, liquidated or           the United States contended that the plaintiff had obtained
unliquidated, absolute, fixed or contingent.” Thus section 271         the property in an avoidable fraudulent transfer. 136 Thus
recognizes existing unmatured, unliquidated, and contingent            the defendant/respondent therefore was asserting a fraudulent
debts as “existing debts” to be included in the calculation            transfer claim as a defense to the complaint, specifically to
of insolvency, provided, however, that on a present value              the plaintiff/petitioner's standing under 21 U.S.C. § 853(a)(2)
basis 125 they be determined based on the probability of their         to challenge an order of forfeiture on the basis of a superior
becoming fixed and matured. 126 As stated by the Eleventh              ownership interest. 137 In that clearly distinguishable context,
Circuit, the court should “calculate the present value of the          the court held that it was unfair at the motion to dismiss stage
liability -- the expected cost of the liability times the estimated    to force the petitioner to anticipate the United States’ defense
chance of it ever occurring. Unless either the expected cost or        and allege facts in its petition disproving the presumption
the chances of it occurring are equal to zero (that is the liability   of insolvency. 138 Second, as discussed above, many courts
is costless, or the chances of it happening are negligible), the       have continued to recognize the presumption after Watts in
estimated value should be more than zero.” 127                         the normal context of a plaintiff alleging a fraudulent transfer
                                                                       claim, 139 including by courts at the motion to dismiss stage
Given the nature of the solvency determination, it is well             and by courts that cited Watts for different propositions and
recognized that “insolvency is ordinarily a question of
                                                                       thus clearly were familiar with it. 140
      128
fact,”    requiring the court usually to weigh a significant
amount of evidence, and thus courts should not dismiss a
                                                                       Although the presumption is rebuttable, 141 including at the
complaint that contains sufficient facts to permit a plausible
inference of insolvency even if the defendant has its own              motion to dismiss stage, 142 it is a limiting consideration on
                                                                       the Private Equity Holders’ ability to contest, in the context
plausible arguments for solvency. 129 This of course does
                                                                       of a motion to dismiss, the Complaint's factual allegations of
not mean that a complaint can plead insolvency merely in a
                                                                       insolvency under NY DCL § 272.
conclusory way, simply parroting the statute, or that a claim
of insolvency cannot be contradicted by other allegations
                                                                        *18 As noted, for a transfer to be avoided under NY DCL
in or integral to the complaint or can be implausible. 130             § 274, the plaintiff, who may be either a creditor at the time
“An adequate pleading of insolvency requires some sort of              of the transfer or a subsequent creditor, must show that it
‘balance sheet’ information that the Court can use to infer that       was made without “fair consideration” and “when the person
the corporation's liabilities exceeded their assets at the time        making it is engaged or is about to engage in a business or
the transfers took place.” 131 On the other hand, a complaint          transaction for which the property remaining in his hands
will not be dismissed because the defendant's allegations of           after the conveyance is an unreasonably small capital.” “The
solvency are more probable than the complaint's allegations            DCL does not define ‘unreasonably small capital,’ but it has
of insolvency, 132 and a complaint may state sufficient facts          been construed as “a financial condition short of equitable
that allow the court to draw a reasonable inference of                 insolvency, where one is technically solvent but doomed to

insolvency without “balance sheet specifics.” 133                      fail.” 143 Although proof of insolvency is not required under
                                                                       § 274, it supports the cause of action. 144 That is, “[t]hese
 *17 Lastly, it has long been recognized that if it is                 distinct but related concepts furnish a standard of causation
undisputed, as here, that the defendant did not provide fair           which looks for a link between the challenged conveyance
consideration for the transfer, for purposes of a claim under          and the debtor's insolvency. Moreover, where the debtor
NY DCL § 273 the plaintiff is entitled to a presumption                is a corporation, adequacy of capital is typically a major
that the transferor was insolvent. 134 Although the Private            component of any solvency analysis.” 145
Equity Investors contend that the Second Circuit overturned
this caselaw in United States v. Watts, 135 the Court concludes        Generally the test “is satisfied if at the time of the transaction
for two reasons that Watts did not do so, first because of             the debtor had such minimal assets that insolvency was
the unusual posture of that decision. In Watts the plaintiff           inevitable in the reasonably foreseeable future.” 146 “The
claimed that it had a superior interest in property alleged by         most important consideration in determining whether a


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business had unreasonably small capital is whether the             a. The 2009 Dividend. In addition to the allegations
business has or can generate resources from its operations         discussed in the introduction to this memorandum of decision
or from asset sales to sustain its operations.” 147 “The fact      regarding (a) Morgan Stanley's grave concern, reflected in its
that a business actually survived for a considerable period of     negotiations leading to the $300 million purchase price, about
time after a challenged transfer is a factor that a court may      Tops’ contingent Pension Plan withdrawal liabilities, 154
consider in deciding whether the business had unreasonably         with respect to the UFCW Pension Plan directly and by
low capital at the time of the transfer. However, it is only one   indemnity with respect to the Teamsters Pension Plan, (b) the
of many factors that may be relevant, and is not necessarily       “critical status” of the UFCW Pension Plan, for which Tops
controlling.” 148 That is, “[t]o determine the reasonably          was the largest participating employer, responsible for the
foreseeable financial future of a corporate debtor ... courts      majority of its liabilities, (c) Tops never making more than the
examine an array of factors including the company's debt           minimum required annual payments to the UFCW Pension
to equity ratio, its historical capital cushion, and the need      Plan and never taking any meaningful measures to address
for working capital in the specific industry at issue. Also        its contingent withdrawal liability, (d) the debt on Tops’
relevant are all reasonably anticipated sources of operating       books, and (e) Morgan Stanley's control of Tops, including
funds, which may include new equity infusions, cash from           its day-to-day control of business decisions, the Complaint
operations, or cash from secured or unsecured loans over the       makes several other non-conclusory allegations that, taken
                                                                   together, plausibly support its contention that when Tops paid
relevant time period.” 149 Thus “unreasonably small capital”
                                                                   $105 million of dividends on October 9, 2009, Tops was
for purposes of § 274 is not limited to a train wreck that is
                                                                   insolvent or rendered insolvent, was left with unreasonably
imminent because the engineer has fallen asleep; it can also
                                                                   small capital, and intended or believed it would be unable to
be found where a key support for a trestle has rotted, no one
                                                                   pay its debts as they matured.
is performing maintenance, and eventually the bridge will
collapse.
                                                                   The Complaint states that on September 8, 2008, Matthews,
                                                                   Morgan Stanley's lead representative and Chairman of
Unlike with respect to NY DCL § 273’s insolvency
                                                                   Tops’ Board acknowledged that the UFCW Pension Plan
requirement, if the transfer was made without fair
                                                                   would become insolvent and Tops would be forced to
consideration there is no presumption of “unreasonably small
                                                                   incur withdrawal liability. 155 Given the Complaint's further
capital” under § 274. 150
                                                                   allegation that after the Morgan Stanley acquisition Tops
                                                                   never took meaningful measures to address that ever growing
Under NY DCL § 275, a transfer without fair consideration
is avoidable by present and future creditors if when it            contingent liability, 156 it is plausible to attribute that
was made the transferor “intends or believes that he will          knowledge to the time of the 2009 dividend and each dividend
incur debts beyond the ability to pay as they mature.”             thereafter. The Complaint also describes the incurrence of
The plaintiff thus must show when the challenged transfer          $122 million of new funded debt around the time of the
was made the transferor had a subjective belief that it was        2009 dividend, for a total of $300 million of funded,
incurring or would incur debts beyond its ability to pay           secured debt, 157 the growth of Tops’ contingent Pension
as they matured. 151 This includes a showing, however,             Plan withdrawal liability to over $170 million by that
that the transferor had a “good indication of oncoming             time, 158 and that Tops received no consideration for the 2009
insolvency.” 152 There is no presumption of such intent when       dividends. 159
the transfer was not for fair consideration. 153
                                                                    *20 Lastly, the Complaint describes how Tops retained
 *19 Having carefully reviewed the Complaint and the               KPMG to conduct a valuation analysis in connection with
matters extraneous to the Complaint that are properly              the decision to pay the 2009 dividends, which KPMG
considered in the context of a motion to dismiss, the Court has    finished in just over two weeks after it was retained. 160
determined as discussed below that none of the constructive        As part of its engagement, Tops and KPMG agreed that
fraudulent transfer claims should be denied as conclusory,         KPMG would “not in any respect be responsible for the
self-contradictory, or implausible.                                accuracy or completeness of, or have any obligation to
                                                                   verify” any information provided to KPMG, and that KPMG
                                                                   would “not make an independent appraisal of the assets or


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liabilities (contingent or otherwise) of the Company.” 161 In       Another event occurred before the July 2010 dividend. Tops
its provision of information to KPMG, which, one infers in the      acquired various assets from The Penn Traffic Company
light of the foregoing agreement, KPMG never vetted, Tops           out of bankruptcy (the “Penn Traffic Acquisition”). 173 In
identified its UFCW Pension Plan-related contingent liability,      addition to increasing Tops’ funded debt, the Penn Traffic
but omitted the Tops’ indemnity of the Teamsters Pension            Acquisition caused Tops’ contingent UFCW Pension Plan
Plan as a contingent liability. 162 In any event KPMG did           liability to increase dramatically, Penn Traffic being the
not include any of the estimated $45 million of contingent          second largest participant in the UFCW Pension Plan, 174
Teamsters Pension Plan liability when it determined that the        such that Tops’ 56% share of the unfunded UFCW Pension
fair value of Tops’ assets exceeded the sum of its liabilities      Plan liability rose to 85%. 175 As discussed below, the
after issuance of the 2009 dividends by $33.4 million. 163          Private Equity Holders have made certain arguments that the
In this regard the Complaint notes that a valuation analysis        Complaint's allegations regarding Tops’ financial condition
commissioned from Duff & Phelps in connection with a                before the 2010 dividend are implausible, but they have not
later dividend issuance included both contingent Pension Plan       argued based on any documents that the Court is able to
liabilities. 164 Thus it is plausible that Tops was insolvent and   consider on a Rule 12(b)(6) motion that the Penn Traffic
that Tops’ controlling parties understood that it would not be      Acquisition increased Tops’ value above the increased debt
able to pay its debts in the foreseeable future.                    that came along with it, and the Court concludes that the
                                                                    inferences that the Complaint asks be drawn from the 2009
Moreover, KPMG's valuation, even without the contingent             KPMG valuation analysis, as corrected and adjusted to reflect
Teamster's Pension Plan liability, reflected an equity cushion      Tops’ indebtedness in July 2010, are plausible in the light
of only 5.6% after the issuance of the 2009 dividend, while         of the other allegations discussed above notwithstanding its
Morgan Stanley had concluded that an equity cushion of              lack of analysis of the value attributable to the Penn Traffic
25-30% was required to make a dividend, and the comparable          Acquisition, especially in the light of the New York law
grocery store companies used by KPMG in its valuation               presumption of insolvency discussed above.

analysis had an average equity cushion of 71%. 165 One can
                                                                     *21 c. The 2012 Dividend. In early 2012 Morgan Stanley
reasonably infer the importance of such an equity cushion
                                                                    decided to try to exit its investment by causing Tops’ sale,
to Tops based on the low margin nature of the grocery
                                                                    further determining that if a sale could not be achieved, it
business. 166                                                       would “pursue a dividend recap in 2H 2012” -- that is, if
                                                                    it couldn't sell its equity it would take what it could in the
b. The 2010 Dividend. Tops issued its second, $30 million
                                                                    form of a dividend. 176 The sale process failed, in large part
                                                       167
dividend just several months later, on July 26, 2010. It did
                                                                    because of Tops’ contingent Pension Plan liabilities. 177 Only
not commission a valuation analysis in connection with this
                                                                    three of thirty-one potential buyers submitted written bids,
dividend, which of course also was for no consideration. 168        and those three withdrew by September 2012 because of their
Along with the facts referenced above, the Complaint permits
                                                                    view of the Pension Plan liabilities. 178 (The consultant for
the inference that the 2009 KPMG valuation analysis, when
                                                                    at least one of those bidders projected contingent withdrawal
adjusted to reflect Tops’ increased contingent Pension Plan
                                                                    liability in the aggregate for the UFCW Pension Plan at
withdrawal liability (now over $290 million) 169 and an             over $1 billion and for the Teamster's Pension Plan of over
additional $75 million of funded debt 170 that increased the        $196 million.) 179 Tops’ share of that contingent unfunded
outstanding balance of senior secured funded debt to $350           withdrawal liability as of January 1, 2012 was approximately
million in July 2010, would show Tops to be even more               $299 million for the UFCW Pension Plan and $151 million
insolvent than after the 2009 dividend. 171                         for the Teamsters Pension Plan, 180 and it remained at that
                                                                    aggregate approximately $450 million level in December,
Similarly adjusting the 2009 KPMG valuation to reflect
                                                                    2012, 181 with an after-tax Pension Plan withdrawal liability
the contingent Pension Plan withdrawal liabilities and other
                                                                    of $272 million ($181 for the UFCW Pension Plan and $91
increased debt as of July 2010, Tops was left with a 4.6%
                                                                    million for the Teamsters Pension Plan). 182 By December
capital deficit. 172
                                                                    2012 Tops’ funded debt, used primarily to pay for the
                                                                    dividends, had also grown to at least $484 million in addition


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to capital lease obligations of $168 million. 183 Further,          Tops’ auditor could not support, and which Tops’ Director
capital expenditures had been reduced such that Tops was            of Finance/Budgeting stated should be called “Estimated
spending significantly less than the two percent of sales that      Numbers To Make Us Look Better.” 192 Those pro forma
management believed was required to maintain (not improve)          EBITDA projections were materially more aggressive than
its current stores. 184                                             Tops’ prior year's EBITDA notwithstanding declining sales
                                                                    and management's belief that there was no real upside to
On December 20, 2012, Tops nevertheless issued a                    the earnings of the 21 stores that Tops acquired from Grand
$100 million dividend to Morgan Stanley and the other               Union in October 2012 193 ($150 million combined EBITDA
Private Equity Investors. 185 Again, of course, the Private         for 2011 vs. the Duff & Phelps analysis’ projections, taken
Equity Investors provided no consideration for the 2012             from management, of $154 million for 2012, $161 million for

dividend. 186                                                       2013, $166 million for 2014, and $185 million for 2017), 194
                                                                    which for purposes of a Rule 12(b)(6) motion the Court can
Along with the facts alleged in the Complaint discussed             reasonably infer was a driver of an unduly high valuation. 195
above, the Complaint again relies on serious flaws in the
solvency analysis used to justify the 2012 dividend. This time       *22 Duff & Phelps also applied a 6.0x 12-month multiple
in connection with its decision to pay the dividend, Tops           to the foregoing flawed EBITDA projections notwithstanding
commissioned Duff & Phelps to conduct a valuation analysis,         that the implied 12-month acquisition multiple for Tops’
which it completed in two weeks after its retention. 187            October 2021 purchase of 21 Grand Union Stores in an arms-
According to Duff & Phelps, the fair value of Tops’ assets          length transaction was 3.2x. 196 Indeed, the Grand Union
exceeded the sum of its debt, including its contingent Pension      transaction was not even included as a precedent transaction
Plan-related debt, by a capital surplus of approximately            in the Duff & Phelps valuation. 197
                188
$68 million.       However, as with the Complaint's use of
KPMG's 2009 valuation analysis, the Complaint adjusts this          In addition, the 2012 valuation was also unduly skewed
conclusion in the light of problems with the formulation of the     upward by Duff & Phelps’ decision to include in its list of
Duff & Phelps’ analysis and its obvious flaws. According to         “comparable” companies specialty national chains like Whole
the Complaint, after proper adjustments, the analysis would         Foods and Fresh Market, national retailers like Wal-Mart, and
show Tops was insolvent by $44 million after the $100 million       multi-national companies engaged in other businesses like
2012 dividend. 189                                                  banking, telecommunications, and retail clothing operations
                                                                    and carrying higher EBITDA multiples than the multiples of
Like Tops’ 2009 engagement of KPMG, Tops agreed                     truly comparable companies. 198 At the same time, Duff &
that Duff & Phelps would “not independently verify the              Phelps did not include in its list of comparable companies
accuracy or completeness of any provided information,               eight grocery chains that Morgan Stanley used in its internal
data, advice, opinions or representations, whether obtained         valuation of Tops, which if they had been used would have
from public or private sources, and Duff & Phelps will              decreased Duff & Phelps’ EBITDA multiple for Tops by .7x
state that it has not independently verified the accuracy or        and reduced its value by over $100 million, showing it to be
completeness of such information. Duff & Phelps also will not       insolvent by $32 million without considering the other flaws
independently appraise any of the Company's specific assets         discussed above. 199
                                            190
or liabilities (contingent or otherwise).”      In its analysis,
Duff & Phelps confirmed that it “[r]elied upon the accuracy,        Duff & Phelps’ 2012 analysis also showed a capital surplus
completeness, and fair presentation of all information, data,       representing an equity cushion of just 6.9 percent, which, if
advice, opinions, and representations ... provided to it from ...   adjusted by using the EBITDA multiples of the comparable
Company management, and did not independently verify such           companies used in Morgan Stanley's internal valuation of
information.” 191                                                   Tops, would result in that already small equity cushion turning
                                                                    into a capital deficit of $44 million. 200 Even without such
The “garbage in/garbage out” risk of this approach                  an adjustment, the 6.9 percent cushion was far lower than
was reflected in “pro forma” EBITDA adjustments and                 the 24-30 percent capital surplus that Morgan Stanley had
projections provided to Duff & Phelps by Tops that                  internally concluded was required to be left after a dividend,



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and over ten times lower than the capital surplus of the           Tops has not frozen these plans, additional benefits continue
“comparable” companies that Duff & Phelps used for its             to accrue,” “creat[ing] a major barrier to sale.” 211
analysis. 201
                                                                   As with the prior valuation analyses conducted in connection
Given all of the foregoing, the Complaint plausibly pleads         with the 2009 and 2012 dividends, the Complaint adjusts HL's
that the 2012 dividends were constructive fraudulent transfers     2013 analsysis to reflect the omitted Pension Plan contingent
under NY DCL §§ 273 – 275.                                         liabilities, resulting in the reduction of the approximately
                                                                   $209 capital surplus in HL's valuation to a capital deficit of
d. The 2013 Dividend. Consistent with its “sale or recap/          $63 million. 212 It also notes that if HL had reviewed Duff
dividend” strategy discussed above, Tops issued another,           & Phelp's valuation HL might reasonably have reconsidered
$141.9 million dividend to the Private Equity Investors on         its $209 capital surplus conclusion, seeing that it reflected an
May 15, 2013, just five months after the $100 million              assumed growth of over $140 million in a few months from
2012 dividend, 202 again, of course, for no consideration. 203     Duff & Phelps’ $68 million valuation notwithstanding Tops’
It also issued another $150 million of senior secured              incurrence during that time of $150 million of additional
notes, 204 largely to fund the dividend, while its total           debt, the projected payment of the $141.9 million 2013
contingent unfunded Pension Plan withdrawal liability was          dividend, 213 and no decrease in Tops’ contengent Pension
approximately $450 million. 205                                    Plan liability. 214 Further, the Complaint contends that HL's
                                                                   valuation, like Duff & Phelps’, omitted the eight publicly-
Although Duff & Phelps had recently provided its valuation         traded grocery companies used by Morgan Stanely in its
analysis in connection with the December 2012 dividend             internal “comparable companies” analysis of Tops and
and one can infer therefore was familiar with Tops, a              included companies that were not in fact comparable, thus
different firm, Houlihan Lokey (“HL”) was hired to conduct         inflating Tops’ value by another $35 million. 215 Finally, HL's
                                                  206
the valuation analysis for the 2013 dividend,           which it   valuation used the same unlrealistically upwardly skewed
completed one week after it was retained.   207
                                               As with the         adjusted pro forma EBITDA projections as Duff & Phelps’
retention of KPMG and Duff & Phelps, HL's engagement               valuation. 216
letter stated that it was not responsible for varifying the
accuracy of the information that Tops provided it, including       As with the prior valuation analyses, the Complaint also
the existence and amount of Tops’ contingent liabilities.   208    states that even under HL's inflated valuation, Tops was left
                                                                   with a capital surplus below both that of HL's “comparable”
 *23 Again the “garbage in/garbage out” risk inherent              companies and what Morgan Stanley had concluded was
in this disvision of labor materialized in HL's analysis.          “required” to support a dividend. 217
Having received the respone “none” to its due diligence
question seeking disclosure of “any potential obligations           *24 The Private Equity Investors argue that the foregoing
from [Tops’] underfunded muliemployer pension plans, ...           allegations nevertheless do not state plausible claims under
specifically for [the UFCW Plan],” HL's analysis valued            NY DCL §§ 273-275 for the following reasons: (1) while
Tops’ contingent liabilities at zero. 209 Moreover, after HL       Tops allegedly was insolvent, it was able to borrow hundreds
requested during its week of work, “3rd party valuations           of millions of dollars from sophisticated financial institutions,
of Tops Holding Corp. and Tops Markets LLC performed               in 2010 it sold $30 million in common equity to Begain, and
in the last 3 years,” HL was not provided with the Duff            senior management purchased the Private Equity Investors’
& Phelps analysis, conducted a few months earlier, which           shares in December 2013 millions of dollars; (2) Tops did not
                                                                   file for relief under the Bankruptcy Code until 2018, having
had valued Tops’ contingent Pension Plan liability. 210 The
                                                                   borrowed more money after the May 2013 dividend, and the
impact of HL's failure to include the contingent Pension Plan
                                                                   real reason it sought bankruptcy protection was a general
liability is also highlighted by an internal Morgan Stanley
                                                                   deterioration in the grocery industry during the intervening
presentation from the same month as the 2013 dividend which
                                                                   period; (3) after the December 2013 management buy-out,
noted that Pension Plan “[w]ithdrawal liability has increased
                                                                   Tops issued more dividends, to its new manager-owners, who
from [approximately] 100MM to $374MM, representing
                                                                   represented in public filings that it was solvent; and (4) Tops’
[approximately] 45% of enterprise value” and that “[because
                                                                   Pension Plan liabilities were not probable for purposes of


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determining insolvency under NY DCL § 271 because they                 Pension Plan liability. 220 The Complaint clearly puts the
were only contingent and thus should be disregarded in the             Private Equity Investors on notice in a non-conclusory way
“insolvency” and “unreasonably small capital” analyses.                of the types of evidentiary inquiries that will be involved.
                                                                       That the Private Equity Investors may have made their own
Certain of these defenses -- the management shareholders’              plausible case that the contingencies triggering Tops’ Pension
subsequent receipt of dividends, their representations of Tops’        Plan liabilities would foreseeably not occur at the relevant
solvency at that time, and the general state of the grocery            times does not defeat the Complaint's plausible case that, to
industry - - clearly are not properly considered at this stage in
                                                                       the contrary, they would 221 and, because of the magnitude
the litigation in the light of the types of extraneous documents
                                                                       of those contingent liabilities, render Tops insolvent, left with
that the Court can take into account and the extent that it
                                                                       unreasonably small capital, or likely to be unable to pay its
can consider them. Indeed, the Complaint's references to
                                                                       debts as they matured.
Tops’ purchase of stores in 2010 out of another grocer's
bankruptcy, as well as published decisions in the bankruptcy
                                                                        *25 The Private Equity Investors’ last two arguments
cases of other grocery chains in the 2000s, 218 highlight              similarly question the Complaint's premise that the
that the industry was troubled well before the Debtors’                challenged dividends either left Tops insolvent or at too great
2018 bankruptcy filing, including during the period of the             a risk of default. How, they ask, could Tops have been or
challenged dividends. But, in any event, the role that the             been rendered insolvent, have been left with unreasonably
dividends played in Tops’ inability to pay its debts and               small capital, and was likely not to be able to pay its debts
ultimate bankruptcy, and the foreseeability of that outcome, as        as they came due if it continued in existence for several
well as the credibility of management's statements regarding           years after the challenged dividends? Moreover, how could
Tops’ financial condition, are evidentiary issues not properly         the Complaint's constructive fraudulent transfer allegations
decided on a Rule 12(b)(6) motion given the Complaint's                be plausible in the light of material equity investments in
factual allegations discussed above.                                   Tops in 2010 and, several months after the last challenged
                                                                       dividend, in December 2013, and how could those allegations
Similarly, the Private Equity Investors’ contention that Tops’         be plausible in the face of hundreds of millions of dollars
contingent Pension Plan liability should not be included in            of loans to Tops throughout the period at issue? Who would
the “insolvency” and “unreasonably small capital” analyses             invest in an insolvent or under-capitalized company, and who
is premature. The Complaint states sufficient facts, including         would lend to one?
Morgan Stanley and third parties’ views about the nature and
extent of those contingent liabilities to have plausibly alleged       The ability to ask such questions generally does not render
that those debts had material probable value notwithstanding           the causes of action implausible, however. Most courts that
that neither a payment default nor a withdrawal from the               have considered the lapse of time between a challenged
Pension Plans had occurred when the dividends were paid.               transfer and a default or a bankruptcy have done so only
In particular, the discrepancies in the three outside valuation        (a) when weighing a claim based on insufficient capital (b)
analyses’ treatment, or not, of Tops Pension Plan liability,
                                                                       in the context of assessing all the evidence after a trial. 222
compared to how other third parties and Morgan Stanley
                                                                       At least two courts have held that such a lapse of time
looked at it, highlight that it is plausible that a material portion
                                                                       was a basis for dismissing a complaint's unreasonably small
of that contingent liability coming due was probable when
                                                                       capital claim, but in each case the complaint was almost
each transfer was made. 219 Determining the properly valued
                                                                       wholly conclusory. 223 Here, instead, the Complaint has made
amount of such liabilities therefore ultimately will involve
                                                                       sufficient non-conclusory allegations for the Trust to be
an evidentiary assessment not only of the Pension Plans’
contingent claims themselves, but also a determination of              permitted to be put to its proof. 224
the likelihood that Tops, having paid hundreds of millions
of dollars in dividends, having incurred hundreds of millions          The same may be said of the Private Equity Investors’
of dollars of additional funded debt, and having materially            argument based on the existence of the two equity investments
decreased capital expenses beyond management's view of                 and third-party loans. Here, the first, $30 million equity
what was prudent, could meet its projections and pay its               investment, by Begain in 2010, was not a public offering;
debts in the foreseeable future, as well as the likelihood that        we do not know yet the information available to Begain,
Tops would have to pay on its indemnity of C&S's Teamsters             or what representations Morgan Stanley or Tops made to



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it. 225 Nor do we know the level of Begain's sophistication,       set aside equity in the reorganized company for a management
nor do not have its own investment analysis, although we           incentive plan. 228
do know that its investment shortly followed the first, $100
million dividend, which had within two years recouped              Similarly, the rationale for, and information supporting,
the Private Equity Investors’ out-of-pocket investment in          the hundreds of millions of dollars of loans to Tops
Tops and shortly preceded the second dividend. Under               during the period at issue cannot at this stage render
circumstances where ignorance and greed could plausibly            the Complaint's constructive fraudulent transfer allegations
have colored Begain's investment judgment, the fact of             implausible. This argument generally is not raised at this
its investment cannot serve as a proxy for solvency                stage in the litigation. 229 Two of the four cases cited by the
and reasonable capitalization that makes the Complaint's           Private Equity Investors as “instructive” for the proposition
allegations regarding the 2010 dividend implausible. To treat      that sophisticated financial institutions’ willingness to lend
a private equity investment like this as rendering implausible     to Tops renders the Complaint's allegations of insolvency
the risk of the issuer's insolvency would cast our equity
                                                                   implausible are simply inapplicable, 230 and Iridium IP LLC
markets in an Oz-like the emerald glow.
                                                                   v. Motorola, Inc. (In re Iridium Operating LLC) 231 and VFB
 *26 Much the same can be said of senior management's              LLC v. Campbell Soup Co., 232 also cited by the Private
investment in the December 2013 buyout, which appears to           Equity Investors, followed lengthy trials on the merits.
have mimicked, writ small, the Private Equity Investors’ 2007
leveraged acquisition. As discussed above, it appears that the     Moreover, when considered at trial this defense requires a
management group committed only $4.3 million of its own            nuanced, fact-based analysis. For example, as noted above
funds to the acquisition. That may seem like a large sum, but      almost all of Tops’ funded debt after the Private Equity
the Complaint alleges that in addition to his receipt of $1.54     Investors’ acquisition was senior secured. Credit analysis
million of dividends between 2009-2013, Curci, the leader          focuses on the risk of non-payment of the proposed loan,
of the management group, was paid a $1 million bonus in            which may or may not include handicapping whether the
connection with the 2009 dividend, a $2,108,019.04 bonus in        borrower is, or may foreseeably become, insolvent. The risk
connection with the 2012 dividend, and a $2,224,200 bonus          of non-payment is why lenders insist on collateral and the
in connection with the 2013 dividend -- that is, more than the     pricing of their loans; that risk may be quite different than the
entire 2013 management group investment 226 -- while other         risks faced by unsecured creditors, including those like the
members of management also received bonuses in connection          Pension Plans, holding contingent claims: secured loans by
with the 2009 dividend ranging from $135,000 to $500,000,          their very nature may pay out in full, with interest, even if the
in connection with the 2012 dividend ranging from $6,000           borrower is insolvent. 233 And, of course, credit assessments
and $1 million, and in connection with the 2013 dividend           have been known to be wrong, especially if the information
ranging from $75,000 and $1.25 million. 227 Defendants             upon which they are based is incomplete or incorrect. 234
may argue that those payments just illustrate Tops’ financial      Again, we cannot assess here all the information available
health, but in the context of the other allegations in the         to Tops’ lenders when they conducted their credit analyses
Complaint, they also plausibly suggest that the management         or those analyses themselves. It is plausible, given the senior
group might view the purchase price as a fair trade for the        secured status of almost all the loans, that the lenders assumed
opportunity to continue to receive outsized returns, one way       they were being appropriately compensated notwithstanding
or the other, regardless of the potential harm to unsecured        the risk that those more junior in the capital structure would
creditors. Moreover, even without such a reason, retaining a       not be paid their debts. Nor can one conclude that any
senior job, now under one's own control, would be a strong         margin for error in such analyses assumed that Tops would
motive for such an equity investment by management –               in the future further cut capital expenses and issue more large
apparently the only available buyers for Tops -- especially in a   dividends. In such circumstances the fact that the loans were
troubled industry. And indeed Tops emerged from bankruptcy         made does not render the Complaint's allegations implausible,
with largely the same management team under a Plan that            only that the Trust may not ultimately prove, in the face of
not only provided them with a release covering, among other        such facts combined with others, that Tops was not insolvent
things, liability for the dividends that they received, but also   of undercapitalized at the relevant times.




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 *27 Thus the Court concludes that the Private Equity                 intent to defraud on the part of the transferor,” 242 in which
Investors’ Motions to dismiss the Complaint's constructive            case “the conveyance will be set aside regardless of the
fraudulent transfer claims, Counts I-VIII, on plausibility
                                                                      adequacy of the consideration given.” 243 A number of courts
grounds should be denied.
                                                                      have stated that this is the “better” or “majority” view, 244 but
ii. The Intentional Fraudulent Transfer Claims. The                   frankly there no longer should be any confusion about this
Complaint also alleges that each of the four dividends was an         issue: the statute and case law in this Circuit require proof
intentional fraudulent transfer under NY DCL § 276, which             only of the transferor's fraudulent intent.
states, that “[e]very conveyance made and every obligation
incurred with actual intent ... to hinder, delay, or defraud either   As discussed above, to allege fraudulent intent, the pleader
present or future creditors, is fraudulent as to both present         is allowed to allege facts giving rise to a strong inference
and future creditors.” The section allows a party “to avoid           of such intent, 245 which “may be established either (a) by
transactions which have the purpose or effect of removing             alleging facts that show the defendants had both motive
property from a debtor's estate which should properly be used         and opportunity to commit fraud, or (b) by alleging facts
to repay creditors.” 235                                              that constitute strong circumstantial evidence of conscious
                                                                      misbehavior or recklessness.” 246 In a claim to avoid an
The Complaint pleads the facts of the dividends (the date,            intentionally fraudulent transfer,
amount, transferor, and recipient of each dividend, as well as
the lack of any consideration therefor) with the particularity
required by Fed. R. Bankr. P. 7009, incorporating Fed. R.
Civ. P. 9(b). The Private Equity Investors’ Motions instead                        plaintiffs may rely on badges of
address, in two ways, whether the Complaint pleads the                             fraud -- circumstances so commonly
requisite intent.                                                                  associated with fraudulent transfers
                                                                                   that their presence give rise to an
First, Begain, HSBC, and Turbic's pleadings require one to                         inference of intent. The badges of
ask whose fraudulent intent must be shown. They allege that                        fraud include: a close relationship
in addition to pleading the transferor's fraudulent intent, one                    between the parties to the alleged
must plead the transferee's and assert that the Complaint fails                    fraudulent transaction; a questionable
to do so for them, in contrast to Morgan Stanley. There is some                    transfer not in the usual course
                                                                                   of business; inadequacy of the
difference of opinion in the case law about this issue, 236 and
                                                                                   consideration ... and retention of
I confess that I bear some blame for that, having once cited,
                                                                                   control of the property by the
without analysis, earlier precedent for the proposition that
                                                                                   transferor after the conveyance. 247
the transferee's intent also must be shown. 237 Clearly I was
wrong then. 238 As well explained by Gowan v. Patriot Grp.,
LLC (In re Dreier LLP), 239 the plain terms of NY DCL § 276           “The presence or absence of any single badge of fraud is not
refer to conveyances “made,” not “made and received,” with            conclusive. The proper inquiry is whether the badges of fraud
actual intent to defraud either present or future creditors. 240      are present, not whether some facts are absent. Although the
Moreover, the legislature clearly knew how to specify a               presence of a single factor, i.e. a badge of fraud, may cast
requirement of showing the transferee's intent when it wanted         suspicion on the transferor's intent, the confluence of several
to, as it did in NY DCL § 276-a’s provision for a plaintiff's         in one transaction generally provides conclusive evidence of
recovery of attorney's fees and in the affirmative defense            an actual intent to defraud.” 248 “Of course, each alleged
under NY DCL § 278(1) available to a bona fide purchaser              ‘badge of fraud’ must be judged in the context of other
for value who took without knowledge of the fraud. 241                evidence and in the light of what reasonable implications can
                                                                      be drawn from it in a particular case. They are not items to
 *28 The Second Circuit has apparently recognized that NY             be considered in a vacuum, as though the presence of one or
DCL § 276 requires only that the transferor's intent be alleged:      more factors automatically shows a fraudulent intent.” 249
“To prove actual fraud under § 276, a creditor must show



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 *29 The Trust adequately pleads intentional fraud pursuant       The Trust has also alleged at least six different badges of
to NY DCL § 276. First, the Complaint pleads direct evidence      fraud for each dividend, including that the dividends at
of intent to defraud by alleging that Tops (and the Morgan        issue were not ordinary, but, rather, large, funded by debt
Stanley Director Defendants and other Morgan Stanley              issuances and capex reductions, issued irregularly, in two
personnel who controlled it) manipulated the third-party          cases issued just several months after a prior dividend and, in
valuations used to support each dividend. The Complaint           the case of the 2013 dividend, issued following a failed sale
alleges that Tops and Morgan Stanley knew (i) the solvency        strategy as an alternative and questionable way to “monetize”
analyses justifying each dividend were facially and materially    the investment. The Complaint also describes a company
inconsistent with one another, (ii) the solvency analyses         completely under the control of the primary recipient of the
were materially inconsistent with Morgan Stanley's internal       dividends. And, of course, the Complaint pleads that the
valuations, (iii) the overlooked Pension Plan liabilities had     dividends were made for no consideration while Tops was
a devastating impact on Tops’ value, and, starting no later       insolvent or rendered insolvent.
than September 8, 2008, if not from the commencement of the
Private Equity Investors’ investment, 250 Tops and Morgan         The Private Equity Investors’ respond by (i) essentially
Stanley were well aware of the dire condition of the UFCW         ignoring the Complaint's direct evidence of intent, (ii) noting
Pension Plan and knew it would become insolvent, and (iv)         that other badges of fraud, such as a transaction done in secret,
Tops’ projections upon which the 2012 and 2013 solvency           are lacking, and (iii) questioning whether the making of a
analyses relied, were admittedly unrealistic (“Estimated          dividend should ever be viewed as a badge of fraud. As for
                                                                  the second argument, as noted above, badges of fraud should
Numbers to Make Us Look Better”). 251 These allegations are
                                                                  be analyzed in totality with all the facts and under the broader
supported by several direct allegations that Tops, controlled
                                                                  rubric of whether (a) motive and the opportunity to commit
by Morgan Stanley, drained Tops of its cash to pay the
                                                                  fraud and (b) strong circumstantial evidence of conscious
dividends with the intent of defrauding Tops’ creditors: (i)
                                                                  misbehavior or recklessness have been shown. The contrast
as Tops’ management stated and enabled, Morgan Stanley
                                                                  between the decision cited by the Private Equity Investors
intended to take “every nickel plus” out of Tops through
                                                                  for their third argument, Lippe v. Bairnco Corp., 258 and the
dividends, 252 (ii) as Tops’ management stated and enabled,
                                                                  present matter highlights the point. First, Lippe was a decision
Morgan Stanley restricted Tops’ capital expense spending
                                                                  on summary judgment, not on a motion to dismiss. Second,
to unsustainably low levels because Morgan Stanley held
                                                                  the court found that there was no evidence to permit a jury
Tops’ cash “near and dear to [its] dividend heart,” 253 capital
                                                                  to find insolvency at any of the relevant times; 259 “[n]o
expenditures not being a key driver of valuation, only of
                                                                  reasonable jury could find that there was anything suspicious
limited sustainability, 254 and (iv) Tops’ senior management
                                                                  or questionable about the transfers here,” 260 including, that
told the Chairman of the Board of Trustees of the UFCS
                                                                  “defendants have presented extensive, largely uncontradicted
Pension Plan in December 2012 that Tops was prohibited
                                                                  evidence that defendants engaged in the transactions in good
from issuing new debt to shore up that Plan although within
days thereafter Tops issued $460 million of senior secured        faith;” 261 there was no basis to question the independent
                                                                  investment banking firm's opinion of the fairness of the
notes to facilitate the payment of the 2012 dividend, 255 (v)
Morgan Stanley and the Morgan Stanley Director Defendants         consideration paid for the original, spin-off transfer; 262
believed that an equity cushion of at least 25-30% was            and a reasonable jury could only find that the subsequent
required to issue dividends, but even under the flawed and        “dividends were approved by the board ... in consultation with
inconsistent solvency analyses that Tops used to justify the      attorneys and investment bankers, based on dividends paid by
dividends, Tops was left each time with far less than such a      comparable companies and a policy adopted [at the start of
                                                                  the nine-year period that dividends were issued].”
cushion, 256 and (vi) Morgan Stanley and the Morgan Stanley
Director Defendants knew that the comparable companies
                                                                  As noted by Lippe, while a dividend is made for no
used in the valuation analyses used to justify the 2012 and
                                                                  consideration to a party with a close relationship to
2013 dividends were materially dissimilar to Tops and did
                                                                  the transferor, one cannot deny that “it is a generally
not include eight comparable companies that Morgan Stanley
                                                                  accepted practice for a corporation to pay dividends to its
used in its own valuation analysis. 257
                                                                  shareholders” 263 and thus there is always a risk that this
                                                                  badge of fraud could prove too much. Unlike the facts as


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determined in Lippe, however, Tops’ actions and motivations        Trustee,’ if the requirements of the particular exemption
under Morgan Stanley's control -- of course only as alleged by     are satisfied.” 267 Under section 546(e)’s plain terms, to fit
the Complaint -- are not those that one would expect directors
                                                                   within the safe harbor, the transfer 268 must be (i) a specified
and officers to take under the circumstances. 264 It would turn    qualifying transaction, including “a transfer ... in connection
fraudulent transfer law on its head to determine that a transfer   with a securities contract” that (ii) is “made by or to (or for
to insiders for no consideration while the transferor was or       the benefit of)” a qualifying participant, including a “financial
was rendered insolvent could nonetheless not be intentionally
                                                                   institution.” 269 “Securities contract” is defined in section
                                                          265
in fraud of creditors simply because it was a dividend.            741(7) of the Bankruptcy Code to include “a contract for the
                                                                   purchase, sale, or loan of a security” and “any other agreement
 *30 iii. Are the 2009, 2012, and 2013 Dividends Protected         or transaction that is similar to an agreement or transaction
by the Safe Harbor of 11 U.S.C. § 546(e)?
                                                                   referred to in this subparagraph,” 270 a broad definition. 271

The Defendants contend that the 2009, 2012 and 2013
                                                                   Importantly, in Merit Mgmt. Grp., LP v. FTI Consulting,
dividends are excepted from avoidance under the “safe
harbor” provisions of 11 U.S.C. § 546(e), which provides:          Inc., 272 the Supreme Court determined that where there
                                                                   was a string of related transactions, one of which, involving
                                                                   an intermediary, might fall into section 546(e)’s the safe
                                                                   harbor, “the only relevant transfer for purposes of the safe
             (e) Notwithstanding sections 544, 545,                harbor is the transfer that the trustee seeks to avoid,” 273 not
             547, 548(a)(1)(B), and 548(b) of this                 the intermediary transfer. “If a trustee properly identifies an
             title, the trustee may not avoid a                    avoidable transfer, ... the court has no reason to examine the
             transfer that is a margin payment, as                 relevance of component parts when considering a limit to the
             defined in section 101, 741, or 761                   avoiding power, where that limit is defined by reference to an
             of this title, or settlement payment,                 otherwise avoidable transfer, as is the case with § 546(e).” 274
             as defined in section 101 or 741
             of this title, made by or to (or                       *31 Section 546(e)’s safe harbor is an affirmative defense,
             for the benefit of) a commodity                       but it can be raised in the context of a motion to dismiss
             broker, forward contract merchant,                    if the complaint and other documents that the Court can
             stockbroker, financial institution,                   consider establish it and “where the facts are not in dispute,
             financial participant, or securities                  or where there is already a sufficiently detailed factual record
             clearing agency, or that is a                         to decide whether the applicable statutory definitions are
             transfer made by or to (or                            met, such that the application of Section 546(e) presents a
             for the benefit of) a commodity                       straightforward question of statutory interpretation of the type
             broker, forward contract merchant,
                                                                   that is appropriately resolved on the pleadings.” 275
             stockbroker, financial institution,
             financial participant, or securities
                                                                   The Defendants contend that the 2009, 2012, and 2013
             clearing agency, in connection with
                                                                   dividends qualify under section 546(e) as “safe harbored”
             a securities contract, as defined in
             section 741(7), commodity contract, as                transfers, 276 in that (i) they were made in connection private
             defined in section 761(4), or forward                 offerings for the notes, the proceeds of which were used,
             contract, that is made before the                     in part, to fund each dividend, and such offerings were
             commencement of the case, except                      “securities contracts” as defined in 11 U.S.C. § 741(7); and
             under section 548(a)(1)(A) of this                    (ii) they were transfers by a qualifying “financial institution”
                                                                   as defined in 11 U.S.C. §§ 101(22)(A) because they were
             title. 266
                                                                   made by Tops from its bank to the Private Equity Investors’
                                                                   banks, which, the Defendants contend, were acting as either
                                                                   Tops’ or the Private Equity Investors’ agents or custodians
“Section 546(e) thus affords ‘a complete defense to                for the banks’ customers and therefore under section 101(22)
[the specified types of] avoidance claims brought by a             (A) of the Bankruptcy Code Tops and/or the Private Equity



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Investors are “financial institutions.” They make this latter      For the reasons discussed earlier in this Memorandum of
point based on section 101(22)(A) of the Bankruptcy Code,          Decision, to the extent the foregoing exhibits to the Shamah
which defines “financial institution” as used in section 546(e)    Declaration are complete in all relevant respects, 281 the
as “a Federal reserve bank, or an entity that is a commercial      Court can consider them in a Rule 12(b)(6) context insofar
or savings bank, industrial savings bank, savings and loan         as they reflect the use of some of the proceeds of the 2009,
association, trust company, federally-insured credit union, or     2012, and 2013 notes offerings to fund payment of the 2009,
receiver, liquidating agent, or conservator for such entity and,   2012, and 2013 dividends, but only because the parties agree
when any such Federal reserve bank, receiver, liquidating          on that point for purposes of the Motions. The parties also
agent, conservator or entity is acting as agent or custodian for   appear to agree for purposes of the Motions that the proceeds
a customer (whether or not a “customer”, as defined in section     of the 2009 and 2012 notes offerings were transferred as
741) in connection with a securities contract (as defined in       set forth in the two Flow of Funds Memoranda, including
section 741) such customer.” (Emphasis added). 277                 from, apparently, one of the book running managers into
                                                                   Tops’ bank account listed therein and thereafter by Tops
In support of the foregoing factual allegations, Defendants        from its bank account into the Private Equity Investors’ listed
submit an October 1, 2009 note purchase agreement for $275         bank accounts. 282 It is worth noting at this point that any
million of senior secured notes; an incomplete December 20,        sort of paying agent or custodial agreement for any party to
2012 indenture for $460 million of senior secured notes; an        the dividends (or, for that matter, the notes offerings) such
incomplete May 15, 2013 indenture for $150 million of senior       as those that were before the courts in the Circuit's most
unsecured notes; an incomplete offering memorandum for the
                                                                   recent Tribune decisions 283 and in Nine West 284 and Boston
$150 million senior secured notes; an incomplete offering
memorandum for the $460 million of senior secured notes;           Generating 285 was not offered to the Court, however.
an incomplete offering memorandum for the $275 million of
senior secured notes; a press release in connection with the       a. The notes offerings are not qualifying transactions for
offering of the $460 million senior secured notes; a “Funds        purposes of the Complaint, because the Trust is seeking
Flow Memorandum” detailing the contemplated use of the net         to avoid the dividends, not the notes offerings. While the
proceeds of the $460 million senior secured notes comprising       Trust disputes the point, the Court accepts for purposes of
the redemption by Tops of its remaining outstanding senior         this Memorandum of Decision that the three private notes
secured notes in the sum of $377,268,937 and Tops’ payment         offerings whose proceeds were used in part to fund the 2009,
of the 2012 dividends to the Private Equity Investors; and a       2012, and 2013 dividends were “securities contracts” for
“Funds Flow Memorandum” detailing the contemplated use             purposes of 11 U.S.C. § 546(e). As noted, the Bankruptcy
of the net proceeds of the $275 million senior secured notes       Code defines “security” broadly, including various types of
and a separate $30 million credit extension to Tops entities       debt such as privately placed notes, 286 and the issuance of
comprising Tops’ repayment of various existing debts, Tops’        such notes in return for the loan proceeds would generally
payment of the 2009 dividends to Private Equity Investors,         fit within 11 U.S.C. § 741(7)(A)(i)’s broad (indeed circular)
and Tops’ payment of various transaction fees. 278                 definition of a “securities contract.” 287

 *32 The Complaint does not reference any of these                  *33 What clearly is not a “settlement payment” in respect
documents, but it states that (i) “[t]o finance the [2009]         of a securities contract for purposes of section 546(e),
dividend, Morgan Stanley had Tops simultaneously issue             however, is a dividend, and because it is the 2009, 2012,
$275 million of senior secured notes,” (ii) “[t]o finance the      and 2013 dividends that the Complaint seeks to avoid
[2012] dividend, Morgan Stanley had Tops issue $460 million        (transfers A→D), not the issuance of the private notes
of senior secured notes,” and (iii) “[t]o finance the [2013]       (transfers A→B), Merit Mgmt. requires that they not be safe-
Dividend, Tops simultaneously issued $150 million of senior        harbored under section 546(e). A dividend is a one-way
secured notes,” 279 and, further, states that the 2009, 2010,      payment; Tops received nothing in exchange for the 2009,
2012, and 2013 dividends “were not made from cash flow             2010, 2012, and 2013 dividends, 288 whereas a “settlement”
generated by operations of the Company ... [but] instead with      in the context of the securities industry “refers to the
debt issued by the Company.” 280                                   completion of a securities transaction” 289 and a “settlement
                                                                   payment” is “an exchange of money or securities that



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completes a securities transaction.” 290 Thus, standing alone,     the Bank of New York 300 (which was denominated to act,
the dividends would not constitute settlement payments for         and acted as the holding company's depositor and agent for
purposes section 546(e). 291 And, as noted by the district         making the payments to the shareholders). 301
court in Appleseed's, anticipating Merit Mgmt. by several
years, even if section 546(e) were to apply to a related            *34 Clearly the transfers from the holding company's
transaction “in this multifaceted transaction, the dividend        Bank of New York account to redeem the stock and buy
would not automatically be exempt as well. 292                     back the warrants would fall within the Bankruptcy Code's
                                                                   definitions of a settlement payment and securities contract:
The Private Equity Investors argue, however, that the              a transfer of cash in exchange for the redeemed stock and
dividends are safe-harbored because they were not standalone       warrants. 302 To avoid that result, the plaintiff trustee asserted
transfers, but, rather, only one element of an integrated          that he was seeking to avoid only a prior transfer, by
transaction that started with the safe-harbored issuance of the    the operating company to the holding company's Bank of
private notes and concluded with the dividends. This is a          America account. 303 The bankruptcy court found, instead,
difficult argument to make in the light of Merit Mgmt., and        that the applicable transfer, or “overarching transfer,” was
indeed it was rejected in Greektown Litig. Trust v. Papas (In      the last transfer to the stockholders and warrant holders in
re Greektown Hldgs., LLC), 293 where -- on remand after            exchange for their stock and warrants (or the penultimate
Merit Mgmt. abrogated QSI Hldgs., Inc. v. Alford (In re            transfer to the Bank of New York account for their benefit)
QSI Hldgs.) 294 -- the court determined that Merit Mgmt.           and, therefore, that the first prong of the safe harbor defense
precluded, for purposes of section 546(e), the application of      -- a qualifying transaction -- was satisfied. 304
the “step transaction doctrine that provides that interrelated
yet formally distinct steps in an integrated transaction may not   The bankruptcy court went on to hold, moreover, that the $35
be considered independently of the overall transaction,”  295
                                                          if       million dividend payment also was a qualifying transaction,
defendants rely on a component part of the sequence instead        notwithstanding that it recognized that a “true dividend,” as
                                                                   not being in exchange for anything, would not be a qualifying
of the transfer sought to be avoided. 296 Again A→D must
be shown to fit within the safe harbor if the plaintiff is         transaction, 305 because the dividend “was not an isolated
seeking to avoid transfer D; showing A→B is safe-harbored          dividend paid in the ordinary course” but, rather, paid “as
is unavailing because section 546(e) applies to “ ‘a transfer      part of an integrated transaction ... to settle [the holding
that is’ either a ‘settlement payment’ or made ‘in connection      company's] repurchase of its members shares.” 306
with a securities contract.’ Not a transfer that involves. Not
a transfer that comprises. ... In other words, to qualify for      How can Boston Generating’s two rulings be reconciled with
protection under the securities safe harbor, § 546 (e) provides    Merit Mgmt.? With respect to the tender offer for the stock and
that the otherwise avoidable transfer itself be a transfer that    warrants, Boston Generating could be said to rest on any of
meets the safe harbor criteria.” 297                               three different rationales. The first clearly would be consistent
                                                                   with Merit, namely that while the plaintiff sought to pick an
Nevertheless, the Private Equity Investors argue that the          intermediate step in the transaction to avoid as a fraudulent
                                                                   transfer, thus trying to fit within Merit Mgmt., his basis for
reasoning of In re Boston Generating 298 compels section
                                                                   avoidance of that step depended on his ability to avoid the
546(e)’s safe harbor to apply here. In Boston Generating, an
                                                                   last step in the transaction, which was safe-harbored. In other
operating company and its holding company incurred $2.1 of
                                                                   words, the transfer to the holding company obligor would not
secured and mezzanine loans, a portion of which was to be
                                                                   be avoidable as a fraudulent transfer but for the subsequent
used to finance (a) an approximately $975 million tender offer
                                                                   transfer to the shareholders and warrant holders in return
for a stock and warrant buyback and (b) approximately $35
                                                                   for their stock and warrants. It was only that “overarching”
million of dividends. 299 The loan proceeds were deposited         transfer that was the true target of avoidance. The court in
in the operating obligor's US Bank National Association
                                                                   Giuliano v. Schnabel (In re DSI Renal Hldgs., LLC) 307 took
bank account, with the portion comprising the Leveraged
                                                                   such an approach where the plaintiff trustee was able to avoid
Recap Transaction payments then transferred to the holding
                                                                   a transfer only if the multiple step transaction were collapsed.
company obligor's bank account at Bank of America, and then
to a different holding company obligor bank account with


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                                                                transaction, including the intermediate step that the plaintiff
                                                                sought to avoid, before the last, safe-harbored transfers.
             [T]he collapsing of the Restructurings             Certain passages in Boston Generating indeed highlight
             multiple integrated transactions does              the interlocking provisions of the underlying contracts. 312
             not preclude [defendant's] use of the              The district court's affirmance also stated that “Notably,
             securities safe harbor. Rather .. it               the Tender Offer was conditioned upon [the obligors’]
             serves to assist its application. ...              receipt of financing as contemplated by the Leveraged
             [T]he first step of the section 546(e)             Recap Transaction,” 313 and the two senior credit facility
             analysis is to identify the relevant               agreements and the mezzanine credit facility “required” [the
             transfer so that a determination may               operating company obligor] to use a portion of the proceeds
             be made as to whether the covered                  to “fund the Distribution and Tender Offer of [the holding
             transaction and entity criteria of the
                                                                company obligor].” 314 Three recent decisions appear to have
             securities safe harbor are met. Here
                                                                applied or at least considered this rationale -- one finding that
             the Trustee took advantage of the
             collapsing doctrine when he identified             it justified the dividend payments to be safe-harbored, 315 and
             the relevant transfers. ... Rather than            two considering it seriously enough to hold that the facts were
             focusing on the single step of the                 not sufficiently clear to warrant granting a motion to dismiss
             Restructuring in which DSI Renal                   on such a basis. 316
             Holdings transferred to CDSI I all
             of its Renal Shares, the Trustee has               This “integrated by agreement” rationale presents two
             linked the Restructuring's multi-steps             problems in the light of Merit Mgmt., however. First, it
             together, examined their significance,             raises a line-drawing problem. Clearly the transaction in Merit
             and has pursued the Defendants for                 involved multiple, if interrelated steps, yet the Supreme Court
             an ‘overarching transfer’ -- their                 expressly separated the steps to focus on the last one, which
             alleged receipt of the Renal Shares as             the plaintiff sought to avoid. It did not inquire into how closely
             represented by the CDSI I stock,                   linked the steps were in the drafting of the various documents,
                                                                and one can see the clear potential for abuse if one turned
                                                                the focus away from the avoidable transfer, as required by
                                                                Merit, to the drafting linkages between or among the steps
which was safe-harbored. 308 Arguably a similar rationale
underlies SunEdison Litig. Trust v. Seller Note, LLC (In        leading up to it. 317 Such line drawing, which could easily
                                                                rise to a nearly metaphysical dimension (one in three, three in
re SunEdison, Inc.), 309 in which the plaintiff also sought
                                                                one), also is to be avoided when applying a statute like section
to avoid an intermediate step in a multi-step transaction
                                                                546(e) designed as a blunt instrument to protect the securities
instead of the last one (which would have been safe-harbored)
and then to recover from the ultimate recipients of the         markets. 318
intermediate, avoided transfer under 11 U.S.C. § 550. 310 The
                                                                 *36 Secondly, this “integrated by documentation” approach
court disagreed: “While Merit defined the relevant transfer
                                                                runs the risk of being confused with the fraudulent transfer
as the overarching transfer that the trustee seeks to avoid,
                                                                avoidance doctrine in which “[i]n equity, substance will not
it does not follow that the trustee can escape the reach of
                                                                give way to form .... Thus, an allegedly fraudulent conveyance
the safe harbor by seeking to avoid an intermediate transfer
                                                                must be evaluated in context; where a transfer is only a step
between non-qualifying participants and sue the qualifying
                                                                in a general plan, the plan must be viewed as a whole with all
participants of the true overarching transfer as subsequent
                                                                its composite implications.” 319 Of course this “integrated in
transferees.” 311
                                                                fact” principle applies to avoidance, but unless it is invoked
                                                                to avoid a transfer, as in In re DSI Renal, it should not, after
 *35 The second possible rationale for Boston Generating’s
                                                                Merit Mgmt., justify collapsing a transaction for purposes of
application of the safe harbor to the stock and warrant
buyback is more problematic, namely that the transaction        section 546(e)’s safe harbor. 320
documents were so interdependent by their own terms
that there really were no intermediate steps to the



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Yet that “integrated in fact” argument is the third possible       and its depositor is that of debtor and creditor, not of agent and
rationale for Boston Generating and perhaps the only possible      principal. The money deposited becomes part of the bank's
rationale for its dismissal of the plaintiff's claim to avoid      general funds, and it impliedly contracts to pay the depositor's
the $35 million dividend. As noted, that dividend was at           checks to the amount of his credit, but in discharging its
the end of the transfer chain, not an intermediate step,           implied obligation it pays its own money as a debtor, not its
and as the court recognized also was not in and of itself          depositor's money as an agent.” 324
a qualifying transfer because it was not in exchange for
anything. 321 Nevertheless, the bankruptcy court found that        That debtor-creditor relationship contrasts with a principal-
it was safe-harbored because it was “part of an integrated         agency relationship, which “is established by evidence that
transaction” that in another step of the transaction contained     one person -- the principal -- has allowed another to act on
a safe-harbored step, the stock/warrant buyback. 322 The           his or her behalf, subject to his or her control, and evidence of
district court opinion affirming the bankruptcy court even         consent by the other person – the agent -- to so act.” 325 For
more loosely used this “integrated in fact” rationale to           example, the account holder's agent in Royal Arcanum Hosp.
support the dismissal of the dividend avoidance claim: the         was not the holder's bank but, instead, the account holder's
“heart of the case” was the leveraged recap transaction;           authorized signatory for making withdrawals. 326 In contrast,
because the dividends were paid in connection with and “in         in Tribune, the transferor, as customer, retained a separate
anticipation of” that concededly safe-harbored transaction,        agent to act as “Depository” in connection with an LBO
they, too, were safe-harbored. 323 This rationale, which pretty    tender offer to receive, hold, and distribute the tender offer
clearly turns Merit Mgmt. on its head, is the only one of          funds that the trustee sought to avoid. 327 Similarly, in Nine
Boston Generating’s three rationales that would work for           West, the transferor entered into a Paying Agent Agreement
the Defendants, since they rely on an intermediate step, the       with a financial institution for the purpose of receiving and
private notes issuances, to safe-harbor the dividends. I decline
                                                                   distributing the merger consideration to shareholders, 328 so
to follow it.
                                                                   that the plaintiff was relegated to contending that under the
                                                                   agreement the financial institution was not acting as an actual
b. The parties’ banks are not agents or custodians for purposes
of section 546(e). The lack of a qualifying transaction is not     agent but, instead, as a “non-agent contractor.” 329
the only reason why the 2009, 2012, and 2013 dividends are
not safe-harbored. The Defendants also have not sufficiently        *38 It is even more unlikely that either the bank that received
identified a qualifying recipient under section 546(e), the        the private note consideration used to pay the dividends here
second, separate requirement of its safe harbor. As noted, they    or the banks that received the dividends were “custodians”
have not identified an agency or custody agreement between         of Tops and the Private Equity Investors, respectively, for
(a) a financial institution, as defined in section 101(22)(A)      purposes of section 101(22)(A) of the Bankruptcy Code.
of the Bankruptcy Code, and (b) either (i) Tops (which, if         Unlike “agent,” the term “custodian” is separately defined
it were the customer of such a financial institution under         in the Bankruptcy Code, 330 and by its plain terms that
an agency or custody agreement would itself be deemed a            definition clearly would not apply to a depositor/bank
financial institution under section 101(22)(A)), or any of the     relationship. 331 Even if one were to ignore section 101(11)’s
Private Equity Investors (which similarly would be swept           definition of “custodian,” without additional documentation,
in as financial institutions under section 101(22)(A) if they      absent here, a depositor into a bank account loses any
were the customer of such a financial institution), or, for,       interest in the deposited funds, having only a creditor/
that matter, any of the noteholders, under such an agency or       debtor relationship with the bank as opposed to a custodial
custody agreement.
                                                                   relationship. 332

 *37 They instead rely simply on the Flow of Funds
                                                                   Therefore for the second, alternative reason that the Motion
Memoranda that show proceeds of the private notes were
                                                                   does not identify a qualifying participant, the safer harbor of
intended to be deposited in 2009 and 2012 into Tops’ bank
                                                                   section 546(e) does not apply.
accounts and from there into the Private Equity Investors’
bank accounts. However, without more, a bank account
                                                                   (As this is my last opinion before retiring from the bench,
holder's relationship with its bank is merely a creditor-debtor
                                                                   perhaps I can be indulged in asking, why Congress has put the
relationship: “As a general rule, the relation between a bank


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courts to all this parsing and hair splitting over (a) whether     upon a liability, penalty or forfeiture created or imposed by
a transaction is one or many and, if many, has the avoidable       statute ...”) and therefore are untimely given the 2018 filing of
transaction has been properly identified, or (b) whether there     the Complaint. The Trust is correct, however, that the six-year
is a qualifying participant that is a proper customer, agent, or   limitations period under NY CPLR § 213(7) applies to a claim
custodian. After all, at issue here is a transaction whereby,      brought by a corporation against its former directors under
after encumbering a privately held company's assets with           NY BCL § 719 for issuing unlawful dividends under NY BCL
privately issued debt, a handful of sophisticated private          § 510, because the legislature specified that section to govern
equity investors took massive dividends that, as asserted          claims of a corporation against present or former directors to
by the Complaint, left the pension plans of thousands of           enforce a liability such as the liability “to the corporation” 338
workers and hundreds of creditors holding the bag. Only
                                                                   ensuing upon the issuance of an unlawful dividend. 339
the veracity of that last assertion – that is, whether Tops
was insolvent or rendered insolvent by the dividends -- not
                                                                   By its plain terms, the three-year limitation period under NY
whether the dividends are safe-harbored, should be at issue.
                                                                   CPLR § 214(2) does not apply to claims covered by NY
The avoidance of these dividends and the loans that funded
                                                                   CPLR § 213: “The following actions must be commenced
them would have no effect on the public securities markets,
                                                                   within three years: ... (2) an action to recover upon a
the ostensible purpose for section 546(e). 333 On the other        liability, penalty or forfeiture created or imposed by statute
hand, the transfer avoidance provisions of the Bankruptcy
                                                                   except as provided in sections 213 and 215.” 340 And NY
Code are of fundamental importance, “help[ing] implement
                                                                   CPLR § 213(7) clearly addresses the Trust's claims against
the core principles of bankruptcy,” 334 and go back to the         the Director Defendants more specifically than section 214,
enactment of the Statute of 13 Elizabeth in 1571. 335 Given        because it provides that the six-year statute applies to “an
the importance of fraudulent transfer law in bankruptcy cases,     action by or on behalf of a corporation against a present
Congress should act to restrict to public transactions its         or former director, officer, or stockholder ... to enforce a
current overly broad free pass in section 546(e) that has          liability.” 341 “This section ‘supplants all other statutes of
informed the playbook of private loan and equity participants      limitation potentially applicable to a suit on a corporation's
to loot privately held companies to the detriment of their
                                                                   claim against its director, officer, or shareholder.’ ” 342
non-insider creditors with effective impunity. This is no
                                                                   Because NY CPLR § 213(7) encompasses the payment of the
trivial matter. “By the third quarter of 2017, PE funds paid
                                                                   illegal dividends claims at issue, which are claims under the
themselves $15.31 billion in debt-funded dividends, which
                                                                   plain terms of NY BCL § 719(a) “of the corporation,” the
was nearly equal to the total for all of 2016. As of November
                                                                   more general limitations period outlined in CPLR § 214(2)
of 2018, more than $30 billion in borrowed funds was paid
out by companies to their PE owners. Studies show that 25%         does not apply. 343
of 481 large Chapter 11 filings over six years (from mid-2011
through mid-2017) were by PE-owned companies. In 2017,             Lippe cited Purves v. ICM Artists, Ltd., 344 for the contrary
30% of Chapter 11 filers were owned by PE funds.” 336 There        proposition that, notwithstanding NY CPLR § 213(7), a
is little doubt that the same playbook has been followed since     three-year statute of limitations applies, and the Director
the dates of the foregoing analyses and will continue to be        Defendants rely on that decision. Purves’ rationale for this
followed unless Congress acts.)                                    conclusion, though, was based on the court's belief that claims
                                                                   brought by a bankruptcy trustee under NY BCL § 720(b) are
                                                                   not brought on behalf of the corporation but, rather, under a
   2. The Unlawful Dividend Claims                                 separate statute. 345 As noted above, however, the Trust was
 *39 A. Are Unlawful Dividend Claims Timely? The parties           assigned Tops’ claims under NY BCL § 719 under the Plan;
dispute what limitations period applies to the Trust's claims      it does not need to rely on having any bankruptcy trustee
against the Director Defendants under NY BCL § 719 337             status under NY BCL § 720(b), therefore. It should be noted,
for their having authorized the 2012 and 2013 dividends in         moreover, that Purves’ has also been aptly criticized as not
contravention of NY BCL § 510. The Director Defendants             even stating the correct rule for a bankruptcy trustee. 346
contend that such claims are subject to a three-year statute
of limitations under NY CPLR § 214(2) (providing a three-          *40 B. Do the Unlawful Dividend Claims Require Pleading
year limitations period to an action brought “to recover           Breach of Fiduciary Duty? Josefowicz and Rauch also move



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to dismiss the Complaint's unlawful dividend claims on the          “when a corporation becomes insolvent, ‘its creditors take
theory that the Trust must plead their breach of a fiduciary        the place of the shareholders as the residual beneficiaries
duty in authorizing or concurring in the dividends’ issuance.       of any increase in value.’ Accordingly, ‘the creditors of an
This argument is based, however, only on the statement,             insolvent corporation have standing to maintain derivative
appearing in a decision by the Supreme Court of New York,           claims against directors on behalf of the corporation for
Suffolk County, that NY BCL § 720 “permits an action to be          breaches of fiduciary duties.’ (emphasis in the original).
brought against directors or officers to compel an accounting       Under Delaware law, a creditor's standing to maintain a
for their violation of fiduciary duties. ...” 347 What these        derivative action against a corporation's directors arises at the
Director Defendants ignore is that the same court also noted        precise moment that the corporation passes from solvency
that the complaint at issue failed to state a cause of action for   to insolvency.” 355 The same holds true under New York
the improper declaration of a dividend under NY BCL § 510           law: “[O]nce a corporation is insolvent, corporate officers and
or other actions that might give rise to liability under section    directors owe a fiduciary duty to preserve corporate assets for
719 because it did not allege that any payments were made           the benefit of the creditors.... New York courts refer to this
while the corporation was insolvent or made insolvent. 348          principle as the ‘trust fund doctrine,’ by virtue of which the
Clearly the case stands only for the proposition that NY            officers and directors of an insolvent corporation are said to
BCL § 719 (and the standing accorded by NY BCL § 720)               hold the remaining corporate assets in trust for the benefit of
encompasses many types of wrongdoing, including but not             its general creditors.” 356
limited to an accounting for breach of fiduciary duty. By
their plain terms, NY BCL §§ 510 and 719 impose joint                *41 Here, however, the Court has already found that the
and several liability against directors merely if they “vote        Complain has plausibly alleged Tops’ insolvency during the
for or concur in” 349 the declaration of any dividend “when         times when the 2012 and 2013 dividends were authorized.
currently the corporation is insolvent or would thereby be          Therefore the Motion's objection based on the Trust's alleged
                                                                    lack of standing should be denied.
made insolvent, ...” 350 or when the dividend is not paid out
of the corporation's “surplus” or not otherwise as permitted
                                                                    B. Are the Breach of Fiduciary Duty Claims Timely? The
by NY BCL § 510(b). 351 There is no additional requirement          Motions contend that the Complaint's breach of fiduciary
for liability on these grounds that the director have breached      duty claims, arising in connection with the December 2012
a fiduciary duty. Indeed, violations of NY BCL § 719 are not        and May 2013 dividends, are governed by Delaware law,
even subject to exculpation under NY BCL § 402(b). 352              including Delaware's three-year statute of limitations for such
                                                                    claims found in 10 Del. C. § 8106(a), 357 and therefore
The Director Defendants’ Motions to dismiss the Trust's             are time-barred given Tops’ February 21, 2018 bankruptcy
claims against them that they are jointly and severally liable      petition date. The Trust contends, to the contrary, that NY
under NY BCL §§ 510 and 719(a)(1) for the shortfall to
                                                                    CPLR § 213(7)’s six-year limitations period applies. 358 This
creditors caused by the 2012 and 2013 dividends should be
                                                                    dispute therefore requires a choice of law analysis because the
denied. 353
                                                                    two state's statutes of limitations are in actual conflict. 359


   3. The Breach of Fiduciary Duty Claims Related to                Where no significant policy calling for the imposition of
   2012 and 2013 Dividends                                          federal choice of law rules exists, bankruptcy courts must
A. The Trust Has Standing, As noted above, under the chapter        apply the choice of law rules of the forum state, 360 here the
11 Plan Tops assigned the breach of fiduciary duty claims           choice of law rules of New York. Generally, New York applies
asserted in the Complaint to the Trust for the benefit of           the “internal affairs doctrine” to determine the applicable
creditors. Given that limitation, the Motions argue that the        law governing breach of fiduciary duty claims: the law of
Trust lacks standing on the basis that the Complaint does           the state of incorporation generally controls the substantive
not plausibly plead insolvency at the time of the alleged           aspects of breach of fiduciary duty claims related to corporate
breaches, which generally coincide with the determinations          governance. 361 Asserting that the two Tops entities that paid
to pay the 2012 and 2013 dividends. 354 This argument               the 2012 and 2013 dividends (Tops Holding Corporation and
derives from the proposition of Delaware law that, while            Tops Holding II Corporation, respectively) were Delaware
corporate directors owe fiduciary duties to the corporation,        corporations, the Defendants thus contend that Delaware's


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three-year limitations period controls. (The Defendants have                 state the time limited by the laws of the
provided sufficient support for their contention that those                  state shall apply.
entities were indeed incorporated in Delaware. 362 They have
not provided support that the Court would normally consider
in a Rule 12(b)(6) context, however, for the assertion that      *43 In other words, the statute “borrows the statute of
the 2012 and 2013 dividends were paid by those entities.        limitations of the jurisdiction where the claim arose, if shorter
On the other hand, the Trust has not contended otherwise,       than New York's, to determine whether the action was timely
stating only that “Others, such as Tops Markets LLC, were       filed, unless the plaintiff was a New York resident at the
incorporated in New York.” 363 I therefore have assumed         time that the claim accrued,” 369 in which case the New
for purposes of this memorandum of decision that these two      York limitations period will apply. Therefore, the Court must
Delaware entities did in fact pay the dividends, although it    determine (i) whether the breach of fiduciary duty claims
is possible that other Tops entities provided the funds and     accrued in favor of a resident of New York State, and, if
fiduciary duties may be owed to them.) 364                      not (ii) in which state the breach of fiduciary duty claims
                                                                accrued, although “[i]f the claimed injury is an economic
 *42 The Trust correctly notes, however, that most courts       one, the cause of action typically accrues ‘where the plaintiff
applying New York choice of law rules do not apply the          resides and sustains the economic impact of the loss’ ” 370
internal affairs doctrine to issues regarding the application   and thus the plaintiff's 371 residence in either instance should
of statutes of limitations, deeming such issues “procedural,”   be determined.
not “substantive.” 365 Therefore here New York law will
apply to the choice of the applicable statute of limitations    For a corporate plaintiff, the place of residence could be
even if the substantive law of Delaware applies to the          either its state of incorporation or its principal place of
underlying claim. 366 In the specific context of breach of      business. 372 As noted, for purposes of the Motions the
fiduciary duty claims, the clear weight of authority when       Court has assumed that the two entities that paid the 2012
courts have considered both the New York “borrowing             and 2013 dividends were incorporated in Delaware. On the
statute” (the New York choice of law rule under the             other hand, the Director Defendants do not contest that Tops
“procedural” approach to statutes of limitations) and the       maintained its principal place of business in New York. Tops
internal affairs doctrine has applied the New York borrowing    Holding Corporation and Tops Holding II Corporation listed
statute to determine the applicable limitations period. 367     their address as 6363 Main Street, Williamsville, New York
Cases holding to the contrary applied statutes of limitations   14221 on their 10-Ks. 373 Furthermore, Tops’ chapter 11
from states of incorporation with little or no reasoning and    petition states that all the Debtors’ principal place of business
no discussion about whether the New York borrowing statute      was located at 6363 Main Street, Williamsville, New York
could apply, 368 indicating that the issue was not raised or    14221, 374 which the Defendant Directors do not dispute.
would not have changed the result. The Court therefore will
apply New York's borrowing statute, NY CPLR § 202, to the       While some courts have found a corporation's residence
issue.                                                          for purposes of NY CPLR § 202 to be its state of
                                                                incorporation, 375 most, including the Second Circuit, have
Under NY CPLR § 202,                                            focused on the plaintiff's principal place of business to
                                                                determine both its residence and where the cause of action
                                                                for economic damages accrued, 376 such that “the weight of
            An action based upon a cause of action              authority supports use of a corporation's principal place of
            accruing without the state cannot be
                                                                business ... for purposes of the borrowing statute.” 377 The
            commenced after the expiration of the
            time limited by the laws of either the              Court agrees with that analysis, as set forth in Luv N. Care 378
            state or the place without the state                and WonderWork, 379 including how they distinguished
            where the cause of action accrued,                  Verizon Directories, which held that merely qualifying to do
            except that where the cause of action               business in New York would not satisfy NY CPLR § 202’s
            accrued in favor of a resident of the               residence requirement. 380 Mostly the Director Defendants’



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argument rests on Gordon v. Credno, which determined that          Directors of Delaware corporations have long been said to
the plaintiff's state of incorporation was its residence for       owe a “triad” of fiduciary duties to the corporation and its
purposes of section 202 based on “the minimal business             shareholders: (1) the duty of care, (2) the duty of loyalty,
activities of the corporation.” 381 Even if one were to follow     and (3) the duty to act in good faith. 386 The duty of
that holding, however, which, again, is in the minority,           care requires directors to “use that amount of care which
the facts for purposes of the Motions do not require the           ordinarily careful and prudent men would use in similar
conclusion that the entities to which the Director Defendants      circumstances,” and “consider all material information
owed fiduciary duties did not have their primary business          reasonably available.” 387 To hold directors responsible for
activities in New York or that the primary impact of the           a breach of the duty of care, “Delaware law requires that
losses occasioned by the breaches of those duties was not in
                                                                   directors have acted with gross negligence.” 388 The duty of
New York. Thus, at best, the Director Defendants’ argument
                                                                   loyalty “mandates that the best interest of the corporation and
creates a factual issue that cannot be decided on a motion
                                                                   its shareholders takes precedence over any interest possessed
to dismiss, as determining a corporate plaintiff's place of
                                                                   by a director, officer or controlling shareholder and not shared
residence for purposes of CPLR § 202 is generally a fact-
                                                                   by the stockholders generally.” 389 A director must act with
specific exercise. 382
                                                                   “undivided and unselfish loyalty to the corporation,” with

 *44 Accordingly, for purposes of NY CPLR § 202 Tops               “no conflict between duty and self-interest.” 390 Loyalty to
was either a resident of New York at all relevant times or         the corporation also requires the director to act “in the good
the issue of Tops’ principal place of business in New York         faith belief that her actions are in the corporation's best
at the relevant times cannot be decided in the context of          interest.” 391 A plaintiff will commonly plead duty of loyalty
the Motions. In either event, the Motions’ argument that the       claims by alleging that the director (1) was self-interested
Complaint's fiduciary duty claims are time-barred thus should      in the transaction at issue, or (2) acted to advance the self-
be denied.                                                         interest of an interested party from whom they could not
                                                                   be presumed to act independently. 392 The duty to act in
                                                                   good faith, while described as part of the “triad,” is not “an
   C. Do the Breach of Fiduciary Duty Claims Against
                                                                   independent fiduciary duty that stands on the same footing
   Josefowicz and Rauch Satisfy Rule 8?
                                                                   as the duties of care and loyalty,” but, rather, a “subsidiary
The Morgan Stanley Director Defendants do not contend that
the Complaint's breach of fiduciary duty claims against them       element of the duty of loyalty.” 393 Nevertheless, it is often
should be dismissed on any other basis. Josefowicz and Rauch       analyzed separately from other duty of loyalty claims with
argue, however, that the breach of fiduciary duty claims           the focus on whether the fiduciary's challenged conduct was
against them should be dismissed for two more reasons:             “qualitatively different from, and more culpable than, the
(1) that they are exculpated from claims for breach of the         conduct giving rise to a violation of the fiduciary duty of care
fiduciary duty of care, and (2) the Complaint's claims against     (i.e., gross negligence).” 394
them for breach of the fiduciary duty of loyalty/duty to act in
good faith are either conclusory or not plausible.                 *45 The fiduciary duties owed by directors under New
                                                                   York law do not materially differ from those owed under
i. Elements of a Claim for Breach of Fiduciary Duty. In            Delaware law -- New York law similarly defines the duties
Delaware there are two elements of a claim for breach              of care, loyalty, and good faith. 395 As in Delaware, the
of fiduciary duty. The plaintiff must show that (1) the            duty of loyalty in New York prohibits self-dealing and is
defendant owed a fiduciary duty to the plaintiff, and (2) the      commonly found when the director (1) is self-interested, (2)
defendant breached that fiduciary duty. 383 Under New York         lacks independence, or (3) acts in bad faith. 396
law, 384 courts generally require the plaintiff to show “(1) the
existence of a fiduciary relationship, (2) misconduct by the       Under the law of both Delaware and New York, courts
defendant, and (3) damages directly caused by the defendant's      “evaluate the directors’ actions through the lens of a
misconduct.” 385                                                   standard of review ... to determine whether [they] have
                                                                   met the standard of conduct imposed by their fiduciary
                                                                   obligations.” 397 The standard of review shifts depending



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on the circumstances. By default, courts apply the business
judgment rule, which presumes that “in making a business
decision the directors of a corporation acted on an informed                     A provision eliminating or limiting
basis, in good faith and in the honest belief that the action                    the personal liability of a director
taken was in the best interests of the company.” 398 However,                    to the corporation or its stockholders
if the plaintiff alleges that “corporate fiduciaries stand on                    for monetary damages for breach of
both sides of a challenged transaction, an instance where the                    fiduciary duty as a director, provided
directors’ loyalty has been called into question, the burden                     that such provision shall not eliminate
shifts to the fiduciaries to demonstrate the ‘entire fairness’ of                or limit the liability of a director:
the transaction.” 399                                                            (i) For any breach of the director's
                                                                                 duty of loyalty to the corporation
ii. Exculpation. The Trust alleges that Director Defendants                      or its stockholders; (ii) for acts or
breached their fiduciary duties of care, loyalty, and good faith                 omissions not in good faith or which
by:                                                                              involve intentional misconduct or a
                                                                                 knowing violation of law; (iii) under
  a. Approving the 2012 dividend when they were aware                            § 174 of this title; or (iv) for any
     Tops was insolvent, would be rendered insolvent, would                      transaction from which the director
     be left with reasonably small capital, and in doing so                      derived an improper personal benefit.
     believed that Tops would incur or intended to incur debts                   No such provision shall eliminate or
     beyond its ability to pay as they matured;                                  limit the liability of a director for
                                                                                 any act or omission occurring prior to
  b. Approving or not dissenting from the 2013 dividend                          the date when such provision becomes
     when they were aware Tops was insolvent, would be                           effective.
     rendered insolvent, would be left with reasonably small
     capital, and in doing so believed that Tops would incur
     or intended to incur debts beyond its ability to pay as
                                                                    Section 102(b)(7) and such exculpatory provisions also
     they matured;
                                                                    apply to claims made where the corporation's creditors have
  c. Approving the 2012 dividend while relying on the Duff          become, based on the corporation's insolvency at the time of
     & Phelps analysis that they knew was critically flawed;        the alleged breach, the prime beneficiaries of the directors’
                                                                    exercise of their fiduciary duties. 400
  d. Approving or not dissenting from the 2013 dividend
     while relying on the HL analysis that they knew was            Similarly, New York NY BCL § 402(b), allows a corporation
     critically flawed;                                             to set forth

  e. Approving Tops’ incurrence of overwhelming debt for              [A] provision eliminating or limiting the personal liability
     the purpose of issuing the 2012 and 2013 dividends               of directors to the corporation or its shareholders for
     while not addressing the Pension Plan's distressed               damages for any breach of duty in such capacity, provided
     financial status and while Tops was insolvent;                   that no such provisions shall eliminate or limit:

   *46 f. Permitting the reduction Tops' capital expenditures            (1) the liability of any director if a judgment or other
    to levels insufficient to maintain or grow the business for          final adjudication adverse to him establishes that his acts
    the purpose of issuing the 2012 and 2013 dividends.                  or omissions were in bad faith or involved intentional
                                                                         misconduct or a knowing violation of law or that he
Before analyzing whether the Complaint sufficiently pleads               personally gained in fact a financial profit or other
that Josefowicz and Rauch breached their duty of care,                   advantage to which he was not legally entitled or that his
however, one must consider whether they have been                        acts violated section 719, or
exculpated from such a claim. Section 102(b)(7) of
Delaware's General Corporation Law allows a corporation to
include in its certificate of incorporation



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     (2) the liability of any director for any act or omission   The Tops Holding Corporation Certificate of Incorporation
     prior to the adoption of a provision authorized by this     includes a similar exculpation provision. 403 Both provisions
     paragraph.                                                  are modelled after section 102(b)(7) of Delaware's General
                                                                 Corporation Law.
Both section 102(b)(7) and section 402(b) were implemented
in response to the director and officer insurance liability
                                                                 The Court can consider such provisions in the context of
crisis that followed the Delaware Supreme Court's decision
                                                                 a motion to dismiss claims for breach of fiduciary duty
in Smith v. Van Gorkom. 401 By their terms, both ststutes        because the defendants’ fiduciary duties may be set forth in
bar corporations from exculpating liability for bad faith,       or modified by the corporate charter or operating agreement,
intentional misconduct, knowing violation of law, improper       and so the agreement “should be a point of departure for a
personal benefit, and declaration of an unlawful dividend.       Trustee claiming breaches of fiduciary duties” and considered
                                                                 integral to the complaint. 404
The Tops Holding II Corporation Certificate of Incorporation
includes such an exculpation provision, exculpating directors
                                                                 Section 102(b)(7) “freed up directors to take business risks
from claims for breach of the duty of care but not from claims
                                                                 without worrying about negligence lawsuits” for due care
for (1) breach of the duty of loyalty, (2) acts not in good
faith or which involve intentional misconduct or a knowing       violations. 405 Since the adoption of section 102(b)(7),
violation of law, (3) approval of unlawful dividends under       Delaware courts have consistently ruled that “a Section
section 174 of Delaware's General Corporation Law, and (4)       102(b)(7) provision will exculpate Director Defendants from
transactions from which the director derived any improper        paying monetary damages that are exclusively attributable to
personal benefit:                                                a violation of the duty of care.” 406 The Second Circuit, in
                                                                 applying Delaware law, has confirmed that a Section 102(b)
                                                                 (7) provision exculpates Director Defendants from claims
                                                                 based on a breach of the duty of care.
             *47 To the fullest extent that
            Delaware Law, as it exists on the                     *48 In Leal v. Meeks (In re Cornerstone Therapeutics,
            date hereof or as it may hereafter                   Inc.), the Delaware Supreme Court clarified that “A plaintiff
            be amended, permits the limitation or                seeking only monetary damages must plead non-exculpated
            elimination of the liability of directors,           claims against a director who is protected by an exculpatory
            no director of this Corporation shall                charter provision to survive a motion to dismiss, regardless of
            be personally liable to this Corporation             the underlying standard of review for the board's conduct -- be
            or its stockholders for monetary                     it Revlon, Unocal, the entire fairness standard, or the business
            damages for breach of fiduciary duty                 judgment rule.” 407 Further, “[w]hen a plaintiff seeks to
            as a director. Notwithstanding the                   hold multiple directors protected by an exculpatory provision
            foregoing, a director shall be liable                liable for breach of fiduciary duty, that plaintiff must well-
            to the extent provided by applicable                 plead a loyalty breach against each individual director; so-
            law: (1) for any breach of the directors'
                                                                 called ‘group pleading’ will not suffice.” 408
            duty of loyalty to the Corporation
            or its stockholders; (2) for acts or
                                                                 One pleads a breach of the duty of loyalty by showing
            omissions not in good faith or which
                                                                 the fiduciary (1) harbored material self-interest, (2) acted to
            involve intentional misconduct or a
                                                                 advance the self-interest of an interested party from whom she
            knowing violation of law; (3) under
                                                                 could not be presumed to act independently, or (3) acted in
            section 174 of Delaware Law; or (4)
            for any transaction from which the                   bad faith. 409
            director derived any improper personal
                                                                 The analysis on this point is less developed but likely the
            benefit. 402
                                                                 same under New York law, which faced with an exculpation
                                                                 provision also requires that the plaintiff adequately plead non-
                                                                 exculpated claims. Although there are no New York cases


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discussing the pleading requirements for non-exculpated            other benefits at the expense of Tops and its creditors” 417
claims as clearly as Cornerstone, cases suggest the analysis       Specifically, the Trust alleges that “[t]he ‘independent’
is the same. For example, In re Ampal-American Israel              directors were also self-interested in the 2012 Dividend
Corp., stated that to plead around a charter provision             and received compensation from it. Greg Josefowicz
consistent with NY BCL § 402(b), the complaint “must               received $174,607 and Stacey Rauch received $12,680
contain factual, nonconclusory allegations that implicate
                                                                   as ‘equitable compensation’ for the 2012 Dividend.” 418
one of [the] exceptions” therein, citing, among other cases,
                                                                   Later, the Complaint describes these payments as “bonus
Cornerstone. 410
                                                                   payments.” 419 As for the 2013 dividend, the Trust alleges
                                                                   that “The ‘independent’ directors also were rewarded with
The Trust's breach of fiduciary duty of care claims against
                                                                   substantial bonuses in connection with approving the 2013
Josefowicz and Rauch therefore will not survive unless the
                                                                   Dividend -- Greg Josefowicz received a bonus of $172,800
Court finds that the Complaint has sufficiently alleged a
related non-exculpated claim based on a breach of the duty of      and Stacey Rauch received a bonus of $150,000.” 420

loyalty/good faith. 411
                                                                    *50 Josefowicz and Rauch dispute the nature of these
                                                                   payments, however, claiming that they were received on the
 *49 iii. Do the Complaint's Non-Exculpated Breach of
                                                                   same terms as any other shareholder, or here, stock option
Fiduciary Duty Claims Satisfy Rule 8? The Complaint
                                                                   holder, and therefore, under the caselaw cited above, that they
pleads non-exculpated fiduciary duty claims for breach of
                                                                   were not improperly “interested” in the dividend transactions.
loyalty/good faith against Josefowicz and Rauch, namely
                                                                   They cite Tops Holding II Corporation's 10-K for 2013, which
that each either (i) furthered a material self-interest, (ii)
                                                                   states
lacked independence from an interested party, or (iii) acted
in bad faith, that is, acted beyond gross negligence in in a
conclusory fashion, by asserting that the Director Defendants
“did not exercise independent or honest judgment,” 412 in                      Effective December 28, 2012,
authorizing the foregoing conduct. Josefowicz and Rauch                        following the December 20, 2012
contend, however, that it does not plausibly do so in a non-                   dividend ... the Company awarded
conclusory way.                                                                payments to holders of stock options
                                                                               under the 2007 Stock Incentive Plan
a. Material Self-Interest. “A director is interested in a                      in amounts equal to the difference
transaction if he or she will receive a personal financial                     between the per share dividend paid
benefit from a transaction that is not equally shared by the                   to shareholders and the reductions in
stockholders or if a corporate decision will have a material                   exercise prices associated with the
detrimental impact on a director, but not on the corporation                   stock options .... On May 16, 2013,
and the stockholders.” 413 And the financial benefit must                      the Company awarded make-whole
be material to the particular director's circumstance, “as to                  payments to holders of stock options
have made it improbable that the director could perform her                    under the 2007 Stock incentive Plan
fiduciary duties ... without being influenced by her overriding                in amounts of $600 per stock option,
personal interest.” 414 Classic examples of director self-                     representing the difference between
interest include a director's appearance on both sides of                      the per share dividend paid to Holding
a transaction and when a director receives a personal                          II stockholders and the reduction in the
benefit from a transaction “not received by the shareholders                   exercise price of the stock options. 421
generally.” 415 In a self-dealing transaction, the fiduciary can
receive an improper personal benefit “in the form of obtaining
                                                                   They then refer to other SEC filings to identify the stock
something of value or eliminating a liability.” 416
                                                                   options that they received upon joining the Board 422
The Complaint alleges that the Director Defendants,                and state that the allegedly “equitable compensation” or
including Josefowicz and Rauch “received monetary and              “bonuses” received in connection with the two dividends
                                                                   were in fact determined by applying the foregoing formula,


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applied in the same way as to all other holders of Tops                        capital structure in accordance with the
stock options. The Complaint apparently based it allegations                   priority of their claims.) 425
regarding the payments at least in part on the same
SEC filings, which refer to the payments as “equitable
compensation.” The Trust also has neither disputed such
                                                                    *51 The Trust therefore argues that Josefowicz and Rauch
filings’ characterization of the options or the payments in
                                                                   were “interested” vis a vis the creditors when they received
connections with the two dividends or pointed to any omitted
                                                                   their payments.
provisions in such filings (which were incomplete) that would
clarify them. The Court will therefore consider the filings
                                                                   It is hard to see, though, how they could be so “interested,”
in this Rule 12(b)(6) context and concludes that they render
                                                                   and thus should have acted accordingly for the creditors’
implausible the Complaint's largely conclusory allegations
                                                                   benefit, without a showing that they either knew or recklessly
that Josefowicz and Rauch received bonuses in connection
                                                                   disregarded that Tops was insolvent.
with the two dividend issuances that differed from the
treatment of other option holders.
                                                                   To support the all-important allegation that Josefowicz and
                                                                   Rauch knew that Tops was insolvent or rendered insolvent
This does not entirely resolve the issue, though, because while
                                                                   by the 2012 dividend, or recklessly ignored those facts, the
a director's personal benefit giving rise to self-interestedness
                                                                   Complaint alleges only that they “ignored obvious red flags”
is normally measured as one not equally shared with the
stockholders, as noted above the perspective changes once          in the Duff & Phelps analysis. 426 One can infer such red
the corporation becomes insolvent. As discussed above, upon        flags, but most, if not all, inferences about them would
insolvency the creditors take the shareholders’ place as the       apply primarily, if not perhaps exclusively, to the Morgan
                                                                   Stanley Director Defendants based on Morgan Stanley and
residual beneficiaries of any increase in value. 423 Thus
                                                                   those Directors’ day-to-day involvement, including regarding
some courts have stated that a director of an insolvent
                                                                   Tops’ adoption of unrealistic projections and curtailment of
corporation is interested in a transaction if he receives a
                                                                   capital spending, their and Morgan Stanley's knowledge about
personal benefit not shared by the insolvent corporation's
                                                                   the condition of the Pension Plans, their and Morgan Stanley's
creditors. 424 (This conflict does not exist, however, merely      views about a proper equity cushion, and their and Morgan
based on the director's ownership of stock. As noted by the        Stanley's knowledge that Duff & Phelps had ignored several
Delaware Court of Chancery,                                        truly comparable companies when conducting its analysis.
                                                                   Thus the Complaint may plead the negligence of Josefowicz
                                                                   and Rauch in connection with approving the 2012 dividends
                                                                   while Tops was insolvent or rendered insolvent, as one might
             When directors of an insolvent                        well expect them to have inquired further about the condition
             corporation make decisions that                       of the Pension Plans in the light of the failed sales process,
             increase or decrease the value of the                 inquired further about the projections in the light of the
             firm as a whole and affect providers                  substantially contemporaneous and much lower projections
             of capital differently only due to
                                                                   and valuation multiples for Tops’ newly acquired stores, 427
             their relative priority in the capital
                                                                   inquired further about the capital expense reductions, and
             stack, directors do not face a conflict
                                                                   inquired further about discrepancies between the Duff &
             of interest simply because they own
                                                                   Phelps analysis and the 2009 KPMG analysis, but not their
             common stock or owe duties to large
                                                                   knowledge or recklessness.
             common stockholders. Just as in a
             solvent corporation, common stock
                                                                    *52 The Complaint also alleges that the flaws in the
             ownership standing alone does not
                                                                   HL analysis in connection with the 2013 dividend “were
             give rise to a conflict of interest.
                                                                   obvious” and the Director Defendants nevertheless recklessly
             The business judgment rule protects
             decisions that affect participants in the             proceeded with the dividend. 428 As with the Complaint's
                                                                   allegations regarding the 2012 dividend, however, most
                                                                   if not all the inferences that one can draw about the
                                                                   Director Defendants’ knowledge or recklessness are tied



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to the Morgan Stanley Director Defendants, not also to                         person’ standard to determine whether
Josefowicz and Rauch. It was Morgan Stanley, for example,                      a given director was likely to be
that responded “None” to HL's request to identify Tops’                        affected in the same or similar
contingent liabilities, 429 and it was Morgan Stanley that                     circumstances. 433
internally listed several comparable companies that HL did
not use in its analysis, Morgan Stanley that was intimately
involved in Tops’ decisions to adopt inflated projections and
                                                                   Several courts have considered whether payments to
to reduce capital spending, Morgan Stanley that internally
                                                                   directors or other benefits in connection with a particular
employed a higher equity cushion. Again, then, one can
                                                                   transaction are sufficiently material according to each
infer negligence from Josefowicz and Rauch's failure to
                                                                   director's circumstances. In Goldstein, in analyzing whether
question management's projections, the curtailment of capital
                                                                   one director was interested in a transaction, the Court of
expenses, and HL's’ choice not to consider contingent Pension
                                                                   Chancery compared the $72.3 million of total severance
Plan liabilities -- especially in the light of Duff & Phelps
                                                                   benefits he could receive as part of a transaction to his
having included such liabilities in its analysis just a few
months before and the recent failure of the sale process           annual salary of $11.6 million. 434 The court found that
ostensibly because of such contingent liabilities -- but not       the complaint adequately alleged that the severance was a
their knowledge or recklessness as to Tops’ insolvency in          material benefit, noting prior decisions that had found a
connection with the 2013 dividend.                                 severance payment equivalent to two years of salary was
                                                                   material to an individual, 435 and that “ ‘compensation from
Besides arguing -- successfully as noted above -- that             one's full-time employment is typically of great consequence
the Complaint fails to plead that they were “interested,”          to the recipient’ and thus is generally material.” 436 The
Josefowicz and Rauch also contend that the Trust does not          Goldstein court also rejected the director's argument that,
sufficiently plead that any interest they had in the dividend      because the severance benefit came from a preexisting
transaction was “material.” In support of this requirement,
                                                                   agreement, it did not create a conflict. 437 On the other
they cite Freedman v. Adams 430 and In re Trados 431 for           hand, on a motion for summary judgment, the court in In re
the proposition that generally the interest at issue must be       MFW S'holders Litig. found that the plaintiffs had failed to
material to the director, and materiality is assessed based upon   show that a $100,000 fee to an affiliate of the director was
the individual director's economic circumstances.                  material to the director where the plaintiffs acknowledged
                                                                   that she was wealthy, a “big shot,” and owned a house in the
An extensive line of Delaware authority supports that
                                                                   Hamptons. 438
materiality should be assessed in relation to the director-
defendant's specific economic circumstances rather than
                                                                    *53 In closer cases, it is more difficult to discern the
based on a “reasonable director” standard, even at the motion
                                                                   tipping point of materiality for each director, especially
to dismiss stage. 432 As the Court of Chancery has recently        at the pleading stage, and “there is no bright-line dollar
explained,                                                         amount at which ... fees received by a director become
                                                                   material.” 439 While some courts have been fairly strict
                                                                   in dismissing claims where the complaint lacks detailed

             For a director to be interested in                    allegations about a director's whole financial status, 440
             the transaction, the benefit received                 others have allowed such claims to proceed without a detailed
             by the director and not shared with                   showing, particularly where the fees materially exceed what is
             stockholders must be of a sufficiently                commonly understood to be a usual and customary director's
             material importance, in the context of                fee 441 or it is paid for the services that comprise the
             the director's economic circumstances,                challenged director's principal occupation. 442 The Trust cites
             as to have made it improbable that the                In re Trados as an example where a court inferred materiality
             director could perform her fiduciary                  without requiring allegations of individual directors’ personal
             duties without being influenced by her                economic circumstances. But a closer reading of Trados
             overriding personal interest. Delaware                shows that the plaintiff alleged that “each of the[ ] directors
             courts apply a subjective ‘actual


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was dependent on the preferred stockholders for their              subject” transaction rather than “extraneous considerations
livelihood,” which led the court to infer that they were           or influences.” 451 To establish a lack of independence, the
interested in pursuing a particular transaction that benefitted    plaintiff must allege facts raising “sufficient doubt that a
such preferred stockholders. 443                                   director's decision was based on extraneous considerations
                                                                   or influences, and not on the corporate merits of the
Importantly, courts have more readily found materiality at         transaction.” 452 Lack of independence can be established if
the pleading stage if the purposes of a director's bonus           the complaint alleges facts as to create a “reasonable doubt”
or fee appeared to incentivize the director to take actions        that through personal or other relationships “the directors are
that would benefit others. For example, in Frederick Hsu           beholden to the controlling person [or entity]” or “so under
Living Tr. v. ODN Hldg. Corp., a venture capital firm, Oak
                                                                   their influence that their discretion would be sterilized.” 453
Hill became the controlling stockholder of ODN Holding
Corporation (“ODN”). 444 The crux of the complaint was             However, “allegations of mere personal friendship or a
that Oak Hill sought to extract cash preferentially from           mere outside business relationship, standing alone, are
ODN through a redemption right that it could exercise              insufficient to raise a reasonable doubt about a director's
as to its preferred stock. 445 Relevant here is that one of        independence.” 454 Conclusory references to “dominated
ODN's directors, Domeyer, who was also ODN's CEO,
                                                                   and controlled directors” also are insufficient. 455 “It is the
entered into a compensation agreement that included special
                                                                   care, attention and sense of individual responsibility to the
bonus payments if ODN achieved a “liquidity event,”
                                                                   performance of one's duties, not the method of election,
which was defined to include the redemption of at least
                                                                   that generally touches on independence.” 456 Thus, that a
$75 million of preferred stock. 446 The other directors
                                                                   director was “nominated by or elected at the behest of those
approved that compensation package, most of whom were
                                                                   controlling the outcome of a corporate election” adds no
directly tied to Oak Hill. 447 Domeyer ultimately approved         support to the plaintiff's claims, because “that is the usual
redemptions totaling $85 million, triggering her receipt of a
                                                                   way a person becomes a corporate director.” 457 More is
$587,184 bonus. 448 The court analyzed whether Domeyer             required, such as situations involving family, employment
was interested, based on the bonus potential, in the steps         prospects, and long-standing business relationships, before
taken to achieve redemptions and found that she was. 449           a complaint will have alleged sufficient facts to support an
That included a finding that $587,184 was sufficiently large       inference that the director could not act independently of an
to support an inference of materiality at the pleading stage,      interested party. 458 Delaware courts have long held that one
“particularly when the purpose of the bonus appears to have        should not assume directors are influenced by a controller
been to incentivize Domeyer to pursue redemptions that             due to a concern about potentially losing their directorships,
would benefit Oak Hill.” 450                                       unless the controller has actually made retributive threats. 459
                                                                   But more recently, the Court of Chancery acknowledged
 *54 In this case, the Trust alleges that the directors            scholarly work on the topic of director independence to
received bonuses ranging from $12,680 to $174,607 for              suggest: (1) gaining or losing a directorship is generally
approving the 2012 and 2013 Dividends. If one were to              material to an individual director, and (2) directors could
accept that these were in fact bonuses, instead of “make-          be particularly influenced by entities that regularly are in
whole payments” under the formula quoted above, they               a position to appoint and reappoint directors, sometimes to
would appear as in Frederick Hsu, to incentivize the
                                                                   multiple boards. 460 As to one director, the Goldstein court
Josefowicz and Rauch to approve the dividends, which in turn
                                                                   went on to hold that the plaintiff had pled sufficient facts to
allegedly benefitted Morgan Stanley. The sums are also in
                                                                   meet the deferential standard under Delaware Chancery Court
the aggregate significant. Therefore, although the Complaint
                                                                   Rule 12(b)(6), noting that the enhanced scrutiny standard
does not provide detailed financial information regarding
the directors’ financial situations, it sufficiently pleads the    of review applied to the transaction. 461 Similarly, in a
materiality of the payments.                                       different case, the Court of Chancery took a holistic view of
                                                                   a director's “multiple layers of business connections” with a
b. Lack of Independence. A director's decision is considered       controlling party, combined with the threat that he might lose
to be independent if it is based on “the corporate merits of the   his lucrative directorship if he approved a particular action, to



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find that the Complaint adequately pled the director's lack of    interest in approving the Dividends. 470 In support of these
                462
independence.                                                     general, conclusory allegations, the Trust pleads that Morgan
                                                                  Stanley placed all of the Director Defendants, including
 *55 In analyzing directors’ independence based on their          Josefowicz and Rauch on Tops’ Board and had “sole and
continued ability to receive directors’ fees, some courts         absolute direction to remove them if they failed to follow
have focused on whether the fees exceeded the usual               Morgan Stanley's directives.” 471 The Trust also pleads that
                 463
and customary.    Other cases suggest that directors’ fees        Josefowicz and Rauch's “careers were solely focused on
are more likely to be material to an individual whose             serving on Boards, and meeting Morgan Stanley's needs
principal occupation is serving as director. 464 As with          on the Tops’ Board would mean the possibility of Morgan
interestedness, analysis of independence is based on a            Stanley appointing them to other Boards” 472
subjective “actual person” standard rather than an objective
“reasonable director” standard. 465 So, too, materiality comes     *56 Based on the foregoing caselaw, these limited
                                                                  allegations are insufficient to prove Josefowicz’ and Rauch's
into showing a lack of independence. 466
                                                                  lack of independence.

                                                                  c. Acted in bad faith. Delaware courts have identified three
                                                                  non-exhaustive examples of bad-faith conduct:
            The plaintiff must allege that the
            director in question had ties to the
            person whose proposal or actions
            he or she is evaluating that are
                                                                               [1] the fiduciary intentionally acts with
            sufficiently substantial that he or she
                                                                               a purpose other than that of advancing
            could not objectively discharge his or
                                                                               the best interests of the corporation,
            her fiduciary duties. In other words,
                                                                               [2] the fiduciary acts with the intent
            the question is whether, applying
                                                                               to violate applicable positive law, or
            a subjective standard, those ties
                                                                               [3] the fiduciary intentionally fails to
            were material, in the sense that
                                                                               act in the face of a known duty to act,
            the alleged ties could have affected
                                                                               demonstrating a conscious disregard
            the impartiality of the individual
            director. [Delaware] law requires that                             for his duties. 473
            all the pled facts regarding a director's
            relationship to the interested party
            be considered in full context in                      It was long held that to establish a claim of bad faith the
            making the, admittedly imprecise,                     plaintiff must show “[1] an extreme set of facts to establish
            pleading stage determination of                       that disinterested directors were intentionally disregarding
            independence. 467                                     their duties or [2] that the decision under attack is so
                                                                  far beyond the bounds of reasonable judgment that it
                                                                  seems essentially inexplicable on any ground other than bad

Put differently, the Court begins with the presumption that all   faith.” 474 The Delaware Supreme Court has since rejected
                                                                  the proposition that a plaintiff must plead that the defendant
directors are independent, 468 such that “the allegations must
                                                                  made a decision “so far beyond the bounds of reasonable
be sufficient to demonstrate a substantial reason to find that
                                                                  judgment that it seems essentially inexplicable on any ground
a director cannot make a decision with only the best interests
                                                                  other than bad faith,” 475 however, and stated that it disagrees
of the corporation in mind.” 469
                                                                  with the statement that “a plaintiff in this context must plead
                                                                  facts that rule out any possibility other than bad faith, rather
The Complaint alleges that Director Defendants were “not
                                                                  than just pleading facts that support a rational inference of
truly ‘independent’ directors, but in fact were beholden
to, and controlled by, Morgan Stanley and acted at                bad faith. ...” 476 Thus the complaint need not rule out any
Morgan Stanley's direction to advance Morgan Stanley's            possibility for the Directors’ conduct other than bad faith. 477



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                                                                    To establish a claim for aiding and abetting a breach
In any event, though, the plaintiff must establish that the         of fiduciary duty under Delaware law, the plaintiff must
targeted director had the requisite scienter. It is not enough      show “(i) the existence of a fiduciary relationship, (ii) a
to say, in hindsight, that the director should have known that      breach of the fiduciary's duty, (iii) knowing participation
projections or other data were wrong -- the plaintiff must          in that breach by the [non-fiduciary] defendants, and
demonstrate what the directors knew it. 478 Moreover, absent        (iv) damages proximately caused by the breach.” 485
a showing of actual knowledge or intent, directors do not act       “’Knowing participation” is the critical element. 486
in bad faith when they rely on outside experts to assist their      ‘Knowing participation’ in [a fiduciary's] breach requires
decision-making. 479 “As long as a board attempts to meet           that the third party act with knowledge that the conduct
its duties, no matter how incompetently, the directors did not      advocated or assisted constitutes such a breach. Therefore,
consciously disregard their obligations.” 480 These general         if the third party knows that the board is breaching its duty
                                                                    and participates in the breach by misleading the board or
requirements are similar to those under New York law. 481
                                                                    creating an informational vacuum, then the third party can

 *57 Given the Court's earlier analysis of the Complaint's          be liable for aiding and abetting” 487 “The standard for an
allegations regarding Josefowicz and Rauch's lack of                aiding and abetting claim is a stringent one, one that turns
knowledge, and thus lack of intent, therefore, the Complaint        on proof of scienter of the alleged abettor.” 488 However,
does not allege, except in a conclusory way, that they              “the advisor is not absolved from liability simply because
intentionally disregarded their fiduciary obligations, a critical   its clients’ actions were taken in good-faith reliance on
omission from the Trust's contention that they breached their       misleading and incomplete advice tainted by the advisor's
duty of good faith. 482                                             knowing disloyalty.” 489

                                                                    MSIM does not contest here that Director Defendants
  4. The Aiding and Abetting Breach of Fiduciary Duty               breached their fiduciary duties to Tops. Its contention
  Claims Against MSIM                                               that the Complaint does not sufficiently plead damages
                                                                    proximately caused by such breach is belied by the
   A. MSIM's Argument that the Complaint's Aiding and
                                                                    Complaint's allegations, which the Court finds plausible, that
   Abetting Breach of Fiduciary Duty Claims Are Time-
                                                                    the dividends, including the 2012 and 2013 dividends, and
   Barred Also Should Be Denied.
                                                                    Tops’ related incurrence of debt and curtailment of capital
MSIM's argument that Delaware's three-year statute of
                                                                    expenditures “rendered Tops insolvent at the time of each of
limitations applies to the aiding and abetting breach of
                                                                    the dividends and led Tops to file for bankruptcy, leaving the
fiduciary duty claims against it was based on the same reasons
that Defendants argued the Complaint's breach of fiduciary          Company's creditors with over $1 billion in losses.” 490
duty claims were time-barred, because that “[t]he statute of
limitations for each aiding and abetting claim is determined        MSIM also argues, however, that the Complaint fails to
                                                                    plead MSIM's knowing participation, as required by the
by the underlying tort.” 483 The Defendants’ argument for
                                                                    caselaw discussed above, in any breach of fiduciary duty. At
a three-year statute of limitations to apply to the underlying
                                                                    one level, this argument is unavailing, too. The Complaint
breach of fiduciary duty claims having been found unavailing,
                                                                    pleads several ways in which “Morgan Stanley” had the
however, MSIM's argument also should be denied. 484                 requisite scienter in participating in or contributing to
                                                                    Defendant Directors’ breaches of fiduciary duty based on
                                                                    “Morgan Stanley's” day-to-day control of Tops, including
   B. Does the Aiding and Abetting Breach of Fiduciary
                                                                    with respect to decisions to cut capital expenditures, to
   Duty Claim Satisfy Rule 8?
                                                                    ignore Tops’ Pension Plan exposure, and to fund the 2012
 *58 MSIM also contends that the claim that it aided and
                                                                    and 2013 dividends, as well as its intensive involvement
abetted Director Defendants’ breach of their fiduciary duties
                                                                    in the Duff & Phelps and HL analyses supporting the
with respect to the 2012 and 2013 dividends should be
                                                                    dividends, which the Complaint pleads “Morgan Stanley”
dismissed as either conclusory or implausible.
                                                                    knew were deeply flawed and for which “Morgan Stanley”
                                                                    knowingly provided false information (such as “Morgan
                                                                    Stanley's” alleged direction to Tops to adopt clearly flawed


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                                                                  assistance and/or encouragement” without, again, pleading
projections 491 and control of the flow of false or incomplete
                                                                  how MSIM, as opposed to MSCPV Holdco or the Morgan
information to the two consultants). 492                          Stanley Director Defendants acting in such capacity (each of
                                                                  which had their own fiduciary duties to Tops) did so. This
 *59 But except to describe MSIM as “do[ing] business
                                                                  does not satisfy Fed. R. Civ. P. 8 497 and therefore requires
as Morgan Stanley Private Equity and Morgan Stanley
                                                                  that the Complaint's aiding and abetting claim against MSIM
Capital Partners ... for its private equity business,” and
                                                                  should be dismissed.
stating that “Morgan Stanley Private Equity operates as part
of MSIM's Merchant Banking Division and makes private
equity and equity-related investments on a global basis;”
Morgan Stanley Capital Partners manages “a middle market                                   Conclusion
equity platform;” and Morgan Stanley “issued a press release
                                                                  Based on the foregoing, the Court grants the Motions as to (a)
stating: ‘Morgan Stanley Private Equity announced today that
                                                                  Count XI to the extent that it asserts any claims for breach of
it will acquire Tops Markets, LLC,” 493 the Complaint does        fiduciary duty against Josefowicz and Rauch and (b) Count
not sufficiently allege that MSIM itself engaged in any of        XII, asserting a claim against MSIM for aiding and abetting
the foregoing activity. Instead, it defines “Morgan Stanley” as   breach of fiduciary duty. The Trust shall have 30 days from the
including MSIM and MSCPV Holdco 494 (MSCPV Holdco                 date of this Memorandum of Decision to file a motion under
presumably being the actual controlling shareholder in Tops       Fed. R. Bankr. P. 7015, incorporating Fed. R. Civ. P. 15, for
and the “Morgan Stanley” recipient of the dividends) and          leave to amend the Complaint, which motion shall attach the
states that the Morgan Stanley Director Defendants were           proposed form of first amended Complaint marked to show
also Managing Directors at either Morgan Stanley Private          changes from the Complaint. If such a motion is not filed
Equity 495 or Morgan Stanley Capital Partners. 496 As noted,      by such date, the foregoing dismissal shall be with prejudice.
it then alleges throughout that “Morgan Stanley” engaged          The Motions are otherwise denied. Counsel for the Trust shall
in wrongful activity without differentiating which Morgan         promptly email an order consistent with this memorandum of
Stanley entity did so or whether the activity referred to was     decision to chambers, copying counsel for the Defendants.
conducted by the Morgan Stanley Director Defendants in such
capacity or in their capacity as officers of MSIM. The only       In May of this year, someone stalked and shot thirteen
exceptions to this are found in paragraphs 268 – 270 of the       shoppers and workers in a Tops store in Buffalo, New York. I
Complaint. However, paragraph 268 states only that MSIM           am sure that all the parties to the present dispute join me in
“controlled” the Director Defendants without explaining who       wishing the survivors strength, peace, and dedication.
at MSIM did so and how it did so; paragraph 270 states
in a conclusory way that “MSIM knew of the Director
                                                                  All Citations
Defendants’ breaches of fiduciary duties to Tops and provided
substantial assistance to those breaches;” and paragraph          --- B.R. ----, 2022 WL 6827457
270 lists some of ways MSIM provided such “substantial




                                                          Footnotes


1      Unless otherwise noted, the facts herein come from the complaint in this adversary proceeding (ECF No. 1-1
       (the “Complaint”)), which, to the extent not comprising legal conclusions couched as factual allegations, is
       accepted as true for purposes of the motions to dismiss before the Court. Ashcroft v. Iqbal, 556 U.S. 662,
       678-79, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009).

2      The Debtors are Tops Holding II Corporation, Tops MBO Corporation, Tops Holding LLC, Tops Markets, LLC,
       Tops Markets II Corporation, Tops PT, LLC, Tops Gift Card Company, LLC, Erie Logistics LLC and TM1, LLC.




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3      Complaint ¶ 34.

4      Id. ¶ 1.

5      Id. ¶ 5

6      Id. ¶¶ 5, 9, 38.

7      Id. ¶ 37.

8      Id. ¶ 7.

9      Id. In 2006, Congress enacted the Pension Protection Act of 2006 (the “PPA”), Pub. L. 109-280, 120 Stat.
       780 (codified as amended in scattered sections of 26 and 29 U.S.C.) to address problems associated with
       underfunded pension plans. The law introduced mechanisms to stabilize distressed pension plans and ensure
       that they remain solvent. See Trustees of Local 138 Pension Trust Fund v. F.W. Honerkamp Co., Inc., 692
       F.3d 127, 130-31 (2d Cir. 2012):

          [T]he PPA includes measures designed to protect and restore multiemployer pension plans in danger
          of being unable to meet their pension distribution obligations in the near future. The statute created two
          categories for such plans: “endangered” and “critical.” Under the PPA, a pension plan is in critical status if,
          inter alia, it is less than sixty-five percent funded. ERISA § 305(b), 29 U.S.C. § 1085(b). If a pension plan falls
          into critical status, the plan sponsor must notify the participating employers and unions, ERISA § 305(b)(3)
          (D), 29 U.S.C. § 1085(b)(3)(D), and each participating employer must contribute an additional surcharge of
          five to ten percent of the contribution amount required under the applicable collective bargaining agreement.
          See ERISA § 305(e)(7), 29 U.S.C. § 1085(e)(7).

10     Trustees of Local 138 Pension Trust Fund, 692 F.3d at 131 (quoting ERISA § 305(e)(3)(A), 29 U.S.C. §
       1085(e)(3)(A)):

          Upon a multiemployer pension plan's entry into critical status, the plan's sponsor must adopt a rehabilitation
          plan to restore the Fund's financial health going forward. A rehabilitation plan is a plan which consists of –

            (i) actions, including options or a range of options to be proposed to the [employers and unions],
            formulated, based on reasonably anticipated experience and reasonable actuarial assumptions, to
            enable the plan to cease to be in critical status by the end of the [ten-year] rehabilitation period and
            may include reductions in plan expenditures (including plan mergers and consolidations), reductions in
            future benefit accruals or increases in contributions, if agreed to by the [employers and unions], or any
            combination of such actions, or

            (ii) if the plan sponsor determines that, based on reasonable actuarial assumptions and upon exhaustion
            of all reasonable measures, the plan can not reasonably be expected to emerge from critical status by
            the end of the rehabilitation period, reasonable measures to emerge from critical status at a later time
            or to forestall possible insolvency....

11     Complaint ¶ 7.

12     Id. ¶ 6 n.4.

13     Id. ¶¶ 41-42, 45.

14     Id. ¶ 11.




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15     Id. ¶¶ 13, 40, 48, 121, 129, 148. 163.

16     Id. ¶¶ 13, 39

17     Id. ¶¶ 10, 96-97.

18     Id. ¶¶ 95, 98.

19     Id. ¶¶ 65 (2009 dividend), 86 (2010 dividend), 125 (2012 dividend), 167 (2013 dividend).

20     Id. ¶¶ 3, 12.

21     Id. ¶ 63.

22     Id. ¶¶ 4, 15, 62, 82,121, 163.

23     Id. ¶¶ 52 (2009 dividend), 107 (2012 dividend), 151 (2013 dividend). There was no solvency opinion with
       respect to the issuance of the 2010 dividend nine months after the 2009 dividend. Id. ¶ 72.

24     Id. ¶¶ 53-55 (2009 dividend), 107-109, 111-116 (2012 dividend), 150-154, 156-158 (2013 dividend).

25     Id. ¶¶ 91,

26     Id. ¶¶ 4 (generally), 63-71 (2009 dividend), 122-140 (2012 dividend), 164-181 (2013 dividend).

27     Id. ¶¶ 76-77, 83-90

28     Id. ¶¶ 58-60, 61-62 (2009 dividend), 79-80, 81-82 (2010 dividend), 110, 118-119 120-121 (2012 dividend),
       160-161, 162-163 (2013 dividend).

29     Id. ¶¶ 2, 99-102.

30     Id. ¶¶ 3, 12.

31     Id ¶ 190.

32     ¶¶ 2, 16, 191. The Purchase and Sale Agreement is attached as Ex. 10 to the Declaration of Daniel S. Shamah
       in Support of Defendants’ Motion to Dismiss (“Shamah Decl.”). The Purchase and Sale Agreement's schedule
       setting forth the purchase price is not attached to Ex. 10. In § 4.05(b) of the Purchase and Sale Agreement, the
       purchaser represents and warrants that it has an equity financing commitment from the Principal Management
       Holders of $4,300,000 and fully negotiated loan documentation from Bank of American, N.A. for $12,300,000,
       which one infers may aggregate to the purchase price.

33     The Chapter 11 cases are jointly administered under Case No. 18-22279 (the “Main Case”).

34     See Debtors’ Second Amended Joint Chapter 11 Plan of Reorganization (with Technical Modifications) (the
       “Plan), attached as Ex. 2 to Order Confirming Debtors’ Second Amended Plan (Main Case, ECF No. 765)
       (the “Confirmation Order”); Disclosure Statement for the Debtor's Second Amended Plan of Reorganization
       (Main Case, ECF No. 659) (the “Disclosure Statement”); Complaint ¶¶ 17, 192.

35     Plan §§ 1.92 and 1.95.

36     Plan §§ 1.93 and 1.149.




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37     The applicable NY DCL was the version in effect when the dividends were paid. The NY DLC was later
       amended by enactment of the “Uniform Voidable Transactions Act” on December 6, 2019, effective April 4,
       2020, N.Y. Legis. 580 § 7 (2019), including provisions relating to fraudulent transfers such as NY DCL §§
       273-276, but the amendment “shall not apply to a transfer made or obligation incurred before such effective
       date.” Id. See also Ray v. Ray, 799 Fed. Appx 29, 31 n.1 (2d Cir. 2020).

38     Begain did not receive a 2009 dividend, having bought its Tops stock in 2010. Complaint ¶ 49 n.6.

39     Complaint ¶¶ 25-27.

40     ECF No. 29 (Notice of Defendants’ Motion to Dismiss); ECF No. 30 (Memorandum of Law in Support of
       Defendants’ Motion to Dismiss); ECF No. 31 (Declaration of Daniel S. Shamah In Support of Defendants’
       Motion to Dismiss (the “Shamah Decl.”)); ECF No. 32 (Notice of Defendants HSBC Equity Partners USA, L.P.
       and HSBC Private Equity Partners II USA LP's Motion to Dismiss); ECF No. 33 (Defendants HSBC Equity
       Partners USA, L.P. and HSBC Private Equity Partners II USA LP's Memorandum of Law In Support of Motion
       to Dismiss the Complaint); ECF No. 34 (Defendant Begain Company Limited's Notice of Motion to Dismiss);
       ECF No. 35 (Memorandum of Law in Support of Defendant Begain Company Limited's Motion to Dismiss for
       Failure to State a Claim Pursuant to Federal Rule of Civil Procedure 12(b)(6)); ECF No. 37 (Notice of Gregory
       Josefowicz's & Stacey Rauch's Motion to Dismiss); ECF No. 38 (Memorandum of Law In Support of Gregory
       Josefowicz's and Stacey Rauch's Motion to Dismiss); ECF No. 39 (Notice of Defendant Turbic Inc.’s Motion
       to Dismiss); ECF No. 40 (Defendant Turbic Inc.’s Memorandum of Law in Support of Motion to Dismiss); ECF
       No. 41 (Declaration of David B. Massey in Support of Gregory Josefowicz's and Stacey Rauch's Motion to
       Dismiss (the “Massey Decl.”)); ECF No. 53 (Memorandum of Law in Further Support of Gregory Josefowicz's
       and Stacey Rauch's Motion to Dismiss); ECF No. 54 (Defendants’ Reply Memorandum in Further Support
       of Defendants’ Motion to Dismiss); ECF No. 55 (Declaration of Daniel S. Shamah in Support of Defendants’
       Reply Memorandum in Further Support of Defendants’ Motion to Dismiss); ECF No. 56 (Defendants HSBC
       Equity Partners USA, L.P. and HSBC Private Equity Partners II USA LP's Reply Memorandum of Law in
       Further Support of Motion to Dismiss); ECF No. 57 (Reply in Support of Defendant Begain Company Limited's
       Motion to Dismiss for Failure to State a Claim Pursuant to Federal Rule of Civil Procedure 12(b)(6)); ECF No.
       58 (Defendant Turbic Inc.’s Reply Memorandum of Law in Further Support of Motion to Dismiss); ECF No.
       60 (September 2, 2020 letter to Court from Pamela A. Miller, Esq.); ECF No. 63 (September 4, 2020 letter to
       Court from Kyle A. Lonergan, Esq.); ECF No. 68 (November 10, 2020 letter to Court from Pamela A. Miller,
       Esq.); ECF No. 69 (November 12, 2020 to Court from Kyle A. Lonergan, Esq.); ECF No. 75 (April 20, 2021
       letter to Court from Pamela A. Miller, Esq.); ECF No. 76 (April 21, 2021 letter to Court from Kyle A. Lonergan,
       Esq.); ECF No. 83 (September 17, 2021 letter to Court from Pamela A. Miller, Esq.); ECF No. 85 (September
       22, 2021 letter to Court from Kyle A. Lonergan, Esq.).

41     ECF No. 47 (Plaintiff's Memorandum of Law in Opposition to Defendants’ Motions to Dismiss) (“Plaintiff's Br.”).

42     Cohen v. CDR Creances S.A.S. (In re Euro-American Lodging Corp.), 549 Fed. Appx. 52, 54 (2d Cir. 2014);
       1934 Bedford LLC v. Loeb & Loeb, LLP, 2022 WL 970751, at *6, 2022 U.S. Dist. LEXIS 60361, at *15-16
       (E.D.N.Y. Mar. 31, 2022); Congregants of Mosdos Chofetz Chaim Inc. v. Mosdos Chofetz Chaim Inc., 2021
       WL 5359663, at *2–3, 2021 U.S. Dist. LEXIS 224031, at *6 (S.D.N.Y. Nov. 17, 2021).

43     In re Lehman Bros. Hldgs., 2019 WL 2023723, at *12 & n.11, 2019 U.S. Dist. LEXIS 77887, at *38 &
       n.11 (S.D.N.Y. May 8, 2019); O'Toole v. McTaggart (In re Trinsum Grp., Inc.), 467 B.R. 734, 738 (Bankr.
       S.D.N.Y. 2012) (“[B]oth before and after Stern v. Marshall, it is clear that the bankruptcy court may handle
       all pretrial proceedings, including the entry of an interlocutory order dismissing fewer than all of the claims
       in an adversary complaint. ...”).




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44     Fed. R. Bankr. P. 7052, incorporating Fed. R. Civ. P. 52(a)(3).

45     O'Connor v. DL-DW Holdings, L.L.C. (In re Extended Stay, Inc.), 2020 WL 10762310, at *5, 2020 Bankr.
       LEXIS 2128, at *15 (Bankr. S.D.N.Y. Aug. 8, 2020). See also Koppel v. 4987 Corp., 167 F.3d 125, 133 (2d
       Cir. 1999) (“A plaintiff, of course, need only allege, not prove, sufficient facts to survive a motion to dismiss.”)
       (emphasis in the original).

46     Ashcroft v. Iqbal, 556 U.S. at 678, 129 S.Ct. 1937; Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S.
       308, 323, 127 S.Ct. 2499, 168 L.Ed.2d 179 (2007). An exception to such required acceptance exists where
       the complaint's factual allegations are clearly contradicted by documents incorporated into the pleadings by
       reference. Microbanc, LLC v. InsprireMD, Inc., 2018 WL 522335, at *4–5, 2018 U.S. Dist. LEXIS 9832, at *14
       (S.D.N.Y. Jan. 22, 2018); Labajo v. Best Buy Stores, L.P., 478 F. Supp. 2d 523, 528 (S.D.N.Y. 2007).

47     Pension Benefit Guar. Corp. v. Morgan Stanley Inv. Mgmt., 712 F.3d 705, 717 (2d Cir. 2012) (internal
       quotation marks omitted).

48     Iqbal, 556 U.S. at 679, 129 S.Ct. 1937.

49     Id. at 678, 129 S.Ct. 1937 (quoting Bell Atl. Corp v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d
       929 (2007)) (internal quotation marks omitted).

50     Id. at 675, 129 S.Ct. 1937.

51     Id. at 678-679, 129 S.Ct. 1937 (internal quotation marks and citations omitted).

52     Id. at 679, 129 S.Ct. 1937 (citations omitted); Pension Benefit Guar. Corp. v. Morgan Stanley Inv. Mgmt.,
       712 F.3d at 717-19.

53     Nakahata v. New York-Presbyterian Healthcare Sys., Inc., 723 F.3d 192, 197 (2d Cir. 2013) (citing Iqbal, 556
       U.S. at 678, 129 S.Ct. 1937; Twombly, 550 U.S. at 556, 127 S.Ct. 1955).

54     Twombly, 550 U.S. at 556, 127 S.Ct. 1955.

55     Pension Benefit Guar. Corp. v. Morgan Stanley Inv. Mgmt., 712 F.3d at 718-19.

56     Anderson News, L.L.C. v. Am. Media, Inc., 680 F.3d 162, 184 (2d Cir. 2012).

57     Id. at 185.

58     Id.

59     Twombly, 550 U.S. at 556, 127 S.Ct. 1955 (internal quotation marks and citation omitted).

60     In re Extended Stay, Inc., 2020 WL 10762310, at *5, 2020 Bankr. LEXIS 2128, at *15.

61     Id. (internal quotation marks and citation omitted).

62     Lora v. Centralized Mgmt. Serv., 2020 WL 3173025, at *1, 2020 U.S. Dist. LEXIS 104058, at *3 (S.D.N.Y.,
       June 12, 2020) (internal quotation marks and citations omitted).

63     Chambers v. Time Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002) (internal quotation marks omitted).

64     Id.




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65     Faulkner v. Beer, 463 F.3d 130, 134 (2d Cir. 2006).

66     DiFolco v. MSNBC Cable L.L.C., 622 F.3d 104, 111 (2d Cir. 2010); Keyes v. Ayco Co., L.P., 2018 WL
       9989653, at *4, 2018 U.S. Dist. LEXIS 230973, at *10-11 (N.D.N.Y., May 14, 2018).

67     Global Network Commc'ns, Inc. v. City of New York, 458 F.3d 150, 157 (2d Cir. 2006).

68     Roth v. Jennings, 489 F.3d 499, 509 (2d Cir. 2007).

69     Tellabs, Inc. v. Makor Issues & Rights, 551 U.S. at 322, 127 S.Ct. 2499. “In the context of bankruptcy litigation,
       the public records of which the court may take judicial notice include documents filed in a related bankruptcy
       proceeding, an adversary proceeding and the underlying bankruptcy case.” In re Extended Stay, Inc., 2020
       WL 10762310, at *5, 2020 Bankr. LEXIS 2128, at *16.

70     Roth v. Jennings, 489 F.3d at 509.

71     United States v. Strock, 982 F.3d 51, 63 (2d Cir. 2020) (emphasis in the original; internal quotation marks
       and citation omitted).

72     Roth v. Jennings, 489 F.3d at 510 (lower court's view that defendants’ statements in SEC filings “should not
       be contradicted or taken as perjurious ... -- although a possible argument to a jury -- was not an appropriate
       rationale for ruling on a motion under Rule 12(b)(6).”).

73     The Shamah Decl. attached the following exhibits:

          Exhibit 1 – Tops Holding Corp. Annual Report Form 10-K (Mar. 29, 2012)

          Exhibit 2 – Tops Holding Corp. Purchase Agreement (Oct. 1, 2009)

          Exhibit 3 – Indenture (Dec. 20, 2012) Ex. 4.1 to Tops Holding Corp. Form 8-K

          Exhibit 4 – Tops Holding II Corp. Annual Report Form 10-K (Mar. 27, 2014)

          Exhibit 5 – Indenture (May 15, 2013) Ex. 4.5 to Tops Holding II Corp. Form S-4

          Exhibit 6 – Tops Holding II corp. Offering Memorandum (May 8, 2013)

          Exhibit 7 – Tops Holding Corp. Annual Report Form 10-K (Mar. 31, 2011)

          Exhibit 8 – UFCW Local One Pension Fund Annual Return Form 5500 (Oct. 6, 2010)

          Exhibit 9 – Shareholders Agmt. (Nov. 29, 2013) Ex. 4.7 Form S-4

          Exhibit 10 – Purchase and Sale Agmt. (Nov. 14, 2013) Ex. 10.12 Form S-4

          Exhibit 11 – Tops Holding II Corp. Annual Report Form 10-K (Mar. 30, 2017)

          Exhibit 12 – Indenture (Jun. 10, 2015) Ex. 4.1 to Tops Form 8-K (Jun. 10, 2015)

          Exhibit 13 – Tops Markets LLC Second A&R Credit Agreement (Dec. 30, 2016)

          Exhibit 14 – In re Yahweh Center, Inc. U.S. Motion to Dismiss (Sept. 24, 2018)

          Exhibit 15 – Tops Holding II Corp. Preliminary Offering Memorandum (2012)




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          Exhibit 16 – Tops Holding Corp. Offering Memorandum (Oct. 1, 2009)

          Exhibit 17 – Tops Holding II Corp. Reg Statement Form S-4 (Sept. 6, 2013)

          Exhibit 18 – Press Release (Dec. 6, 2012) Ex. 99.2 to Tops Form 8-K (Dec. 6, 2012)

          Exhibit 19 – Tops Holding Corp. Funds Flow Memorandum (Dec. 20, 2012)

          Exhibit 20 – Tops Holding Corp. Funds Flow Memorandum (Oct. 9, 2009)

       The Morgan Stanley Defendants assert that the Court may consider the public filings because the Court may
       take judicial notice of them as relevant matters of public record. They assert that the Court may consider
       the “Offering Memorandum” and “Funds Flow Memorandum” because they are integral to the Complaint. MS
       MTD at 6 n.4. The Declaration of David B. Massey in Support of Gregory Josefowicz's and Stacey Rauch's
       Motion to Dismiss (“Massey Decl.”) attached the following exhibits:

          Exhibit 1 – Tops Holding II Corp. Annual Report (Form 10-K) (March 31, 2011)

          Exhibit 2 – Tops Holding Corp. A&R Certificate of Inc. (Jan. 27, 2010)

          Exhibit 3 – Tops Holding II Corp. Certificate of Inc. (May 7, 2013)

          Exhibit 4 – Tops Holding II Corp. Current Report (Form 8-K (October 20, 2010)

          Exhibit 5 – Tops Holding II Corp. Amdmt. No. 1 to Registration Statement

          Exhibit 6 – Tops Holding II Corp. Annual Report (Form 10-K) (March 27, 2014)

          Exhibit 7 – Tops Holding II Corp. Amdmt. No. 1 to Registration Statement

       The Josefowicz and Rauch Defendants assert that the Court may consider the public filings because the
       Court may take judicial notice of them as relevant matters of public record. JS MTD at 3 n.4. The Shamah
       Reply Declaration attached the following exhibits:

          Exhibit 1 – Email from Kanter to Kevin Karrington dated Oct. 5, 2009 re: UFCW Local One Pension Fund
          – 2009 Valuation

          Exhibit 2 – Petition for Panel Rehearing and Rehearing En Banc By Plaintiffs-Appellants-Cross-Appellees
          in In re Tribune Company Fraudulent Conveyance Litigation, 13-3992-cv(L) (Jan. 2, 2020, 2d Cir.)

          Exhibit 3 – Order denying Petition.

74     Plaintiff's Br. at 20-21. Appendix A to the Plaintiff's Br. itemizes Tops’ objections to Defendants’ exhibits.

75     Varbero v. Belesis, 2020 WL 5849516, at *3, 2020 U.S. Dist. LEXIS 182323, at *7 (S.D.N.Y., Oct. 1, 2020)
       (internal quotation marks and citations omitted).

76     See Silverman v. Actrade Capital, Inc. (In re Actrade Fin. Techs., Ltd.), 337 B.R. 791, 801 (Bkrtcy.S.D.N.Y.
       2005), and the cases cited therein.

77     Arnold v. First Citizens Nat'l Bank (In re Cornerstone Homes, Inc.), 567 B.R. 37, 50-51 (Bankr. W.D.N.Y.
       2017); Tronox Inc. v. Anadarko Pet. Corp. (In re Tronox Inc.), 429 B.R. 73, 95-96 (Bankr. S.D.N.Y. 2010).
       Cases holding to the contrary either lump together constructive fraudulent transfer claims with intentional
       fraudulent transfer claims without recognizing that the former lack a scienter requirement, Cargo Partner AG
       v. Albatrans Inc., 207 F. Supp. 2d 86, 115-16 (S.D.N.Y. 2002), or apply to purportedly constructive fraud


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       claims that have an element of scienter. Marketxt Hldgs. Corp. v. Engel & Reiman, P.C., 693 F. Supp. 2d
       387, 397 n.75 (S.D.N.Y. 2010). Here any such issue likely is moot because the Complaint pleads that all
       the constructive fraudulent transfers also were made with intent to defraud and therefore has pled them with
       particularity.

78     Benenson v. Fleischman, 1995 WL 303618, at *4, 1995 U.S. Dist. LEXIS 6636, at *11 (S.D.N.Y. May 17,
       1995) (breach of fiduciary duty).

79     Camlin Ltd. v. CMB Additives LLC, 2012 WL 5928443, at *2–3, 2012 U.S. Dist. LEXIS 167370, at *6 (E.D.N.Y.
       Nov. 19, 2012) (unlawful dividends).

80     Gordon v. I.M.V. 1290 (In re Mina), 2022 WL 2657481, at *3–4, 2022 Bankr. LEXIS 1887, at *10 (Bankr.
       N.D.N.Y., July 8, 2022).

81     Kirschner v. FitzSimons (In re Tribune Co. Fraudulent Conveyance Litig.), 2018 WL 6329139, at *6, 2018
       U.S. Dist. LEXIS 204632, at *19 (S.D.N.Y., Nov. 30, 2018) (citing Devaney v. Chester, 813 F.2d 566, 569
       (2d Cir. 1987)) (internal quotation marks omitted).

82     Nisselson v. Softbank AM Corp. (In re MarketXT Hldgs. Corp.), 361 B.R. 369, 395 (Bankr. S.D.N.Y. 2007)
       (internal quotation marks and citation omitted).

83     Kirschner v. Large S'holders (In re Tribune Co. Fraudulent Conveyance Litig.), 10 F.4th 147, 160 (2d Cir.
       2020), cert. denied, ––– U.S. ––––, 142 S. Ct. 1128, 212 L.Ed.2d 18 (2022).

84     See also Iqbal, 556 U.S. at 686, 129 S.Ct. 1937 (“intent” to be pled “generally” under Rule 9(b), subject to
       requirements of Fed. R. Civ. P. 8).

85     Shields v. Citytrust Bancorp Inc., 25 F.3d 1124, 1128 (2d Cir. 1994) (superseded on other grounds by statute).
       Because of the seriousness of a fraud allegation, the Circuit has required a “strong inference.” First Capital
       Asset Mgmt. v. Satinwood, 385 F.3d 159, 179 (2d Cir. 2004) (emphasis in original).

86     Shields, 25 F.3d at 1128.

87     Gordon v. I.M.V. 1290, 2022 WL 2657481, at *4, 2022 Bankr. LEXIS 1887, at *11.

88     Sharp Int'l Corp. v. State St. Bank & Trust Co. (In re Sharp Int'l Corp.), 403 F.3d 43, 56 (2d Cir. 2005) (internal
       quotation marks and citation omitted); Gordon v. I.M.V. 1290, 2022 WL 2657481, at *4, 2022 Bankr. LEXIS
       1887, at *11-12.

89     In re Tribune Co. Fraudulent Conv. Litig., 10 F.4th at 162 (internal quotation marks and citations omitted).

90     11 U.S.C. § 544(b)(1).

91     Under 11 U.S.C. § 108(a), if a limitations period governing a claim is unexpired when its bankruptcy is filed
       (i.e., the claim would have been timely as of the bankruptcy petition date), the trustee or debtor in possession
       may commence the subject action before the later of (a) the end of the non-bankruptcy limitations period
       and (b) two years after the bankruptcy case is filed. The Complaint initiating this adversary proceeding was
       filed on February 12, 2020 [ECF No. 1], within two years of the bankruptcy petition date, February 21, 2018
       [Main Case ECF No. 1].

92     Silverman v. Sound Around, Inc. (In re Allou Distribs.), 392 B.R. 24, 31 (Bankr. E.D.N.Y. 2008).




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93     Moore v. Bay, 284 U.S. 4, 5, 52 S.Ct. 3, 76 L.Ed. 133 (1931); 11 U.S.C. § 550(a) (once transfer is avoided,
       “the trustee may recover, for the benefit of the estate” the property transferred or its value); 5 Collier on
       Bankruptcy ¶ 544.06[4] (16th ed. 2022).

94     In re RCM Global Long Term Capital Appreciation Fund, 200 B.R. 514, 523 (Bankr. S.D.N.Y. 1996) (internal
       quotations marks and citations omitted); See also In re Allou Distribs., 392 B.R. at 34 (“[A] triggering creditor
       must be the same creditor on both the Transfer Date and the Petition Date, but need not hold the same claim
       at these two essential points in time.”) (emphasis in the original).

95     NY DCL § 274 (transfer leaving “an unreasonably small capital, is fraudulent as to creditors and other persons
       who become creditors during the continuance of such business or transaction”), NY DCL § 275 (transfer
       incurred when the person making the transfer “intends or believes that he will incur debts beyond the ability to
       pay as they mature, is fraudulent as to both present and future creditors”), NY DCL § 276 (transfer made with
       actual intent “to hinder, delay, or defraud either present or future creditors, is fraudulent as to both present
       and future creditors”).

96     Geron v. Craig (In re Direct Access Partners, LLC), 602 B.R. 495, 516 (Bkrtcy.S.D.N.Y. 2019) (“rolling
       accounts”). Debts to United States governmental entities are treated as debts owing to the United States as
       a whole. In re Whimsy, Inc., 221 B.R. 69, 72-74 (S.D.N.Y. 1998).

97     NY CPLR §§ 213(1), (8); Jaliman v. D.H. Blair & Co. Inc., 105 A.D.3d 646, 647, 964 N.Y.S.2d 112 (1st Dep't.
       2013) (“New York law provides that a claim for constructive fraud is governed by the six-year limitation set
       out in CPLR 213(1), and that such a claim arises at the time the fraud or conveyance occurs.”) (citation
       omitted); Varbero v. Belesis, 2020 WL 5849516, at *6, 2020 U.S. Dist. LEXIS 182323, at *16 (“Pursuant to
       N.Y. C.P.L.R. 213(8), the statute of limitations for actual fraud is ‘the greater of six years from the date the
       cause of action accrued or two years from the time plaintiff or the persons under whom the plaintiff claims
       discovered the fraud, or could with reasonable diligence have discovered it.”) (quoting Gutkin v. Siegal, 85
       A.D.3d 687, 926 N.Y.S.2d 485, 486 (1st Dep't. 2011)) (internal quotation marks and citations omitted).

98     Complaint ¶ 12.

99     Id. ¶¶ 209, 215, 236, 243.

100    45 John Lofts, LLC v. Meridian Capital Grp., LLC (In re 45 John Lofts, LLC), 599 B.R. 730, 742-43 (Bankr.
       S.D.N.Y. 2019); Picard v. Avellino (In re Bernard L. Madoff Inv. Sec. LLC), 557 B.R. 89, 120 (Bankr. S.D.N.Y.
       2016); see also Mendelsohn v. Kovalchuk (In re APCO Merchant Servs., Inc.), 585 B.R. 306, 315 n.12 (Bankr.
       E.D.N.Y. 2018) (plaintiff may plead existence of qualifying creditor generally and prove that existence at trial).
       See generally Varbero v. Belesis, 2020 WL 5849516, at *3, 2020 U.S. Dist. LEXIS 182323, at *7 (statute of
       limitations may be raised at motion to dismiss only if the defense appears on the face of the complaint).

101    Complaint ¶¶ 197, 203, 222, 229. See IRS Proof of Claim No. 8 (asserting unsecured priority claim in the
       amount of $417,890.49, and unsecured general claim in the amount of $87,442.34).

102    United States v. Spence, 2000 WL 1715216, at *3–4, 2000 U.S. App. LEXIS 29122, at *10-11 (10th Cir., Nov.
       15, 2000), discussing United States v. Summerlin, 310 U.S. 414, 416, 60 S.Ct. 1019, 84 L.Ed. 1283 (1940);
       Bledsoe v. Flamingo Props., LLC (In re Musselwhite), 2021 WL 4342902, at *9, 2021 Bankr. LEXIS 2609,
       at *26 (Bankr. E.D.N.C., Sept. 23, 2021).

103    498 B.R. 297 (Bankr. D. N.M. 2013).

104    Id., at 304-06.




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105    See, e.g., Maxus Liquidating Trust v. YPF S.A. (In re Maxus Energy Corp.), 641 B.R. 467, 545–546 (Bankr.
       D. Del. 2022); Williamson v. Smith (In re Smith), 2022 WL 1814415, at *4–7, 2022 Bankr. LEXIS 1533, at
       *13-18 (Bankr. D. Kan., June 2, 2022); Hillen v. City of Many Trees, LLC (In re CVAH, Inc.), 570 B.R. 816,
       835 (Bankr. D. Idaho 2017); Mukamal v. Citibank N.A. (In re Kipnis), 555 B.R. 877, 882 (Bankr. S.D. Fla.
       2016); Ebner v. Kaiser (In re Kaiser), 525 B.R. 697, 713-14 (Bankr. N.D. Ill. 2014).

106    In re Maxus Energy Corp., 641 B.R. at 545; see also, in addition to the several contrary decisions cited by
       Vaughan, 498 B.R. at 303, Pereira v. Omansky (In re Omansky), 2022 WL 4281472, at *9–10, 2022 Bankr.
       LEXIS 2535, at *28-29 (Bankr., S.D.N.Y. Sept. 15, 2022); In re Smith, 2022 WL 1814415, at *6, 2022 Bankr.
       LEXIS 1533, at *16-17; Gordon v. Webster (In re Webster), 629 B.R. 654, 674 (Bankr. N.D. Ga. 2021);
       Mitchell v. Zagaroli (In re Zagaroli), 2020 WL 6495156, at *1–3, 2020 Bankr. LEXIS 3111, at *4-9 (Bankr.
       W.D.N.C. Nov. 3, 2020); Murphy v. ACAS, LLC (In re New Eng. Confectionary Co.), 2019 Bankr. LEXIS
       2281, at *5-6 (Bankr. D. Mass. July 19, 2019); Vieira v. Gaither (In re Gaither), 595 B.R. 201, 208-210 (Bankr.
       D.S.C. 2018); Shearer v. Tepsic (In re Emergency Monitoring Techs., Inc.), 347 B.R. 17, 19 (Bankr. W.D.
       Pa. 2006); Osherow v. Porras (In re Porras), 312 B.R. 81, 97 (Bankr. W.D. Tex. 2004); R. Stephen McNeill,
       “Avoiding the Unavoidable: A Practitioner's Guide to Federal Governmental Creditor Fraudulent Conveyance
       Actions,” 92 Am Bankr. L.J. 335, 346 (“McNeil”) (“[A]ny limitations on § 544(b) likely will need to be crafted
       by Congress, not the courts.”).

107    26 U.S.C. § 6501(a).

108    26 U.S.C. § 6501(a), (b)(3).

109    26 U.S.C. § 6501(c), (e)(1)(A). See also 26 U.S.C. § 6501(f), (h), (j), (k), and (m). See also Finkel v. Polichuk
       (In re Polichuk), 506 B.R. 405, 428-30 (Bankr. E.D. Pa. 2014) (denying defendants summary judgment based
       on insufficient evidence that assessment period had run).

110    McNeill, 92 Am. Bankr. L.J. at 353 (citing, in n.126, United States v. Green, 201 F.3d 251, 257 (3d Cir. 2000)
       (“The United States is considered a creditor from the date when the obligation to pay income taxes accrues”);
       United States v. Evans, 513 F. Supp. 2d 825, 834 (W.D. Tex. 2007); In re Polichuk, 506 B.R. at 426 (“Federal
       income taxes, assessed or not, that are due and owing fall within the concept of a ‘claim’ in bankruptcy.”)).

111    Id. at 353.

112    See, e.g., Leighton v. United States, 289 U.S. 506, 506-09, 53 S.Ct. 719, 77 L.Ed. 1350 (1933) (IRS's claim
       to recover from shareholder transferees of taxpayer not time-barred; transfer occurred in 1921 while IRS was
       a creditor; assessment occurred in 1926); United States v. Henco Hldg. Corp., 985 F.3d 1290, 1293 (11th
       Cir. 2021) (IRS's claim to avoid fraudulent transfers not time-barred although assessment occurred over a
       decade after the transfers); United States v. Geniviva, 16 F.3d 522, 525 (3d Cir. 1994) (IRS's claim to recover
       1981 transfer not time-barred where IRS was a creditor when transfer was made and 1985 assessment was
       timely); United States v. Fernon, 640 F.2d 609, 612 (5th Cir. 1981) (IRS's claim to avoid 1965 fraudulent
       transfer brought within ten years after timely 1968 assessment not-time barred). Thus the transfer could take
       place well before ten years before the commencement of the suit and the suit could still be timely.

113    2018 WL 6721987, 2018 Bankr. LEXIS 3019 (Bankr. M.D. Fla,. Sept. 28, 2018).

114    Id. at *6, 2018 Bankr. LEXIS 3019 at *18.

115    2018 WL 1613573, 2018 Bankr. LEXIS 859 (Bankr. D. Me., Mar. 12, 2018), aff'd on other grounds, 623 B.R.
       825 (B.A.P. 1st Cir. 2021), aff'd, 858 Fed. Appx. 386 (1st Cir. 2021).

116    Id. at *–––– – ––––, 2018 Bankr. LEXIS 859 at *29-30.



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117    See nn.110-112, above; See also In re Webster, 629 B.R. at 677 (analysis of whether IRS's right is time-
       barred involves consideration of both date of transferor's liability to the IRS and whether assessment was
       timely, and time bar for either was not so clear on the face of the complaint to warrant dismissal under Rule
       12(b)(6)).

118    See In re Webster, 629 B.R. at 677 (assessment of taxpayer starts limitations period for collection, including
       to seek to avoid a fraudulent transfer; because court cannot determine the time to assess would be on the
       allegations in the Complaint, Rule 12(b)(6) motion based on untimeliness denied); see also n.112, above.

119    Leighton v. United States, 289 U.S. at 509, 53 S.Ct. 719.

120    See United States v. Henco Hldg. Corp., 985 F.3d at 1298-1305, and the cases cited therein (where there
       was a timely assessment of tax liabilities against taxpayer-transferor, IRS did not have to separately assess
       transferee before pursuing fraudulent transfer action); See also In re CVAH, Inc., 570 B.R. at 836-837
       (because IRS could commence court proceeding against transferee without making an assessment against
       it, trustee could exercise its right to do the same under 11 U.S.C. § 544(b)).

121    Varbero v. Belesis, 2020 WL 5849516, at *3, 2020 U.S. Dist. LEXIS 182323, at *7; See also Singleton v.
       Clash, 951 F. Supp. 2d 578, 582 (S.D.N.Y. 2013), aff'd 558 Fed. Appx. 44 (2d Cir. 2014) (“Where the dates
       in a complaint show that an action is barred by a statute of limitations, a defendant may raise the affirmative
       defense in a pre-answer motion to dismiss.”) (quoting Ghartey v. St. John's Queens Hosp., 869 F.2d 160,
       162 (2d Cir. 1989)).

122    Id. See also Arnold v. First Citizens Nat'l Bank (In re Cornerstone Homes, Inc.), 567 B.R. at 54; In re Tronox
       Inc., 429 B.R. at 99.

123    In re Sharp Int'l Corp., 403 F.3d at 53.

124    Graham v. Serafis (In re Vill. Red Rest. Corp.), 2021 WL 3889793, at *10–11, 2021 Bankr. LEXIS 2377, at
       *30-31 (Bankr. S.D.N.Y. Aug. 31, 2021); Pereira v. Equitable Life Ins. Soc'y of the United States (In re Trace
       Int'l Hldgs., Inc.), 289 B.R. 548, 560 (S.D.N.Y. 2003).

125    Insolvency under the NY DCL “is measured from the point at which the transfer took place. ...” Official Comm.
       of Unsecured Creditors of Vivaro Corp. v. Leucadia Nat'l Corp. (In re Vivaro Corp.), 524 B.R. 536, 551 (Bankr.
       S.D.N.Y. 2015); Lippe v. Bairnco Corp., 249 F. Supp. 2d 357, 380 (S.D.N.Y. 2003) (“[S]olvency must be
       gauged at the time of the transfer and not with the benefit of hindsight.”), aff'd, 99 Fed. Appx. 274 (2d Cir.
       2004).

126    In re Tronox, 429 B.R. at 98 n. 15 (internal quotation marks and citation omitted); See also Sama v. Mullaney
       (In re Wonderwork, Inc.), 611 B.R. 169, 211 (Bankr. S.D.N.Y. 2020) ([E]ven contingent claims must be
       considered in determining insolvency discounted by the likelihood that the contingency will not occur. The
       amount of any discount, and hence, the question of solvency, presents an issue for trial.”) (internal citations
       omitted). Contingent assets should be similarly valued. Tae H. Kim v. Ji Sung Yoo, 311 F. Supp. 3d 598,
       612 (S.D.N.Y. 2018).

127    Advanced Telecomm. Network, Inc. v. Allen (In re Advanced Telecomm. Network, Inc.), 490 F.3d 1325, 1335
       (11th Cir. 2007).

128    In re Tronox Inc., 429 B.R. at 98 (citing Lawson v. Ford Motor Co. (In re Roblin Indus.), 78 F.3d 30, 35 (2d
       Cir. 1996)); In re Quadrant 4 Sys. Corp. v. Kurapati, 2020 WL 375591, at *5–6, 2020 Bankr. LEXIS 171, at
       *15 (Bankr. N.D. Ill., Jan. 22, 2020).




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129    United States SBA v. Feinsod, 347 F. Supp. 3d 147, 160 n.9 (E.D.N.Y. 2018); Moriarty v. McCormick (In re
       Postrock Energy Corp.), 596 B.R. 738, 748-49 (Bankr. W.D. Okla. 2019); Halperin v. Moreno (In re Green
       Field Energy Servs.), 2015 WL 5146161, at *7–8, 2015 Bankr. LEXIS 2914, at *26-27 (Bankr. D. Del. Aug.
       31, 2015).

130    Jalbert v. Souza (In re F-Squared Inv. Mgmt., LLC), 2019 WL 4261168, at *11, 2019 Bankr. LEXIS 2817, at
       *43-44 (Bankr. D. Del., Sept. 6, 2019) (“That this element of a constructive fraudulent conveyance is a factual
       question does not excuse a plaintiff from pleading facts; to so conclude would effectively permit a plaintiff
       to evade the pleading standard.”).

131    Innovative Custom Brands, Inc. v. Minor, 2016 WL 308805, at *3, 2016 U.S. Dist. LEXIS 8354, at *7-8
       (S.D.N.Y., Jan. 25, 2016) (internal quotation marks omitted) (dismissing claim under NY DCL § 273 because
       complaint did not provide such information and stating, “the Company had more than sufficient funds with
       which to pay its creditors.”). See also O'Toole v. Karnani (In re Trinsum Grp., Inc.), 460 B.R. 379, 392-93
       (Bankr. S.D.N.Y. 2011) (finding complaint did not plead insolvency under NY DCL § 271 where it alleged
       only net income and net cash flow figures for the time in question without alleging the value of assets and
       liabilities).

132    In re Tronox Inc., 429 B.R. at 91 (“It is also quite irrelevant whether Defendants’ [solvency] scenario has
       ‘greater plausibility,’ as Defendant assert. For pleading purposes, a defendant's rebuttal of a plaintiff's
       contentions with its own does not entitle the defendant to dismissal of an action.”).

133    In re F-Squared Mgmt., LLC, 2019 WL 4261168, at *11, 2019 Bankr. LEXIS 2817, at *44, and the cases
       cited therein at nn.89-90.

134    Geo-Grp. Commns., Inc. v. Chopra, 2016 WL 390089, at *7, 2016 U.S. Dist. LEXIS 11808, at *20-21 (S.D.N.Y.
       Feb. 1, 2016) (applying presumption on motion to dismiss); Jalbert v. Flom (In re Bicom NY, LLC), 633 B.R.
       25, 46-47 (Bankr. S.D.N.Y. 2021); Cheek v. Brooks, 188 A.D.3d 785, 787, 135 N.Y.S.3d 478 (2d Dep't. 2020);
       Matter of Wimbledon Fin. Master Fund, Ltd. v. Bergstein, 166 A.D.3d 496, 497, 90 N.Y.S.3d 12 (1st Dep't.
       2018).

135    786 F.3d 152, 165 (2d Cir. 2015).

136    Id. at 155.

137    Id. at 161-62 (noting that if assignment of the property was void as a fraudulent transfer under New York law,
       plaintiff would have no cognizable interest in the property subject to the forfeiture order and thus no standing).

138    Id. at 165 (“Because, quite understandably, the Petition contains no allegations defending the solvency of
       [transferor] in anticipation of the government's challenge, petitioners have received no opportunity to rebut
       any adverse presumptions that may arise even assuming, arguendo, that [transferor's] assignment lacked
       fair consideration.”).

139    See n.134, above. See also Saadeh v. Kagan, 2021 WL 5827942, at *7, 2021 U.S. Dist. LEXIS 203578,
       at *20 (S.D.N.Y., Oct. 20, 2021), adopted by 2021 WL 5827653, 2021 U.S. Dist. LEXIS 235336 (S.D.N.Y.,
       Dec. 8, 2021), superseded by 2022 WL 624554, 2022 U.S. Dist. LEXIS 37775 (S.D.N.Y., Mar. 3, 2022)
       (applying presumption on motion to dismiss); Varbero v. Belesis, 2020 WL 5849516, at *5–6, 2020 U.S. Dist.
       LEXIS 182323, at *13-14 (same); Stillwater Liquidating LLC v. CL Recovery Trading Fund III, L.P., 2019 WL
       5266843, at *3–4, 2019 N.Y. Misc. LEXIS 5599, at *10-12 (Sup. Ct. N.Y. Cty. Oct. 17, 2019) (same); In re
       Omansky, 2022 WL 4281472, at *10, *12, 2022 Bankr. LEXIS 2535, at *32, *36.




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140    Tae H. Kim v. Ji Sung Yoo, 311 F. Supp. 3d 598, 611, 613 (S.D.N.Y. 2018); Integrity Elecs., Inc. v. Garden
       State Distribs., 2016 WL 3637004, at *9, 2016 U.S. Dist. LEXIS 86143, at *24 (E.D.N.Y., June 30, 2016);
       McCarthy v. Estate of McCarthy, 145 F. Supp. 3d 278, 285-86 (S.D.N.Y. 2015); Cf. C.L. King Assocs. v.
       Northwestern Mut. Life Ins. Co., 2019 WL 2869620, at *5, 2019 U.S. Dist. LEXIS 111234, at *14 (N.D.N.Y.,
       July 3, 2019) (noting that Watts “expressed skepticism towards this presumption and declined to give it
       dispositive weight” but finding complaint's allegations of insolvency plausible in any event).

141    Matter of Gronich & Co., Inc. v. Simon Prop. Grp., Inc., 180 A.D.3d 541, 542-43, 119 N.Y.S.3d 456 (1st Dep't.
       2020), leave to appeal denied, 36 N.Y.3d 902, 135 N.Y.S.3d 350, 159 N.E.3d 1117 (2020).

142    In re Vivaro Corp., 524 B.R. at 553 (noting presumption but granting Rule 12(b)(6) motion as to certain
       allegedly avoidable transfers because only “negative equity” figures were alleged without reference to assets
       and liabilities).

143    C.L. King & Assocs. v. Northwestern Mut. Life Ins. Co., 2019 WL 2869620, at *7, 2019 U.S. Dist. LEXIS
       111234, at *20 (internal quotation marks and citation omitted).

144    Id.

145    Moody v. Security Pac. Business Credit, 971 F.2d 1056, 1071 (3d Cir. 1992).

146    Adelphia Recovery Trust v. FPL Grp., Inc. (In re Adelphia Communs. Corp.), 652 Fed. Appx. 19, 21 (2d Cir.
       2016).

147    In re Bicom NY, LLC, 633 B.R. at 49-50.

148    Id. at 50 (internal citations omitted).

149    In re Adelphia Communs. Corp., 652 Fed. Appx. at 21 (internal quotation marks and citations omitted).

150    In re Vivaro Corp., 524 B.R. at 551.

151    Silverman v. Paul's Landmark, Inc. (In re Nirvana Rest.), 337 B.R. 495, 509 & n.11 (Bankr. S.D.N.Y. 2006)
       (contrasting section 275 with objective intent standard of Uniform Fraudulent Transfer Act § 4(a)(2)(ii), which
       requires proof that the transferor “intended to incur, or believed or reasonably should have believed” it would
       incur, debts beyond the ability to pay as they became due.) (emphasis in original). See also In re Vill. Red
       Rest. Corp., 2021 WL 3889793, at *14, 2021 Bankr. LEXIS 2377, at *41.

152    Grace Plaza of Great Neck, Inc. v. Heitzler, 2 A.D.3d 780, 781, 770 N.Y.S.2d 421 (2d Dept. 2003). See also
       Tae H. Kim v. Ji Sung Yoo, 311 F. Supp. 3d 598, 620 (S.D.N.Y. 2018) (section 275 satisfied when shown
       that transferor was aware he would not be able to pay his future debts as a result of the conveyances);
       5 Collier on Bankruptcy ¶ 548.05[3][c] (noting that subjective intent required by analogous provision in the
       Bankruptcy Code, 11 U.S.C. § 548(a)(1)(B), “can be inferred where the facts and circumstances surrounding
       the transactions show that the debtor could not have reasonably believed that it would be able to pay its
       debts as they matured”).

153    In re Bicom NY, 633 B.R. at 51.

154    Lee T. Polk, J.D., 3 ERISA Practice and Litigation § 12:7 (2021):

          A few years after its enactment, ERISA was amended by the Multiemployer Pension Plan Amendments
          Act of 1980[, Pub. L. No. 96-364, 94 Stat. 1208] (MPPAA) which, among other things, created a statutory
          liability to be imposed on employers that withdraw from an underfunded multiemployer pension plan. This



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          “exit fee” arises from either a partial or complete withdrawal from the plan. Under these withdrawal liability
          provisions, the employer is assessed an amount related to the employer's share of the plan's unfunded
          vested liability. In general, the plan's unfunded vested liability is the difference between the value of the
          plan's assets and the present value of its vested benefit obligations. If the plan has no unfunded vested
          liabilities, there will normally be no withdrawal liability as a result of a partial or complete withdrawal. The
          notion underlying withdrawal liability is that employees of a contributing employer will have vested rights to
          annuity payments far into the future, and if the employer withdraws early, those future annuity payments
          will not be fully funded by that employer, from an actuarial standpoint. Withdrawal liability is intended to
          address that deficit.

155    Complaint ¶¶ 25, 40.

156    Id. ¶¶ 63, 91.

157    Id. ¶ 62.

158    Id. ¶ 48. Complaint ¶ 62 states that “Tops’ after-tax Pension Plan withdrawal liabilities totaled $104 million,
       including $59 million from the UFCW Pension Plan and an estimated $45 million from the Teamsters Pension
       Plan ... with no plan to prevent the UFCW Pension Plan, which was steadily running out of money, from
       becoming insolvent.”).

159    Id. ¶ 50.

160    Id. ¶ 52.

161    Id.

162    Id. ¶ 53.

163    Id. ¶¶ 53-54.

164    Id. ¶ 116.

165    Id.

166    Id. ¶ 95 (“For a regional grocer store chain like Tops, capital expenditures were and are its lifeblood and the
       primary driver of the company's sales. Tops’ CFO insisted that capital expenditures ‘be an integral part of
       [Tops’] strategy’ and that ‘reduced spending would only succeed in decreasing both sales and profits now
       and with a multiple effect in the future.’ ”). See also Hanover 3201 Realty, LLC v. Vill. Supermarkets, Inc.,
       806 F.3d 162, 175 (3d Cir. 2015) (describing retail grocery business as “notorious for low profit margins”);
       Karns Prime & Fancy Food, Ltd. v. Comm'r, 494 F.3d 404, 418 (3d Cir. 2007) (“The retail grocery business
       is a low-margin, cash-intensive endeavor.”).

167    Complaint ¶ 72.

168    Id. ¶ 74.

169    Id.

170    Id. ¶ 76.

171    Id. ¶¶ 54, 77. See Kaye v. Lone Star Fund V (U.S.), L.P., 453 B.R. 645, 675 (N.D. Tex. 2011) (court concludes
       solvency allegation plausible based on prior balance sheet and allegations of worsening performance
       thereafter. “Only by assuming that Bruno's sporadically attained solvency just before each challenged


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       transaction could one infer that Bruno's was not insolvent for the entire time period. Such an inference is not
       so compelling as to overcome the Trustee's theory.”).

172    Complaint ¶ 80.

173    Id. ¶ 76.

174    Id.

175    Id.

176    Id. ¶ 99. See also id. ¶ 103 (quoting a June 2012 Morgan Stanley internal presentation as stating, “In the
       event a sale is not achievable at an attractive valuation, we want to be ready to launch and pursue a dividend
       recapitalization.”).

177    Id. ¶ 100.

178    Id. ¶ 102.

179    Id. ¶ 101.

180    Id. ¶ 93.

181    Id. ¶ 104.

182    Id. ¶ 121.

183    Id.

184    Id. ¶ 113. See also id. ¶¶ 95-98.

185    Id. ¶ 104.

186    Id. ¶ 124.

187    Id. ¶ 107.

188    Id. ¶ 110.

189    Id.

190    Id. ¶ 107.

191    Id.

192    Id. ¶111.

193    Id. ¶ 113 (noting that these projections assumed, notwithstanding material reductions of capital expense
       below the amount required to maintain the stores, average same-store sales growth of 1.6% for 2012-2017
       when the historical average for 2007-2011 was .8% and, for the newly acquired stores, zero growth for that
       period).

194    Id. ¶ 112.

195    See generally Christopher S. Sontchi, Valuation Methodologies: A Judge's View, 20 Am. Bankr. Inst. L. Rev.
       1 (hereafter “Sontchi”), 7-10 (2012) (explaining methodology for valuing a business based on its discounted


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       cash flow by applying the firm's earnings before interest, taxes, depreciation and amortization (“EBITDA”) to
       a discount reflecting the weighted cost of capital or equity).

196    Complaint ¶ 115.

197    Id.

198    Id. ¶ 108. See Sontchi, 20 Am. Bankr. Inst. L. Rev. at 10-11 (explaining “comparable companies” methodology
       for valuing a business, based on applying a multiple to the business’ EBITDA derived from implied multiple
       of similar companies based on their EBITDA and their trading range or transaction prices, and noting, “Use
       of companies that are clearly not comparable will lead to unsupportable conclusions.”).

199    Complaint ¶ 109.

200    Id. ¶ 110.

201    Id. ¶ 119.

202    Id. ¶ 148.

203    Id. ¶ 166.

204    Id.

205    Id. ¶ 148.

206    Id. ¶ 152.

207    Id. ¶154.

208    Id. ¶ 152.

209    Id. ¶¶ 153-154.

210    Id. ¶ 185. The Complaint invites one to infer that Duff & Phelps was not retained to conduct the 2013 analysis
       because, unlike HL, Duff & Phelps did in fact value the Pension Plan contingent liability in its 2012 analysis.

211    Id. ¶ 170.

212    Id. ¶ 156.

213    Id. ¶¶ 154, 174.

214    Id. ¶ 156.

215    Id. ¶ 157.

216    Id. ¶ 158.

217    Id. ¶ 161.

218    See, e.g., In re Bruno's Supermarkets, LLC, 2009 WL 1148369, at *1–2, 2009 Bankr. LEXIS 1366, at *2-4
       (Bankr. N.D. Ala., Apr. 27, 2009) (first bankruptcy 1998-2000; second bankruptcy filed February 5, 2009); In
       re Grand Union Co., 266 B.R. 621, 622-23 (Bankr. D.N.J. 2001) (October 3, 2000 chapter 11 petition date); In
       re Winn-Dixie Stores, Inc., 418 B.R. 475, 476 (Bankr. M.D. Fla. 2009) (February 21, 2005 chapter 11 petition
       date); Grocery Haulers, Inc. v. A&P (In re A&P), 467 B.R. 44, 48 (S.D.N.Y. 2012), aff'd, 508 Fed. Appx. 63


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       (2d Cir. 2013) (first A&P chapter 11 case filed December 12, 2010); Halkias v. A&P (In re A&P), 618 B.R.
       57, 61 (S.D.N.Y. 2020) (second A&P chapter 11 case filed July 19, 2015), aff'd, 850 Fed. Appx. 811 (2d Cir.
       2021); In re ADI Liquidation, Inc., 2015 WL 4638605, at *1, 2015 Bankr. LEXIS 1611, at *3 (Bankr. D. Del.,
       May 5, 2015) (Sept. 9, 2014 chapter 11 petition date for food distributor).

219    See, e.g., Reynolds v. Behrman Capital IV L.P., 2022 WL 163693, at *2–3, *8, 2022 U.S. Dist. LEXIS 8550,
       at *8-9, *25-26 (N.D. Ala., Jan. 18, 2022) (on motion under Fed. R. Civ. P. 15 with respect to fraudulent
       transfer complaint, court discounts solvency opinion based on dispute over information provided to issuer
       of opinion and opinion's omission of significant contingent liabilities and reasonably foreseeable changes in
       transferor's business).

220    See Richter v. CC-Palo Alto, Inc., 2017 WL 4236992, at *6 n.3, 2017 U.S. Dist. LEXIS 156724, at *16 n.3
       (N.D. Cal., Sept. 25, 2017) (“[T]here is no feasible way for the court to value contingent liabilities in a ‘real
       world’ way on a motion to dismiss.”).

221    See nn.130-131, above. See also Kaye v. Lone Star Fund V (U.S.), L.P., 453 B.R. 645, 675 (N.D. Tex.
       2011) (that Complaint also might lead to inference that it undervalued its assets, does not undermine contrary
       plausible inference of insolvency).

222    See, e.g., Burtch v. Opus LLC (In re Opus East LLC), 698 Fed. Appx. 711, 715, 717-18 (3d Cir. 2017); MFS/
       Sun Life Trust-High Yield Series v. Van Dusen Airport Servs. Co., 910 F. Supp. 913, 944 (S.D.N.Y. 1995),
       and the cases cited therein; and Daley v. Chang (In re Joy Recovery Tech. Corp.), 286 B.R. 54, 76 (Bankr.
       N.D. Ill. 2002). Cf. Asarco LLC v. Ams. Mining Corp., 396 B.R. 278, 399 (S.D. Tex. 2008) (while length of
       time a corporation survives after a challenged transfer is an important factor in the unreasonably small capital
       assets analysis, other evidence at trial showed that transferor was doomed to failure).

223    Intracoastal Capital, LLC v. Sharp (In re Blue Earth, Inc.), 2019 WL 4929933, at *8–9, 2019 Bankr. LEXIS
       3193, at *21-22 (B.A.P. 9th Cir., Oct. 2, 2019), rev'd on other grounds, 836 Fed. Appx. 564, 566 (9th Cir.
       2020) (indeed, the trustee seemed to have relied primarily on the allegation that the transferor subsequently
       engaged in borrowing to support his claim); Tese-Milner v. Edidin & Assocs. (In re Operations NY LLC),
       490 B.R. 84, 98 (Bankr. S.D.N.Y. 2013) (after court noted that “[t]he relevant factors include the transferor's
       debt to equity ratio, historical capital cushion, and the need for working capital in the transferor's industry,” it
       found no facts alleged that the transferor was insolvent and no analysis of transferor's cash flow and ability
       to generate cash).

224    See, e.g., Holliday v. K Road Power Mgmt., LLC (In re Boston Generating LLC), 617 B.R. 442, 477 (Bankr.
       S.D.N.Y. 2020), amended on reconsideration on other grounds, 2018 Bankr. LEXIS 1770 (Bankr. S.D.N.Y.
       June 15, 2018)) (noting that in the light of the transferor's not filing for chapter 11 relief until four years after
       the challenged transaction and third-party loans, the plaintiff may have a difficult time proving its claims, but
       based on the complaint's allegations they were not implausible). See also Tronox Inc. v. Kerr McGee Corp. (In
       re Tronox Inc.), 503 B.R. 239, 298 (Bankr. S.D.N.Y. 2013) (fact that the transferor survived for several years
       after the challenged transaction was considered, but in the light of other trial evidence was not dispositive.)

225    Begain's Motion states at page 5 that “Begain initially invested in Tops at the recommendation of Morgan
       Stanley. ...” Even if it had been a public offering, one would have to carefully weigh the disclosure documents
       to determine whether they were adequate in highlighting the risks of undercapitalization/insolvency.

226    Complaint ¶¶ 49, 64, 71, 73, 105, 144, 146, 149, 188.

227    Id. ¶¶ 71, 146, 190.




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228    Plan (Main Case ECF 765.2) at ¶¶ 5.13 (officers of reorganized debtors), 5.15 (assumption of Current
       Employee Arrangements, as modified), 5.16 (management incentive plan), and 1.153 and 10.6 (releases).

229    But see Reynolds v. Behrman Capital IV L.P., 2022 WL 163693, at *3–4, 2022 U.S. Dist. LEXIS 8550, at
       *10-11 (fact of loans to transferor not a basis to find proposed amended complaint futile because court could
       not consider information provided to lenders); In re Boston Generating LLC, 617 B.R. at 477 (citing LaMonica
       v. CEVA Group (In re CIL Ltd.), 582 B.R. 46, 108-09 (Bankr. S.D.N.Y. 2018)) (involvement of independent
       third parties, such as financial firms and “sophisticated lenders,” is only relevant for purposes of implausibility
       defense when the third parties had access to all relevant information).

230    Beauvoir v. Israel, 794 F.3d 244, 248 (2d Cir. 2015), was neither a fraudulent transfer case nor involved
       consideration of third-party lending, while Liquidation Tr. v. Daimler AG (In re Old CarCo, LLC), 454 B.R. 38,
       55-60 (Bankr. S.D.N.Y. 2011), aff'd 2011 WL 5865193, 2011 U.S. Dist. LEXIS 134539 (S.D.N.Y., Nov. 22,
       2011), aff'd 509 Fed. Appx. 77 (2d Cir. 2013), addressed reasonably equivalent value, not insolvency, when
       it concluded that taking judicial notice of the transferor's obtaining access to a $12 billion credit facility was
       proper to show the additional consideration for the allegedly less-than-fair-value transfer that the complaint
       had omitted.

231    373 B.R. 283 (Bankr. S.D.N.Y. 2007).

232    2005 WL 2234606, 2005 U.S. Dist. LEXIS 19999 (D. Del., Sept. 13, 2005), aff'd 482 F.3d 624 (3d Cir. 2007).

233    See In re Tronox Inc., 503 B.R. at 298 (“Defendants’ reliance on [transferor's] ability to issue $450 million in
       debt does not deserve any weight in the solvency analysis. The debt that [transferor] issued was secured, ...
       and the sophisticated lenders who bought this debt well knew they would come first in any bankruptcy or
       liquidation of the enterprise.”). See also Irina Fox, “Article: Protecting All Corporate Stakeholders: Fraudulent
       Transfer Law as a Check on Corporate Distributions,” 44 Del. J. Corp. L. 81, 101, 108 (2020) (hereafter
       “Fox”) (concluding, after noting that “Moody's Investors Service usually downgrades companies after debt-
       funded dividends are paid, recognizing the negative impact on a company's financial performance,” and listing
       examples of bankruptcies following upon debt-funded dividends, “In instances where the dividend is funded
       with debt, the danger of insolvency is very high.”).

234    In re Tronox Inc., 503 B.R. at 298-99, in which the court discounted the probative effect of the transferor's
       issuance of unsecured bonds “which would share in any liquidation on a par with the legacy liability creditors,”
       and public stock beyond the fact that the sales were difficult even though they took place in a market of
       “irrational exuberance, because plaintiff “convincingly demonstrated that the projections on which the IPO
       was based were inflated, sell-side projections,” similar to the projections alleged in the Complaint to have
       been inflated at Morgan Stanley's direction). See also In re Boston Generating LLC, 617 B.R. at 477.

235    In re Boston Generating LLC, 617 B.R. at 472 (citations omitted).

236    See generally Pereira v. Urthbox, LLC (In re Try the World, Inc.), 2021 WL 3502607, at *18, 2021 Bankr.
       LEXIS 2140, at *60 (Bankr. S.D.N.Y., Aug. 9, 2021).

237    Picard v. Taylor (In re Park S. Sec., LLC), 326 B.R. 505, 517 (Bkrtcy.S.D.N.Y. 2005) (citing Manhattan Inv.
       Fund., Ltd. v. Bear Stearns, Sec. (In re Manhattan Inv. Fund, Ltd.), 310 B.R. 500, 508 (Bankr. S.D.N.Y. 2002).

238    I will note that, of the two cases relied on by In re Manhattan Inv. Fund, Ltd. (and thus in Picard v. Taylor)
       for the proposition that the transferee's intent must be established, Sullivan v. Messer (In re Corcoran), 246
       B.R. 152, 161 (E.D.N.Y. 2000), itself relied on decisions that did not construe NY DCL § 276 but, instead, the
       defense under NY DCL § 278 assertable by a transferee who takes for fair consideration and in good faith,
       and Gentry v. Kovler (In re Kovler), 249 B.R. 238, 243 (Bankr. S.D.N.Y. 2000), was later corrected by the



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       same judge in Gentry v. Kovler (In re Kovler), 329 B.R. 17, (2005), to limit consideration of the transferee's
       fraudulent intent to claims where either (a) the transferor was solvent, (b) there was adequate consideration,
       or (c) the plaintiff seeks recovery of attorneys fees under NY DCL § 276-a, which specifically requires such a
       showing. See also Bayou Accredited Fund, LLC v. Redwood Growth Partners, L.P. (In re Bayou Grp, LLC),
       396 B.R. 810, 826 n.5 (Bankr. S.D.N.Y. 2008), aff'd in part, rev'd in part on other grounds, 439 B.R. 284
       (S.D.N.Y. Sept. 17, 2010) (where Judge Hardin again corrected his first Kovler opinion by stating that only
       the transferor's intent must be shown).

239    452 B.R. 391 (Bankr. S.D.N.Y. 2011).

240    Id. at 432-33. Dreier located the original basis for decisions that required a showing of the transferee's intent
       in the first Kovler opinion, id. at 430, noting, further, that Judge Hardin corrected that ruling in his second
       Kovler opinion, but correctly observing that unfortunately “by that time the proverbial horse had left the barn.”
       Id. at 431.

241    Id. at 433-34.

242    In re Sharp Int'l Corp., 403 F.3d at 56 (quoting HBE Leasing Corp. v. Frank, 61 F.3d 1054, 1059 n.5 (2d Cir.
       1995), which contrasted NY DCL § 276 with the “good faith” element of NY DCL § 272’s definition of “fair
       consideration” that looks to the transferee's good faith).

243    Sharp Int'l, 403 F.3d at 56 (internal quotation marks and citation omitted).

244    See in addition to the cases cited by Dreier, Picard v. Merkin (In re Bernard L. Madoff Inv. Secs. LLC), 2011
       WL 3897970, at *6, 2011 U.S. Dist. LEXIS 97647, at *17-18 (S.D.N.Y., Aug. 31, 2011); In re Try The World,
       Inc., 2021 WL 3502607, at *18, 2021 Bankr. LEXIS 2140, at *60; Geron v. Craig (In re Direct Access Partners,
       LLC), 602 B.R. 495, 539 (Bankr. S.D.N.Y. 2019); Barnard v. Albert (In re Janitorial Close-Out City Corp.),
       2013 WL 492375, at *5 n.6, 2013 Bankr. LEXIS 523, at *16 n.6 (Bankr. E.D.N.Y., Feb. 8, 2013).

245    See n.85 above.

246    See n.86 above.

247    In re Boston Generating LLC, 617 B.R. at 472-73 (quoting Techno-Comp. Inc. v. Arcabascio, 130 F. Supp. 3d
       734, 745 (E.D.N.Y. 2015). See also Gordon v. I.M.V. 1290 (In re Mina), 2022 WL 2657481, at *4, 2022 Bankr.
       LEXIS 1887, at *12-13 (Bankr. W.D.N.Y., Jul. 8, 2022) (listing (i) “a close relationship among the parties to the
       transaction; (ii) a questionable or hasty transfer not in the ordinary course of business; (iii) the existence of an
       unconscionable discrepancy between the value of the property transferred and the consideration received
       therefor; (iv) the chronology of the events and transactions under inquiry; (v) the existence or cumulative
       effect of a pattern or series of transactions or course of conduct after the incurrence of debt, onset of financial
       difficulties, or pendency or threat of suits by creditors; and (vi) whether the debtor was insolvent or became
       insolvent shortly after the transfer was made or obligation was incurred”); In re Our Alchemy, LLC, 2019
       WL 4447545, at *6, 2019 Bankr. LEXIS 2906, at *16-17 (Bankr. D. Del., Sept. 16, 2019) (“badges of fraud”
       include “(1) the relationship between the debtor and the transferee; (2) consideration for conveyance; (3)
       insolvency or indebtedness of the debtors; (4) how much of the debtor's estate was transferred; (5) reservation
       of benefits, control or dominion by the debtor; and (6) secrecy or concealment of the transaction.”) (internal
       quotation marks and citation omitted). As noted by Arcabascio, “the flip side of these badges of fraud is that
       their absence -- or evidence that fair consideration was paid, the parties dealt at arms-length, the transferor
       was solvent, the transfer was not questionable or suspicious, the transfer was made openly, or the transferor
       did not retain control -- would constitute evidence that there was no intent to defraud.” 130 F. Supp. 3d at
       745 (internal quotation marks and citation omitted).




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248    In re Our Alchemy, LLC, 2019 WL 4447545, at *6, 2019 Bankr. LEXIS 2906, at *17 (internal quotation marks
       and citation omitted).

249    Geron v. Craig (In re Direct Access Partners, LLC), 602 B.R. 495, 544 (Bankr. S.D.N.Y. 2019).

250    Complaint ¶¶ 8, 9, 25, 40.

251    Id. ¶¶ 111-112, 158.

252    Id. ¶¶ 63, 83, 122.

253    Id. ¶ 96.

254    Id. ¶¶ 95-96.

255    Id. ¶ 8.

256    Id. ¶¶ 59, 80, 119, 161.

257    Id. ¶¶ 109, 157 The Trust also cites Complaint ¶¶ 41-46, 63, 83, 96, 122.

258    249 F. Supp. 2d 357 (S.D.N.Y. 2003), aff'd 99 Fed. Appx. 274 (2d Cir. 2004).

259    Lippe, 249 F. Supp. 2d at 378-81.

260    Id. at 377-78, 382.

261    Id. at 381.

262    Id. at 383.

263    Id. at 384.

264    In re Tribune Fraudulent Conv. Litig., 10 F.4th at 162.

265    See Reynolds v. Behrman Capital IV L.P., 2022 WL 163693, at *6, 2022 U.S. Dist. LEXIS 8550, at *18-19
       (N.D. Ala., Jan. 18, 2022) (motion to dismiss intentional fraudulent transfer claim where court found dividend
       recapitalization satisfied badges of fraud in addition to there being direct evidence of fraudulent intent);
       Michaelson v. Farmer (In re Appleseed's Intermediate Holdings, LLC), 470 B.R. 289, 300 (D. Del. 2012).

266    11 U.S.C. § 546(e).

267    Crescent Resources Litig. Trust ex rel. Bensimon v. Duke Energy Corp., 500 B.R. 464, 471 (W.D. Tx. 2013)
       (quoting In re Olympic Natural Gas Co., 294 F.3d 737, 740 (5th Cir. 2002)).

268    It is not disputed that the dividends were transfers of Tops’ funds falling within the definition of “transfer” in
       11 U.S.C. § 101(54).

269    See also In re Nine West LBO Secs. Litig., 482 F. Supp. 3d 187, 197 (S.D.N.Y. 2020) (“Put simply, the safe
       harbor applies were two requirements are met: (1) there is a qualifying transaction (i.e., there is a ‘settlement
       payment’ or a ‘transfer payment... made in connection with a securities contract) and (2) there is a qualifying
       participant (i.e., the transfer was “made by or to (or for the benefit of) a ... financial institution.”) (emphasis
       in the original).

270    11 U.S.C. § 741(7)(A)(i) and (vii).



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271    In re Bernard L. Madoff Inv. Sec. LLC, 773 F.3d 411, 418-19 (2d Cir. 2014), cert. denied, 576 U.S. 1044,
       135 S.Ct. 2859, 192 L.Ed.2d 910 (2015).

272    ––– U.S. ––––, 138 S. Ct. 883, 200 L.Ed.2d 183 (2018).

273    Id. at 888. Accordingly, even if the component parts A#B#C of a transfer by A #D that a trustee seeks to
       avoid might be safe-harbored, if the A#D transfer does not meet section 546(e)’s criteria it will not be safe-
       harbored. Id.

274    Id. at 894-95. Although there was a Circuit conflict over whether the safe harbor applies if the intermediate
       transaction involved a transferee acting as a mere conduit, the Court granted certiorari to resolve the “proper
       application of the § 546(e) safe harbor” id. at 892, and clearly Merit’s analysis is based on the wording and
       context of the statute, not a “mere conduit” theory.

275    Bankr. Estate of Norske Skogindustrier ASA v. Cyrus Capital Partners, 629 B.R. 717, 759 (Bankr. S.D.N.Y.
       2021) (internal quotation marks and citation omitted); See also In re John Lofts LLC), 599 B.R. at 749
       (affirmative defense under section 546(e) prematurely raised in motion to dismiss as not “clearly established
       on the face of the complaint”) (internal quotation marks and citation omitted).

276    They do so as a defense not only to the Trust's fraudulent transfer claims but also, on preemption grounds, to
       the Trust's unlawful dividend claims against the Directors. Because, as discussed below, the Court concludes
       that the safe harbor does not apply, no further preemption analysis is required.

277    11 U.S.C. § 101(22)(a). See also Deutsche Bank Trust Co. Ams. v. Large Private Ben. Owners (In re Tribune
       Co. Fraudulent Conveyance Litig.), 946 F.3d 66, 78 (2d Cir. 2019) (transferor was a qualifying entity under
       11 U.S.C. §§ 546(e) and 101(22)(A) because it retained a financial institution to act as its agent to receive
       and make the challenged payments),

278    Shamah Decl. Exs. 2, 3, 5, 6, 15, 16, 18, 19, and 20, respectively.

279    Complaint ¶¶ 48, 104, and 148, respectively.

280    Id. ¶ 11, 65,125, and 167.

281    The Complaint's references to the note offerings are not enough to incorporate them wholesale, Sira v.
       Morton, 380 F.3d 57, 67 (2d Cir. 2004), and all the transaction documents have not been provided; thus the
       note offering transaction documents remain incomplete in relevant respects.

282    Shamah Exs. 19 and 20.

283    946 F.3d at 78-79; 10 F.4th at 176 (contracts, including agency/depository agreement, were integral to
       complaint and therefore could be considered although not referenced in it because they set forth the
       relationship between the transferor and its agent in effectuating the transfers).

284    482 F. Supp. 3d at 196.

285    617 B.R. at 452-53, 487-88.

286    11 U.S.C. § 101(49)(A)(i).

287    See Official Comm. of Unsecured Creditors of Quebecor World (U.S.A.) Inc. v. Am. Life Ins. Co. (In re
       Quebecor World (U.S.A.) Inc.), 719 F.3d 94, 98 (2d Cir. 2013), overruled in part on other grounds, Merit




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       Mgmt. Grp., LP v. FTI Consulting, Inc., 138 S. Ct. at 883 (private placement notes were “securities,” and their
       payment or redemption was a securities contract for purposes of 11 U.S.C. § 546(e)).

288    Michaelson v. Farmer (In re Appleseed's Intermediate Hldgs., LLC), 470 B.R. at 302.

289    Enron Creditors Recovery Corp. v. Alfa, S.A.B. de C.V., 651 F.3d 329, 337 (2d Cir. 2011) (internal quotation
       marks and citation omitted).

290    Id. (emphasis added).

291    Id. See also Global Crossing Estate Representative v. Alta Partners Hldgs. LDC (In re Global Crossing, Ltd.),
       385 B.R. 52, 56 n.1 (Bankr. S.D.N.Y. 2008).

292    Id. See also Mervyn's LLC v. Lubert-Adler Grp. IV, LLC (In re Mervyn's Hldgs., LLC ), 426 B.R. 488, 500
       (Bankr. D. Del. 2010).

293    621 B.R. 797 (Bankr. E.D. Mich. 2020).

294    571 F.3d 545 (6th Cir. 2009).

295    In re Greektown Hldgs., 621 B.R. at 808 (internal quotation marks and citation omitted),

296    Id. at 819-21.

297    Merit Mgmt., 138 S. Ct. at 894 (emphasis in the original).

298    617 B.R. 442 (Bankr. S.D.N.Y. 2020), aff'd sub nom. Holliday v. Credit Suisse Sec. (USA) LLC, 2021 WL
       4150523, 2021 U.S. Dist. LEXIS 173359 (S.D.N.Y., Sept. 13, 2021).

299    617 B.R. at 454-557.

300    Id. at 456, 457.

301    Id. at 452-53, 456-57.

302    Enron Creditors Recovery Corp. v. Alfa, S.A.B. de C.V., 651 F.3d at 337.

303    In re Boston Generating LLC, 617 B.R. at 484-85.

304    Id. at 485-87.

305    Id. at 493.

306    Id.

307    617 B.R. 496 (Bankr. D. Del. 2020).

308    Id. at 507.

309    620 B.R. 505 (Bankr. S.D.N.Y. 2020).

310    Id. at 511.

311    Id. at 513.




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312    Boston Generating, 617 B.R. at 456 (noting that the Second Lien Credit Agreement provided that “The
       proceeds of the Loans shall be available (and the borrower agrees that it shall use such proceeds) solely ...
       (iii) to fund the Distribution and the Tender Offer of [the holding company obligor....” and the Mezzanine
       Agreement contained a similar covenant.

313    Holliday v. Credit Suisse Sec. (USA) LLC, 2021 WL 4150523, at *1, 2021 U.S. Dist. LEXIS 173359, at *5.

314    Id. at *2, 2021 U.S. Dist. LEXIS 173359, at *6, 7.

315    In re Nine West LBO Secs. Litig., 482 F. Supp. 3d at 204-05 (“Here, as in Boston Generating, the accumulated
       dividend payments were tied to the restricted shares and paid as part of the settlement of the Merger
       Agreement. See Merger Agreement § 4.3 (holders of restricted shares shall receive ‘an amount in cash, for
       each Restricted Share, equal to the Per Share Merger Consideration plus any unpaid dividends that have
       accumulated on such Restricted Share....’ ”). Rather remarkably, however, Nine West does not cite Merit
       Mgmt. in connection with its “integrated transaction” discussion.

316    See Miller v. Black Diamond Cap. Mgmt., L.L.C. (In re Bayou Steel Bd Hldgs., L.L.C.), 642 B.R. 371, 391
       (Bankr. D. Del. 2022) (holding that the relationship between the challenged distribution and a conceded
       securities contract that the defendants argued expressly contemplated the distribution but that did not appear
       on its face to require it “requires further factual development”); In re Extended Stay, Inc., 2020 WL 10762310,
       at *84, 2020 Bankr. LEXIS 2128, at *284-85 (holding that it was premature to determine that a dividend
       was not part of an integrated set of agreements comprising a safe-harbored LBO transaction: “It is not at all
       clear on the face of the documents that the Preferred Dividend Payments were made to complete the LBO
       Transaction.”). It is worth noting that Extended Stay also did not discuss Merit Mgmt. in connection with its
       consideration of the “integrated transaction” doctrine but did cite Crescent Res. Litig. Trust. v. Duke Energy
       Corp., 500 B.R. at 473-76, for the proposition, which, contrary to the later Merit decision looked at all the
       steps in an integrated transaction, not the dividend at the end of it. 2020 WL 10762310, at *84, 2020 Bankr.
       LEXIS 2128, at *284. Similarly, Bayou Steel cites Boston Generating, Crescent, Buchwald Cap. Advisors,
       LLC v. Papas, 584 B.R. 161, 172, 182 (E.D. Mich. 2018), which was vacated and on remand determined
       in Greektown Hldgs. to have been abrogated by Merit Mgmt., as discussed above, but not Merit Mgmt. 642
       B.R. at 390, n.114.

317    Imagine, for example, that a multi-step transaction's documents included a provision that $50 million of the
       $200 million of proceeds of a safe-harbored step of the transaction shall be donated to the Society to Prevent
       Vaccinations because it was the controlling shareholder's favorite charity. Is there any doubt that the $50
       million transfer should not be safe-harbored?

318    Enron Creditors Recovery Corp v. Alfa, S.A.B. de C.V., 651 F.3d at 336 (declining a reading of section 546(e)
       that “would result in commercial uncertainty and unpredictability at odds with the safe harbor's purpose and
       in an area of law where certainty and predictability are at a premium”).

319    Orr v. Kinderhill Corp., 991 F.2d 31, 35 (2d Cir. 1993) (internal quotation marks and citations omitted).

320    Although I disagree with the Defendants’ “integrated by agreement” rationale, their section 546(e) argument
       nevertheless could also be denied on the basis that the documents that can be considered with the Motions
       do not clearly establish such integration. In re Bayou Steel Bd. Holdgs., L.L.C., 642 B.R. at 389–91; In re
       Extended Stay, Inc., 2020 WL 10762310, at *84, 2020 Bankr. LEXIS 2128, at *284-85.

321    617 B.R. at 493.

322    Id.




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323    Holliday v. Credit Suisse Sec. (USA) LLC, 2021 WL 4150523, at *3, *7–8, 2021 U.S. Dist. LEXIS 173359,
       at *12, *26-27 (“[T]hat the distribution occurred prior to the purchase of the units or was a dividend to all
       members, is of no import.”). This rationale also would permit the safe harboring of the “integrated” donation
       discussed in n.317 above.

324    Kings Premium Service Corp. v. Manufacturers Hanover Trust Co., 115 A.D.2d 707, 708-09, 496 N.Y.S.2d
       524 (2d Dep't. 1985) (internal quotation marks and citations omitted); See also Royal Arcanum Hosp. Assn.
       of Kings County, Inc. v. Herrnkind 113 A.D.3d 672, 673, 978 N.Y.S.2d 355 (2d Dep't. 2014); Curtis-Shanley
       v. Bank of America, 109 A.D.3d 634, 635, 970 N.Y.S.2d 830 (2d Dep't. 2013), app. dismissed 22 N.Y.3d
       1133, 983 N.Y.S.2d 489, 6 N.E.3d 608 (“In general, the relationship between a bank and its customer is
       not a fiduciary one, but rather one of creditor and debtor; lower court properly granted defendant summary
       judgment since the plaintiff failed to establish the existence of some other agreement, and the plaintiff's
       argument that his status as a depositor created a fiduciary duty is unsupported by law.”); Tevdorachvili v.
       Chase Manhattan Bank, 103 F. Supp. 2d 632, 640 (E.D.N.Y. 2000).

325    Zeus Constr. Servs., LLC v. Fame Constr. Inc., 60 Misc. 3d 13, 19, 78 N.Y.S. 864 (N.Y.Sup.App.Term 2018).
       See also Faith Assembly v. Titledge of N.Y. Abstract, LLC, 106 A.D.3d 47, 58, 961 N.Y.S.2d 542 (2d Dep't.
       2013).

326    113 A.D.3d at 673, 978 N.Y.S.2d 355.

327    946 F.3d at 79-88,

328    482 F. Supp. 3d at 192-93.

329    Id. at 195. This is not to say that is some situations someone purported to be an agent actually may be only
       a “mere intermediary contracted for the purpose of effectuating a transaction.” In re Greektown Hldgs., LLC,
       621 B.R. at 827. See also Peter v. Marchetti, “Article: Section 546(e) Redux -- the Proper Framework for the
       Construction of the Terms Financial Institution and Financial Participant Contained in the Bankruptcy Code
       After the U.S. Supreme Court's Holding in Merit,” 43 Cardozo L. Rev. 1107, 1161 (Feb. 2022) (concluding that
       “The text, structure, legislative history, and policy underlying section 101(22), Section 546(e), the other Safe
       Harbors, and the overall Code support the conclusion that Congress did not intend the Customer Language
       to apply to garden-variety Redeeming Shareholders. Instead, Congress intended it to apply to securities
       lenders in [a]gent[ed] [securities loan transactions] so that Agent Banks would not be liable under revived
       Guarantees.”).

330    11 U.S.C. § 101(11).

331    See In re Greektown Hldgs., 621 B.R. at 835-841 (explaining why intermediary was not a “custodian” for
       purposes of section 101(22)(A). Cf. Thomas E. Plank, “Article: Custodian or Note: Scrivener's Error in
       Bankruptcy Code Safe Harbor,” 38 Emory Bankr. Dev. J. 51, 75, 91 (2022) (contending that 11 U.S.C. §
       101(11)’s definition of “custodian” should not apply to the use of that term in section 101(22)(A) for purposes
       of section 546(e) but acknowledging that it should apply only to an entity that actually holds the securities at
       issue or underlying collateral for a customer, which would not be the case in a bank account relationship). It
       should be noted that Tribune defined “customer,” which also is a required relationship under section 101(22)
       (A), as “someone who buys goods or services,” or “a person ... for whom a bank has agreed to collect items,”
       946 F.3d at 79, clearly not the hallmarks of the normal bank account holder's creditor/debtor relationship
       where the depositor gives up any specific interest in the deposited funds.

332    Kings Premium Service Corp. v. Manufacturers Hanover Trust Co., 115 A.D.2d at 708-09, 496 N.Y.S.2d 524.
       See also Banco de Desarrollo Agropecuario, S.A. v. Gibbs, 709 F. Supp. 1302, 1307 (S.D.N.Y. 1989) (“A




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       bank .. owns the money that it holds; the bank depositors are merely bank creditors, not the owners of the
       money on deposit.”).

333    See Petr. v. BMO Harris Bank, N.A. (In re BWGS, LLC), ––– B.R. ––––, –––– – ––––, 2022 WL 3568045, at
       *4–5, 2022 Bankr. LEXIS 2315, at *11-14 (Bankr. S.D. Ind., Aug. 18, 2022) (describing origins and purpose
       of the safe harbor).

334    Merit Mgmt., 138 S. Ct. at 888.

335    See Douglas A. Baird, The Unwritten Law of Corporate Reorganizations, Cambridge University Press 2022,
       at x (“The judge is bound by a coherent set of unwritten principles that derive from a statute of Parliament
       passed in 1571.”).

336    Fox, 44 Del. J. Corp. L. at 83-4 (internal citations omitted).

337    NY BCL § 719(a)(1) provides, “Directors of a corporation who vote for or concur in [the declaration of any
       dividend ... to the extent that it is contrary to the provisions of paragraphs (a) and (b) of section 510] shall be
       jointly and severally liable to the corporation for the benefit of its creditors or shareholders, to the extent of
       any injury suffered by such persons, respectively, as a result of such action.” The Complaint also cites NY
       BCL § 720, subjection (b) of which states, “An action may be brought for the relief provided in ... paragraph (a)
       of section 719 ... by a corporation, or a receiver, trustee in bankruptcy, officer, director or judgment creditor
       thereof ... “ Under the Plan, the Trust was assigned Tops’ claims, including its unlawful dividend claim; it is
       acting here as the corporation's assignee, not as a bankruptcy trustee.

338    NY BCL § 719(a), quoted at n.314 above.

339    See Lippe v. Bairnco Corp., 230 B.R. 906, 913 (S.D.N.Y. 1999).

340    NY CPLR § 214(2) (emphasis added).

341    CPLR § 213(7).

342    Lippe v. Bairnco Corp., 230 B.R. at 913 (quoting Whitney Holdings, Ltd. v. Givotovsky, 988 F. Supp. 732,
       742 (S.D.N.Y.1997)); see also Steinfeld v. Richard A. Eisner & Co. (In re Gen. Vision Servs.), 2006 WL
       687162, at *2, 2006 Bankr. LEXIS 480, at *8 (Bankr. S.D.N.Y., Mar. 13, 2006) (“Section 213(7) carves out a
       special statutory period for a specific class of plaintiffs and defendants, and supplants any other governing
       limitations period.”).

343    Lippe v. Bairnco, 230 B.R. at 913-14.

344    119 B.R. 407 (S.D.N.Y. 1990).

345    Id. at 411.

346    FDIC v. Bober, 2000 WL 235271, at *3, 2000 U.S. Dist. LEXIS 2147, at *10-11 (S.D.N.Y., Feb. 29, 2000)
       (noting that the plain language of section 213(7) is not limited to derivative actions, as the practice commentary
       relied upon by Purves stated, but covers any action “brought by or on behalf of a corporation”); In re Argo
       Communs. Corp., 134 B.R. 776, 787-88 (Bankr. S.D.N.Y. 1991) (“Based on the plain language of § 213(7),
       the same statute of limitations must apply when a corporation asserts its own cause of action and when a
       shareholder asserts the same cause of action on the corporation's behalf. Consistent with this interpretation,
       the statute encompasses both actions ‘by’ and those ‘on behalf of’ a corporation” including by a bankruptcy
       trustee asserting a corporation's claim under section 720(b)).




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347    Gillette v. Sembler, 34 Misc.3d 1220(A), 950 N.Y.S.2d 491 (Suf. Cty. 2012)

348    Id.

349    NY BCL § 719(a).

350    NY BCL §§ 719(a)(1), 510(a).

351    Fed. Nat'l Mortg. Ass'n v. Olympia Mortg. Corp., 792 F.Supp.2d 645, 652 (E.D.N.Y. 2011).

352    Spizz v. Eluz (In re Ampal-American Isr. Corp.), 543 B.R. 464, 473-74 (Bankr. S.D.N.Y. 2016).

353    No one has argued that Del. Gen. Corp. L. § 174 applies to the Director Defendants’ authorization of the
       dividends (although the Trust's failure to specifically identify that section did not waive the claim if the
       Complaint set forth sufficient facts to support it. Newman v. Silver, 713 F.2d 14, 15, n.1 (2d Cir. 1983)). Based
       on the Court's reading of the Complaint, it sufficiently sets forth a claim under that section if it, rather than NY
       BCL §§ 510 and 719-720, apply to the authorization of the dividends. Section 174 “makes directors personally
       liable for the declaration of an unlawful dividend.” Quadrant Structured Prod. Co. v. Vertin, 102 A.3d 155, 201
       (Del. Ch. 2014). Section 174(a) states, “In case of any wilful or negligent violation of ... § 173 of this title, the
       directors under whose administration the same may happen shall be jointly and severally liable, at any time
       within 6 years after paying such unlawful dividend ... , to the corporation, and to its creditors in the event of
       its dissolution or insolvency, to the full amount of the dividend unlawfully paid ... , with interest from the time
       such liability accrued.” Section 173 states, “No corporation shall pay dividends except in accordance with this
       chapter.” Under Del. Gen. Corp. L. § 102(b)(7)(iii), liability under section 174 is not subject to exculpation.
       Growe v. Bedard, 2004 WL 2677216, at *11, 2004 U.S. Dist. LEXIS 23746, at *40 (D. Me., Nov. 23, 2004).
       See generally IT Grp. Inc. v. D'Aniello, 2005 WL 3050611, at *16, 2005 U.S. Dist. LEXIS 27869, at *56-58
       (D. Del., Nov. 15, 2005). Unlike claims for breach of the duty of good faith, moreover, section 174(a)’s plain
       terms apply to merely a negligent violation of section 173.

354    See Kirschner v. FitzSimons (In re Tribune Fraudulent Conveyance Litig.), 2018 WL 6329139, at *––––, 2018
       U.S. Dist. LEXIS 204623, at *24 (S.D.N.Y., Nov. 30, 2018), reconsideration denied, 2019 WL 549380, 2019
       U.S. Dist. LEXIS 22785 (S.D.N.Y., Feb. 12, 2019).

355    Id. at *–––– – ––––, 2018 U.S. Dist. LEXIS 204623, at *20-21 (quoting and citing N. Am. Catholic Educ.
       Programming Found., Inc. v. Gheewalla, 930 A.2d 92, 101 (Del. 2007)).

356    United States v. Feinsod, 347 F. Supp. 3d 147, 160 (E.D.N.Y. 2018) (internal quotation marks and citation
       omitted). See also Official Committee of Unsecured Creditors v. Sabine Oil & Gas Corp. (In re Sabine Oil &
       Gas Corp.), 562 B.R. 211, 230 (S.D.N.Y. 2016) (under New York law, fiduciaries of an insolvent corporation
       owe duties to creditors, derivative of those owed to the corporation, to “exercise judgment in an informed,
       good faith effort to maximize the corporation's long-term wealth creating capacity.”).

357    Lenoir v. Heinig, 2021 WL 99349, at *3, 2020 Del. Ch. LEXIS 388, at * (Del. Ch., Jan. 12, 2021) (“It is well-
       settled under Delaware law that a three-year statute of limitations applies to claims for breach of fiduciary
       duty.”) (internal quotation marks and citation omitted).

358    For the same reasons as discussed above regarding the applicability of NY CPLR § 213(7) instead of NY
       CPLR § 214(4) to the Complaint's unlawful dividend claims, NY CPLR § 213(7), being the more specific
       statute, should apply here if the issue is governed by New York law. In re Wonderwork, Inc., 626 B.R. 94,
       110 (Bkrtcy.S.D.N.Y. 2020)); Roslyn Union Free Sch. Dist. v. Barkan, 16 N.Y.3d 643, 650-51, 926 N.Y.S.2d
       349, 950 N.E.2d 85 (2011) (section 213(7) applies to all actions by the corporation against former officers or
       directors with no differentiation between legal and equitable claims).



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359    GlobalNet Financial.com, Inc. v. Frank Crystal & Co., Inc., 449 F.3d 377, 382 (2d Cir. 2006).

360    In re Gaston & Snow, 243 F.3d 599, 601-02 (2d Cir. 2001). Cf. Statek Corp. v. Dev. Specialists, Inc. (In re
       Coudert Bros. LLP), 673 F.3d 180, 190-91 (2d Cir. 2012) (where, unlike here, action was originally filed in a
       different state that the current forum, bankruptcy court must apply choice of law rules of the original forum).

361    In re BP p.l.c. Derivative Litig., 507 F. Supp. 2d 302, 307-08 (S.D.N.Y. 2007) (observing that New York
       courts have almost universally adopted the internal affairs doctrine when faced with a choice of law inquiry
       in derivative actions alleging breach of fiduciary duty); See also Walton v. Morgan Stanley & Co., Inc., 623
       F.2d 796, 798 n.2 (2d Cir. 1980); In re Wonderwork, Inc., 611 B.R. at 194.

       There nevertheless are decisions by New York courts and courts in this district suggesting that application
       of the internal affairs doctrine is not automatic and may be subject to certain exceptions. E.g., Greenspun v.
       Lindley, 36 N.Y.2d 473, 477-78, 369 N.Y.S.2d 123, 330 N.E.2d 79 (1975) (rejecting the “automatic application”
       of the internal affairs rule in the presence of “significant contacts” with a state other than that of incorporation);
       Pension Comm. of the Univ. of Montreal Pension Plan v. Banc of Am. Sec., LLC, 446 F. Supp. 2d 163,
       192 (S.D.N.Y. 2006) (noting that, in some circumstances, New York courts will not follow the internal affairs
       doctrine when another state has an “overriding interest ... in the issue to be decided,” and applying New York
       law to breach of fiduciary duty claims against a British Virgin Islands corporation); In re MF Global Holdings
       Ltd. Inv. Litig., 998 F. Supp. 2d 157, 180 (S.D.N.Y. 2014) (stating, “the presumption [in favor of applying the
       law of the state of incorporation] is not irrebuttable; if there is a state with a more significant relationship with
       the parties and the dispute at issue, the court should apply that state's law” and applying New York law to
       breach of fiduciary claims against a Delaware corporation) (internal quotation marks and citations omitted).
       As summarized by the Second Circuit:

          The “internal affairs doctrine” -- a species of interest analysis -- provides that the place of incorporation
          generally has the greatest interest in having its law apply to questions regarding the internal affairs of a
          corporation, such as the relationship between shareholders and directors. Although New York courts reject
          a per se application of the internal affairs doctrine, they generally apply the law of the place of incorporation
          unless another state has an overriding interest in applying its own law and a defendant has little contact,
          apart from the fact of its incorporation, with the state of incorporation.

       Hau Yin To v. HSBC Holdings, PLC, 700 Fed. Appx. 66, 68-69 (2d Cir. 2017) (internal quotation marks and
       citations omitted). At this time, the Court generally need not resolve whether to apply the internal affairs
       doctrine or find that an exception exists. Except as discussed below with respect to the statute of limitations
       issue, there are no identified substantive differences between New York and Delaware law on the issues
       raised in the Motions. If anything, there may be some fiduciary duty issues on which New York has yet to be
       clearly defined. But as some courts have observed, “[w]here New York law is not as robust as Delaware law
       regarding matters of fiduciary duties, New York courts have looked to Delaware law for guidance.” Lipscomb
       v. Clairvest Equity Partners Ltd. P'ship (In re LMI Legacy Hldgs., Inc.), 2017 WL 1508606, at *7 & n.85, 2017
       Bankr. LEXIS 1150, at *17 & n.85 (Bankr. D. Del., Apr. 27, 2017) (citing Fox v. Koplik (In re Perry H. Koplik &
       Sons, Inc.), 476 B.R. 746, 795 (Bkrtcy.S.D.N.Y. 2012)). Moreover, the parties have at times together chosen
       to argue one state's law, at time's the other's, without raising a conflict between them with the exception of
       the present statute of limitations issue.

362    Shamah Decl. Exs. 1 and 4 (Tops Holding Corporation's10-K for fiscal year 2011 and Tops Holding II
       Corporation's 10-K for fiscal year 2013, the first page of which state that the registrant is incorporated in
       Delaware).

363    Plaintiff's Memorandum of Law in Opposition to Defendants’ Motions to Dismiss, at 83 n.58.




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364    The Complaint simply refers to “Tops” as paying the dividends, and neither the Defendants nor the Trust
       have discussed to which Tops entity or entities the Director Defendants owed the fiduciary duties at issue. If
       the Court did not conclude that the internal affairs doctrine did not apply to the stature of limitations dispute,
       this omission might be worth examining. As it is, though, it can await a later date.

365    Portfolio Recovery Assocs., LLC v. King, 14 N.Y.3d 410, 416, 901 N.Y.S.2d 575, 927 N.E.2d 1059 (2010)
       (citing Tanges v. Heidelberg N. Am., 93 N.Y.2d 48, 54-55, 687 N.Y.S.2d 604, 710 N.E.2d 250 (1999); Martin
       v. Dierck Equip. Co., 43 N.Y.2d 583, 588, 403 N.Y.S.2d 185, 374 N.E.2d 97 (1978)) (discussing contractual
       choice of law provisions, and stating that statutes of limitations are deemed to pertain to the remedy of a cause
       of action rather than the right) (other citations and internal quotations omitted); Howard Univ. v. Borders, –––
       F.Supp.3d ––––, –––– – ––––, 2022 WL 602829, at *7, 2022 U.S. Dist. LEXIS 35792, at *21-22 (S.D.N.Y.,
       Mar. 1, 2022).

366    Pereira v. Marshall & Sterling, Inc. (In re Payroll Express Corp.), 2005 WL 2438444, at *15–16, 2005 Bankr.
       LEXIS 1933, at *46-47 (Bankr. S.D.N.Y., March 30, 2005) (citing Stafford v. Int'l Harvester, 668 F.2d 142,
       147 (2d Cir. 1981); Architectronics, Inc. v. Control Sys., 935 F. Supp. 425, 431 (S.D.N.Y. 1996)).

367    Kravitz v. Binda, 2020 WL 927534, at *13–14, 2020 U.S. Dist. LEXIS 10893, at *38-40 (S.D.N.Y. Jan. 21,
       2020), report and recommendation adopted sub nom. Kravitz as Tr. of Advance Watch Co., Ltd. v. Binda, 2020
       WL 917212, 2020 U.S. Dist. LEXIS 33262 (S.D.N.Y., Feb. 26, 2020) (citations omitted) (applying the internal
       affairs doctrine to determine substantive law for breach of fiduciary duty claims against corporate officers,
       but applying the New York borrowing statute to determine the applicable statute of limitations); Willensky
       v. Lederman, 2015 WL 327843, at *5 n.8, 2015 U.S. Dist. LEXIS 8632, at *17-18 n.8 (S.D.N.Y., Jan. 23,
       2015) (citing Aboushanab v. Janay, 2007 WL 2789511, at *4 n.2, 2007 U.S. Dist. LEXIS 71278, at *11 n.2
       (S.D.N.Y., Sept. 26, 2007)); Baena v. Woori Bank, 2006 WL 2935752, at *8, 2006 U.S. Dist. LEXIS 74549,
       at *24 (S.D.N.Y., Oct. 11, 2006); Norman v. Elkin, 2007 WL 2822798, at *3–4, 2007 U.S. Dist. LEXIS 72725,
       at *9-10 (D. Del., Sept. 26, 2007); Potter v. Arrington, 11 Misc.3d 962, 965-66, 970-71, 810 N.Y.S.2d 312
       (Sup. Ct. Monroe Cty. 2006).

368    See, e.g., In re Navidea Biopharms. Litig., 2019 WL 7187111, at *3, 2019 U.S. Dist. LEXIS 221211, at *7-8
       (S.D.N.Y., Dec. 26, 2019) (court did not consider “substantive/procedural” distinction, citing only Walton v
       Morgan Stanley & Co., Inc., 623 F.2d 796, 798 n.3 (2d Cir. 1980), a case standing for the general proposition
       that the internal affairs doctrine applies to fiduciary duty claims but did not have before it a statute of limitations
       issue); Barbara v. MarineMax, Inc., 2012 WL 6025604, at *9, 2012 U.S. Dist. LEXIS 171975, at *25-26
       (E.D.N.Y., Dec. 4, 2012) (same); H.S.W. Enters., Inc. v. Woo Lae Oak, Inc., 171 F. Supp. 2d 135, 143-44
       (S.D.N.Y. 2001) (same); Clark v. Nevis Capital Mgmt., LLC, 2005 WL 488641, at *9, 2005 U.S. Dist. LEXIS
       3158, at *60 (S.D.N.Y., Mar. 2, 2005) (parties agree on choice of law); Casita, L.P. v. Glaser, 26 Misc.3d
       1240(A), 907 N.Y.S.2d 436 (Sup. Ct. N.Y. Cty. 2010) (same).

369    Holloway v. Holy See, 537 F. Supp. 3d 502, 507 n.4 (S.D.N.Y. 2021) (citations omitted).

370    King, 14 N.Y.3d at 416, 901 N.Y.S.2d 575, 927 N.E.2d 1059 (quoting Global Fin. Corp. v. Triarc Corp., 93
       N.Y.2d 525, 528, 693 N.Y.S.2d 479, 715 N.E.2d 482 (1999)); Homeward Residential, Inc. v. Sand Canyon
       Corp., 2022 WL 402389, at *2, 2022 U.S. App. LEXIS 3660, at *4 (2d Cir. Feb. 10, 2022).

371    Here, because the Trust is bringing the breach of fiduciary duty claims derivatively, the residence of the
       relevant Tops entities, not of the Trust or the trustee of the Trust, is the proper inquiry. In re Wonderwork,
       Inc., 626 B.R. at 111. Similarly, Tops’ assignment of the claims to the Trust under the Plan does not change
       the inquiry from the residence of the relevant Tops entities. IKB Int'l S.A. v. Bank of Am. Corp., 2014 WL




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       859355, at *4–5, 2014 U.S. Dist. LEXIS 46549, at *13-14 (S.D.N.Y., Feb. 28, 2014), adopted by 2014 U.S.
       Dist. LEXIS 45813 (S.D.N.Y., Mar. 31, 2014).

372    Baena v. Woori Bank, 2006 WL 2935752, at *6, 2006 U.S. Dist. LEXIS 74549, at *18-19.

373    Shamah Decl. Exs. 1, 4.

374    Main Case., ECF No. 1.

375    Interventure 77 Hudson LLC v. Halengren, 2018 WL 2234878, at *3, 2018 N.Y. Misc. LEXIS 1851, at *7 (Sup.
       Ct. N.Y. Cty., May 14, 2018), aff'd, Interventure 77 Hudson LLC v. Falcon Real Estate Inv. Co., 172 A.D.3d
       481, 101 N.Y.S.3d 326 (1st Dep't. 2019) (“published decisions of New York state courts generally hold that
       the [corporation's residency] is controlled by the entity's state of incorporation.”) (citations omitted); Gordon v.
       Credno, 102 A.D.3d 584, 585, 960 N.Y.S.2d 360 (1st Dep't. 2013) (finding that the plaintiff's residence under
       NY CPLR § 202 was its state of incorporation where the plaintiff had “minimal business activities”); Verizon
       Directories Corp. v. Continuum Health Partners, Inc., 74 A.D.3d 416, 416-17, 902 N.Y.S.2d 343 (1st Dep't.
       2010); Potter v. Arrington, 11 Misc.3d at 964, 969, 810 N.Y.S.2d 312.

376    Luv N’ Care, Ltd. v. Goldberg Cohen, LLP, 703 F. Appx. 26, 28 (2d Cir. 2017) (applying Louisiana's statute
       of limitations to a malpractice claim where the plaintiff was a Delaware corporation with a principal place of
       business in Louisiana); Woori Bank v. Merrill Lynch, 923 F. Supp. 2d 491, 494-95 (S.D.N.Y. 2013) (collecting
       cases, and stating that “[c]ourts within the Second Circuit have consistently held that a business entity's
       residence is determined by its principal place of business.”), aff'd sub nom. Bank v. Lynch, 542 Fed. Appx.
       81 (2d Cir. 2013); Robb Evans & Assocs. LLC v. Sun Am. Life Ins., 2012 WL 488257, at *3, 2012 U.S. Dist.
       LEXIS 19759, at *8-9 (S.D.N.Y. Feb. 14, 2012); Guzman v. Macy's Retail Holdings, Inc., 2010 WL 1222044,
       at *10, 2010 U.S. Dist. LEXIS 29544, at *30-31 (S.D.N.Y., Mar. 29, 2010); In re WonderWork, Inc, 626 B.R. at
       111; Sands Bros. Venture Capital II, LLC v. Park Ave. Bank, 67 Misc.3d 1216(A), 127 N.Y.S.3d 255 (Sup. Ct.
       N.Y. Cty. 2020), aff'd, 190 A.D.3d 658, 136 N.Y.S.3d 737 (1st Dep't. 2021) (finding that the place of residence
       was the plaintiff corporation's principal place of business).

377    In re Wonderwork, Inc., 626 B.R. at 111.

378    703 Fed. Appx. at 29 n.1

379    626 B.R. at 111.

380    74 A.D.3d at 417, 902 N.Y.S.2d 343. Interventure 77 Hudson is similarly distinguishable because it applied
       plaintiff's state of incorporation after determining “there is no evidence that [plaintiffs] have a principal place
       of business in any one state.” 172 A.D.3d at 481, 101 N.Y.S.3d 326.

381    102 A.D.3d at 585, 960 N.Y.S.2d 360.

382    See Oxbow Calcining USA Inc. v. Am. Indus. Partners, 96 A.D.3d 646, 651, 948 N.Y.S.2d 24 (1st Dep't.
       2012) (“Any ruling on whether the borrowing statute applies would require a factual determination as to
       the principal residency of [the plaintiff corporation] and its subsidiaries, which is inappropriate on motion to
       dismiss.”) (citations omitted). See also Ritchie Capital Mgmt., L.C.C. v. JP Morgan Chase & Co., 960 F. 3d
       1037, 1050-51 (8th Cir. 2020).

383    Estate of Eller v. Bartron, 31 A.3d 895, 897 (Del. 2011).

384    The parties disagree on the applicable substantive law governing the breach of fiduciary duty claims; however,
       as noted above at n.359, if the underlying law of Delaware and New York are not in conflict the Court need




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       not resolve this issue now and is disinclined to do so, particularly given the parties’ failure to identify which
       Tops entities were owed the fiduciary duties at issue or all the Tops entities’ state of incorporation.

385    United States Fire Ins. Co. v. Raia, 94 A.D.3d 749, 751, 942 N.Y.S.2d 543 (2d Dep't 2012) (quoting Rut v.
       Young Adult Inst., Inc., 74 A.D.3d 776, 777, 901 N.Y.S.2d 715 (2d Dep't 2010)).

386    Malone v. Brincat, 722 A.2d 5, 10 (Del. 1998).

387    Graham v. Allis-Chalmers Mfg. Co., 188 A.2d 125, 130 (Del. 1963); Brehm v. Eisner, 746 A.2d 244, 259
       (Del. 2000).

388    In re Lear Corp. S'holder Litig., 967 A.2d 640, 651 (Del. Ch. 2008).

389    Cede & Co. v. Technicolor, Inc., 634 A.2d 345, 361 (Del. 1993).

390    Guth v. Loft, Inc., 5 A.2d 503, 510 (Del. 1939).

391    Guttman v. Huang, 823 A.2d 492, 506 (Del. Ch. 2003).

392    Leal v. Meeks (In re Cornerstone Therapeutics Inc.), 115 A.3d 1173, 1179-80 (Del. 2015); See also Official
       Comm. of Unsecured Creditors of Integrated Health Servs., Inc. v. Elkins, 2004 WL 1949290, at *10, 2004
       Del. Ch. LEXIS 122, at *36-37 (Del. Ch., Aug. 24, 2004) (explaining that self-interest and lack of independence
       are distinct concepts).

393    In re Fedders N. Am., Inc., 405 B.R. 527, 540 (Bankr. D. Del. 2009); Stone ex rel. AmSouth Bancorporation
       v. Ritter, 911 A.2d 362, 370 (Del. 2006).

394    Id. at 369.

395    See Levin v. Nirav Deepak Modi (In re Firestar Diamond, Inc.), 634 B.R. 265, 302 (Bankr. S.D.N.Y. 2021)
       (discussing both Delaware and New York fiduciary duty law); NY BCL § 717(a).

396    See Spizz v. Eluz (In re Ampal-American Israel Corp.), 2020 WL 5075992, at *7, 2020 Bankr. LEXIS 2260,
       at *17-18 (Bankr. S.D.N.Y., Aug. 25, 2020) (“[A director] may lack disinterestedness not only if she has a
       direct interest, but also if she is controlled by another who does. The duty of loyalty also forbids an officer
       from acting in bad faith. The duty to act in good faith in the context of the duty of loyalty proscribes conduct
       that is not disloyal but is qualitatively more culpable than gross negligence.”) (internal quotation marks and
       citations omitted), and the cases cited therein.

397    In re Orchard Enters., Inc. S'holder Litig., 88 A.3d 1, 33 (Del. Ch. 2014) (Delaware law); In re Ampal-American
       Israel Corp., 543 B.R. at 481-82 (New York law).

398    In re Orchard Enters., 88 A.3d at 33-34 (quoting Aronson v. Lewis, 473 A.2d 805, 812 (Del. 1984)).

399    Avande, Inc. v. Evans, 2019 WL 3800168, at *8, 2019 Del. Ch. LEXIS 305, at *21 (Del. Ch. Aug.13, 2019)
       (quoting Oliver v. Boston Univ., 2006 WL 1064169, at *18, 2006 Del. Ch. LEXIS 75, at *77 (Del. Ch., Apr.
       14, 2006)).

400    IT Grp., Inc. v. D'Aniello, 2005 WL 3050611, at *11, 2005 U.S. Dist. LEXIS 27869, at *40 (D. Del., Nov. 15,
       2005).

401    488 A.2d 858 (Del. 1985).




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402    ECF No. 41-3.

403    ECF No. 41-2.

404    Bond v. Rosen (In re NSC Wholesale Hldgs. LLC), 637 B.R. 71, 84-85 (Bankr. D. Del. 2022) (internal quotation
       marks and citation omitted). See also Malpiede v. Townson, 780 A.2d 1075, 1091-93 (Del. 2001).

405    Malpiede v. Townson, 780 A.2d at 1095; See also Prod. Res. Grp., L.L.C. v. NCT Grp., Inc., 863 A.2d 772,
       777 (Del. Ch. 2004) (“One of the primary purposes of § 102(b)(7) is to encourage directors to undertake risky,
       but potentially value-maximizing, business strategies so long as they do so in good faith. To expose directors
       to liability for breach of the duty of care for derivative claims of mismanagement asserted by creditors guts
       this purpose by denying directors the protection of § 102(b)(7) when they arguably need it most.”).

406    Emerald Partners v. Berlin, 787 A.2d 85, 92 (Del. 2001); See also Malpiede, 780 A.2d at 1079 (“We further
       affirm the granting of a motion to dismiss the plaintiffs due care claim on the ground that the exculpatory
       provision in the charter of the target corporation authorized by 8 Del. C. § 102(b)(7), bars any claim for money
       damages against the Director Defendants based solely on the board's alleged breach of its duty of care.”);
       Stone, 911 A.2d at 367 (“a [Section l02(b)(7)] provision can exculpate directors from monetary liability for a
       breach of the duty of care, but not for conduct that is not in good faith or a breach of the duty of loyalty”); In
       re Cornerstone Therapeutics Inc, S'holder Litig., 115 A.3d 1173, 1181 (Del. 2015) (“Because a director will
       only be liable for monetary damages if she has breached a non-exculpated duty, a plaintiff who pleads only
       a due care claim against that director has not set forth any grounds for relief.”). See also In re Pfizer, Inc.
       Derivative Sec. Litig., 307 F. Appx. 590, 592-93 (2d Cir. 2009) (“[S]hareholders, pursuant to [Section 102(b)
       (7)], limited the directors’ liability to the full extent permitted by Delaware Law.... This sets a higher threshold
       for the plaintiffs, because pleading a substantial likelihood of personal liability for a breach of good faith or
       the duty of loyalty requires the plaintiffs to allege different, and more culpable, conduct than necessary for
       a breach of the duty of due care.”).

407    Leal v. Meeks (In re Cornerstone Therapeutics, Inc.), 115 A.3d 1173, 1176 (Del. 2015).

408    In re Tangoe, Inc. Stockholders Litig., 2018 WL 6074435, at *12, 2018 Del. Ch. LEXIS 534, at *33 (Del. Ch.,
       Nov. 20, 2018) (quoting Cornerstone, 115 A.3d at 1179); Chen v. Howard-Anderson, 87 A.3d 648, 677 (Del.
       Ch. 2014) (“The liability of the directors must be determined on an individual basis because the nature of
       their breach of duty (if any), and whether they are exculpated from liability for that breach, can vary for each
       director.”) (internal quotation marks and citations omitted).

409    Cornerstone, 115 A.3d at 1179-80.

410    In re Ampal-American Israel Corp., 543 B.R. at 474 (citing Hamilton Partners, L.P. v. Englard, 11 A.3d 1180,
       1211 (Del. Ch. 2010). See also Lipscomb v. Clairvest Equity Partners L.P. (In re LMI Legacy Holdings, Inc.),
       625 B.R. 268, 279-80 (D. Del. 2020) (construing New York law); Max v. ALP, Inc., 203 A.D.3d 580, 581-82,
       165 N.Y.S.3d 522 (1st Dep't. 2022).

411    Lipscomb v. Clairvest Equity Partners Ltd. P'ship (In re LMI Legacy Hldgs., Inc.), 2017 WL 1508606, at *6,
       2017 Bankr. LEXIS 1150, at *16 (Bankr. D. Del., Apr. 17, 2017), aff'd 625 B.R. at 268 (D. Del 2020) (“Absent
       bad faith or financial profit, the existence of such an exculpation clause can form the basis for dismissal of
       a claim alleging breach of duty of care.”); Stanziale v. Khan (In re Evergreen Energy, Inc.), 546 B.R. 549,
       561 (Bankr. D. Del. 2016) (“When a duty of care breach is not the exclusive claim, a court may not dismiss
       the duty of care claim based on an exculpatory provision.”) (emphasis in the original); Bridgeport Hldgs. Inc.
       Liquidating Trust v. Boyer (In re Bridgeport Hldgs., Inc.), 388 B.R. 548, 570-72 (Bankr. D. Del. 2008) (same).
       But see IT Grp., Inc. v. D'Aniello, 2005 WL 3050611, at *11, 2005 U.S. Dist. LEXIS 27869, at *40 (“Once the




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       § 102(b)(7) provision is raised against duty of care claims, that is the end of the case.”) (internal quotation
       marks and citation omitted).

412    Complaint ¶ 262.

413    Friedman v. Wellspring Capital Mgmt., LLC (In re SportCo Hldgs., Inc.), 2021 WL 4823513, at *6, 2021
       Bankr. LEXIS 2848, at *16 (Bankr. D. Del., Oct. 14, 2021) (quoting In re Trados Inc. S'holder Litig., 2009 WL
       2225958, at 6, 2009 Del. Ch. LEXIS 128, at *22 (Del. Ch., July 24, 2009)) (internal quotation marks omitted).
       See also Goldstein v. Denner, 2022 WL 1671006, at *45, 2022 Del. Ch. LEXIS 117, at *124 (Del. Ch., May
       26, 2022) (“Delaware courts are rightly skeptical that director equity creates a disqualifying interest where,
       as here, the director received the same per-share consideration as all other stockholders.”).

414    In re SportCo Hldgs., Inc., 2021 WL 4823513, at *6, 2021 Bankr. LEXIS 2848, at *16 (quoting In re Gen.
       Motors Class H S'holders Litig., 734 A.2d 611, 617 (Del. Ch. 1999)).

415    Pers. Touch Hldg. Corp. v. Glaubach, 2019 WL 937180, at *19, 2019 Del. Ch. LEXIS 66, at *51-52 (Del. Ch.,
       Feb. 25, 2019) (quoting Cede, 634 A.2d at 362).

416    Id.

417    Complaint ¶ 263.

418    Id. ¶ 138. See also id. ¶¶ 105, 123.

419    Id. ¶ 144. See also id. ¶ 44 (“Morgan Stanley also incentivized and rewarded Josefowicz and Rauch for
       approving dividends to Morgan Stanley by providing them with substantial bonuses in connection with the
       dividends.”).

420    Id. ¶ 165. See also id. ¶ 180.

421    Massey Decl. Ex. 6.

422    Id. Ex. 1, at 80; Ex. 4, at 2 (Rauch stock option); Ex. 4, at 83 (Rauch stock option).

423    Gheewalla, 930 A.2d at 101; United States SBA v. Feinsod, 347 F. Supp. 3d 147, 160 (E.D.N.Y. 2018)
       (“[O]nce a corporation is insolvent, corporate officers and directors owe a fiduciary duty to preserve corporate
       assets for the benefit of the creditors.”) (internal quotation marks and citation omitted); In re Sabine Oil & Gas
       Corp., 562 B.R. at 230 (under New York law, fiduciaries of an insolvent company owe duties to the creditors,
       derivative of those owed to the corporation, to “exercise judgment in an informed, good faith effort to maximize
       the corporation's long-term wealth creating capacity”) (internal quotation marks and citation omitted).

424    In re Tribune Co. Fraudulent Conveyance Litig., 2019 WL 294807, at *17, 2019 U.S. Dist. LEXIS 10983, at
       *48-49 (S.D.N.Y. Jan. 23, 2019), aff'd in part, vacated in part on other grounds sub nom. Kirschner v. Large
       S'holders (In re Tribune Co. Fraudulent Conv. Litig.), 10 F.4th 147 (2d Cir. 2021) (applying Delaware law,
       and stating that, “a director of an insolvent corporation is interested in a transaction if he or she receives a
       personal benefit not shared by all of the insolvent corporation's creditors.”) (citing Guth v. Loft, Inc., 5 A.2d
       503, 510 (Del. 1939); In re Healthco Int'l, Inc., 208 B.R. 288, 303 (Bankr. D. Mass. 1997); Wieboldt Stores,
       Inc. v. Schottenstein, 94 B.R. 488, 510 (N.D. Ill. 1988)).

425    Quadrant Structured Products, 115 A.3d at 547-48.

426    Complaint ¶ 133.




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427    See nn. 193 and.196 above.

428    Id. ¶ 154.

429    Id. ¶ 153.

430    2012 WL 1345638, at *5–6, 2012 Del. Ch. LEXIS 74, at *17 (Del. Ch., Mar. 2012).

431    2009 WL 2225958, at *––––, 2009 Del. Ch. LEXIS 128, at *22 (Del. Ch., Jul. 24, 2009).

432    Cinerama, Inc. v. Technicolor, Inc., 663 A.2d 1156, 1167 (Del. 1995) (“The subjective standard is consistent
       with this Court's observation, in Cede II, that requiring a shareholder plaintiff to show ‘the materiality of a
       director's self-interest to the given director's independence’ was a ‘restatement of established Delaware law.’
       ”) (quoting Cede, 634 A.2d at 363). See also Orman v. Cullman, 794 A.2d 5, 23 (Del. Ch. 2002) (explaining
       that materiality means “the alleged benefit was significant enough in the context of the director's economic
       circumstances, as to have made it improbable that the director could perform her fiduciary duties to the ...
       shareholders without being influenced by her overriding personal interest.”); In re Gen. Motors Class H
       S'holders Litig., 734 A.2d at 617 (requiring plaintiffs to show that the composition of each director's stock
       holdings were “of a sufficiently material importance, in the context of the directors’ economic circumstances,
       as to have made it improbable that the director could perform her fiduciary duties ... without being influenced
       by her overriding personal interest.”).

433    Goldstein v. Denner, 2022 WL 1671006, at *39, 2022 Del. Ch. LEXIS 117, at *112-13 (internal quotation
       marks and citations omitted).

434    Id. at *42–43, 2022 Del. Ch. LEXIS 117 at 118-19.

435    Id. at *42, 2022 Del. Ch. LEXIS 117 at 118 n.24 (citing JJS, Ltd. v. Steelpoint CP Hldgs., LLC, 2019 WL
       5092896 at *12–13, 2019 Del. Ch. LEXIS 1308, at *28 (Del. Ch., Oct. 11, 2019)) (other citations omitted).

436    Id. at *42, 2022 Del. Ch. LEXIS 117 at 118 (quoting In re Primedia Inc. Deriv. Litig., 910 A.2d 248, 261 n.45
       (Del. Ch. 2006)).

437    Id. at *42–43, 2022 Del. Ch. LEXIS 117 at 119-20.

438    In re MFW S'holders Litig., 67 A.3d 496, 511-12 & n.54 (Del. Ch. 2013), aff'd sub nom. Kahn v. M & F
       Worldwide Corp., 88 A.3d 635 (Del. 2014).

439    Orman v. Cullman, 794 A.2d at 30.

440    See Central Laborers’ Pension Fund ex re. Goldman Sachs Grp. v. Blankfein, 34 Misc.3d 456, 931 N.Y.S.2d
       835, 848-49 (Sup. Ct. N.Y. Cty. 2011), where the court, applying Delaware law, held that the plaintiffs
       failed to adequately plead that director fees -- which ranged from $300,000 to $700,000 per year -- were
       sufficiently material to infer that the directors were impartial, given the lack of financial information provided
       as to each defendant. That holding applied to one director defendant who allegedly earned $536,000 in
       annual compensation in her main occupation as a university president: because the plaintiffs did not provide
       information about her other potential sources of income, the court could not conclude that the fees were
       material. Id. at 848.

441    See In re Nat'l Auto Credit S'holders Litig., 2003 WL 139768, at *11, 2003 Del. Ch. LEXIS 5, at *39-42 (Del.
       Ch. Jan. 10, 2003).




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442    Orman v. Cullman, 794 A.2d at 30 (concluding that it would be reasonable to infer that a $75,000 fee would
       be material to a particular director, especially because “the inference of materiality is strengthened when the
       allegedly disabling fee is paid for the precise services that comprise the principal occupation of the challenged
       director.”).

443    In re Trados Inc. S'holder Litig., 2009 WL 2225958, at *7–8, 2009 Del. Ch. LEXIS 128, at *32-33.

444    2017 WL 1437308, at *1, 2017 Del. Ch. LEXIS 67, at *2 (Del. Ch., Apr. 14, 2017).

445    Id. at *27–28, 2017 Del. Ch. LEXIS 67, at *64-65.

446    Id. at *6, 2017 Del. Ch. LEXIS 67, at *16-17.

447    Id.

448    Id. at *30–31, 2017 Del. Ch. LEXIS 67, at *74.

449    Id. at *30–31, 2017 Del. Ch. LEXIS 67, at *73-74.

450    Id. at *30, 2017 Del. Ch. LEXIS 67 at *74.

451    Aronson v. Lewis, 473 A.2d at 816.

452    Official Comm. of Unsecured Creditors of Integrated Health Servs., Inc. v. Elkins, 2004 WL 1949290, at *10,
       2004 Del. Ch. LEXIS 122, at *36-37 (Del. Ch., Aug. 24, 2004).

453    Weinstein Enterprises, Inc. v. Orloff, 870 A.2d 499, 512 (Del. 2005); Rales v. Blasband, 634 A.2d 927, 936
       (Del. 1993); Highland Legacy Ltd. v. Singer, 2006 WL 741939, at *5, 2006 Del. Ch. LEXIS 55, at *21 (Del.
       Ch., Mar. 17, 2006).

454    Benihana of Tokyo, Inc. v. Benihana, Inc., 891 A.2d 150, 179 (Del. Ch. 2005), aff'd, 906 A.2d 114 (Del. 2006).

455    Aronson v. Lewis, 473 A.2d at 816.

456    Id.

457    Id.; See also Weinstein, 870 A.2d at 512; In re IAC/InterActiveCorp Sec. Litig., 478 F. Supp. 2d 574,
       602 (S.D.N.Y. 2007) (“Any argument that the directors were nominated by or elected at the behest of the
       controlling person adds nothing.”).

458    Delaware Cty. Emps. Ret. Fund v. Sanchez, 124 A.3d 1017, 1019 (Del. 2015) (“[P]laintiffs pled not only that
       the director had a close friendship of over half a century with the interested party, but that consistent with that
       deep friendship, the director's primary employment (and that of his brother) was as an executive of a company
       over which the interested party had substantial influence.”); In re Student Loan Corp. Derivative Litig., 2002
       WL 75479, at *3, 2002 Del. Ch. LEXIS 7, at *8 (Del. Ch., Jan. 8, 2002) (“[T]he complaint alleges facts that
       suggest that all four of the affiliated directors have committed their careers to Citigroup,” and “each owes his
       livelihood to Citigroup.”); Harbor Fin. Partners v. Huizenga, 751 A.2d 879, 889 (Del. Ch. 1999) (“Hudson's
       business relationship with Huizenga extends back over 30 years. ... This long-standing pattern of mutually
       advantageous business relations makes me doubtful that Hudson could impartially consider a demand that
       Republic file a lawsuit adverse to Huizenga's interests.”).

459    In re EZCORP Inc. Consulting Agreement Derivative Litig., 2016 WL 301245, at *41, 2016 Del. Ch. LEXIS
       14, at *135 (Del. Ch., Jan. 25, 2016).




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460    Goldstein, 2022 WL 1671006, at *46, 2022 Del. Ch. LEXIS 117, at *128-32 (citing, among others, Da Lin,
       “Beyond Beholden,” 44 J. Corp. L. 515 (2019) (“Although mere recitation of the fact of past business or
       personal relationships will not make the Court automatically question the independence of a challenged
       director, it may be possible to plead additional facts concerning the length, nature or extent of those previous
       relationships that would put in issue that director's ability to objectively consider the challenged transaction.”).

461    Id. at *49, 2022 Del. Ch. LEXIS 117, at 135-36. However, the court commented that the pleadings would likely
       not be sufficient to survive a motion to dismiss in the demand excusal context under Delaware Chancery
       Court Rule 23.1. Id. And, as other courts have noted, Delaware Chancery Court Rule 12(b)(6) is analogous
       to, but less exacting than, Fed. R. Civ. P. 12(b)(6). Drivetrain, LLC v. EverStream Solar Infrastructure Fund I
       LP (In re SunEdison, Inc.), 639 B.R. 824, 834 (Bankr. S.D.N.Y. 2022) (quoting Winshall v. Viacom Int'l, Inc.,
       76 A.3d 808, 813 n.12 (Del. 2013) (“The Twombly/Iqbal plausibility standard is more rigorous than Delaware's
       counterpart pleading standard.”)).

462    In re Oracle Corp. Derivative Litig., 2018 WL 1381331, at *17, 2018 Del. Ch. LEXIS 92, at *50-52 (Del. Ch.,
       Mar. 19, 2018) (“In my view, the combined effect of Conrades's business ties and the threat of losing his
       directorship is to create reasonable doubt that he could impartially consider whether to sue Ellison.”).

463    Security Police and Fire Professionals of Am. Ret. Fund v. Mack, 30 Misc.3d 663, 917 N.Y.S.2d 527, 541
       (Sup. Ct. N.Y. Cty. 2010) (applying Delaware law and finding that directors’ annual stipends ranging from
       $325,000 to $376,733 did not establish lack of independence because they were not alleged to materially
       exceed usual and customary directors’ fees) (citing Orman v. Cullman, 794 A.2d at 29 n.62). See also Central
       Laborers’ Pension Fund ex re. Goldman Sachs Grp. v. Blankfein, 931 N.Y.S.2d at 848 (considering whether
       directors’ fees, “as generous as they appear[ed] to be,” were anything other than usual and customary).

464    Orman, 794 A.2d at 30 (“Although not determinative, the inference of materiality is strengthened when the
       allegedly disabling fee is paid for the precise services that comprise the principal occupation of the challenged
       director.”).

465    Orman, 794 A.2d at 24; Cinerama, 663 A.2d at 1167.

466    Kahn v. M&F Worldwide Corp., 88 A.3d 635, 649 (Del. 2014), overruled in part on other grounds by Flood
       v. Synutra Int'l, Inc., 195 A.3d 754 (Del. 2018).

467    United Food and Commercial Workers Union and Participating Food Industry Employers Tri-State Pension
       Fund v. Zuckerberg, 262 A.3d 1034, 1060-61 (Del. 2021) (internal quotation marks and citations omitted).

468    Samuels v. CCUR Holdings, Inc., 2022 WL 1744438, at *6–7, 2022 Del. Ch. LEXIS 119, at *16-17 (Del. Ch.,
       May 31, 2022) (citing Frederick Hsu Living Tr., 2016 Del. Ch. LEXIS 150, at *61-62).

469    Id. at *7, 2022 Del. Ch. LEXIS 119 at *18 (quoting Teamsters Local 237 Additional Sec. Ben. Fund v. Caruso,
       2021 WL 3883932, at *14, 2021 Del. Ch. LEXIS 188, at *38 (Del. Ch. Aug. 31, 2021)) (emphasis in original).

470    Complaint ¶¶ 44, 137.

471    Id. ¶137.

472    Id.

473    In re Oracle Corp. Derivative Litig., 2018 WL 1381331, at *11, 2018 Del. Ch. LEXIS 92, at *33 (Del. Ch. Mar.
       19, 2018) (quoting Brehm v. Eisner (In re Walt Disney Co. Derivative Litig.), 906 A.2d 27, 67 (Del. 2006)).




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474    In re MeadWestvaco Stockholders Litig., 168 A.3d 675, 684 (Del. Ch. 2017) (citations omitted); see also
       Buchwald Cap. Advisors LLC v. Schoen (In re OPP Liquidating Co.), 2022 WL 774063, at *10–11, 2022 Bankr.
       LEXIS 651, at *24 (Bankr. D. Del., Mar. 14, 2022) (quoting In re Chelsea Therapeutics Int'l Ltd. Stockholders
       Litig., 2016 WL 3044721, at *7, 2016 Del. Ch. LEXIS 79, at *23 (Del. Ch., May 20, 2016)).

475    Goldstein v. Denner, 2022 WL 1671006, at *40–41, 2022 Del. Ch. LEXIS 117, at *114 (Del. Ch. May 26, 2022).

476    Kahn v. Stern, 2018 WL 1341719, at *1, 2018 Del. LEXIS 114, at *1-2 (Del. Mar. 15, 2018). See also Voigt
       v. Metcalf, 2020 WL 614999, at *25, 2020 Del. Ch. LEXIS 55, at *66 (Del. Ch. Feb. 10, 2020) (“[T]o plead a
       claim that [the defendant] did not act in good faith, [the plaintiff] must plead facts supporting an inference that
       [the defendant] did not reasonably believe that the ... transaction was in the best interests of the [Company].”)

477    Goldstein, 2022 WL 1671006, at *40–41, 2022 Del. Ch. LEXIS 117, at *114; Firefighters’ Pension Sys. v.
       Presidio, Inc., 251 A.3d 212, 276-77 & n.19 (Del. Ch. 2021).

478    In re BJ's Wholesale Club, Inc. S'holders Litig., 2013 WL 396202, at *11-12, 2013 Del. Ch. LEXIS 28, at
       *44-45 (Del. Ch., Jan. 31, 2013).

479    See Tilden v. Cunningham, 2018 Del. Ch. LEXIS 510 at *37, 2018 WL 5307706 at 17 (Del. Ch., Oct. 26, 2018)
       (dismissing bad faith claim where the directors relied on an outside financial advisor and the plaintiff did not
       plead that the “Board actually knew [the third-party advisor] had manipulated its financial analysis”); Lenois
       v. Lawal, 2017 Del. Ch. 784, at *52-53, 2017 WL 5289611, at *18 (Del. Ch. Nov. 7, 2017) (dismissing bad
       faith claim where directors relied on financial advisor's analysis and explaining “[p]laintiff has not adequately
       alleged that Director Defendants acted with knowledge that the financial advisor's opinion was false”); In re
       Bear Stearns Litig., 23 Misc.3d 447, 463, 870 N.Y.S.2d 709 (Sup. Ct. N.Y. Cty. 2008) (citing Disney, 906
       A.2d at 64-65) (“A showing of gross negligence alone, including the failure to ascertain the available material
       facts, will not suffice”).

480    Chen v. Howard-Anderson, 87 A.3d 648, 683 (Del. Ch. 2014).

481    United States Small Business Admin. v. Feinsod, 347 F. Supp. 3d 147, 163 n.14 (E.D.N.Y. 2018) (collecting
       New York cases on bad faith requirements and stating that Delaware law would not produce a different result).

482    Delaware courts separately recognize claims of bad faith against directors for failure to exercise adequate
       oversight, commonly called Caremark claims. To succeed on a Caremark claim, the plaintiff must show

          the directors utterly failed to implement any reporting or information system or controls; or (b) having
          implemented such a system or controls, consciously failed to monitor or oversee its operations thus
          disabling themselves from being informed of risks or problems requiring their attention. In either case,
          imposition of liability requires a showing that the directors knew that they were not discharging their fiduciary
          obligations.

       Stone v. Ritter, 911 A.2d at 370. “In short, to satisfy their duty of loyalty, directors must make a good faith effort
       to implement an oversight system and then monitor it.” Marchand v. Barnhill, 212 A.3d 805,821 (Del. 2019).
       Where the plaintiff is unable to plead the failure to make the required good faith effort to put a reasonable
       compliance and reporting system in place, Delaware courts have dismissed Caremark claims even though
       illegal or harmful company activities escaped the directors’ detection. Id. (collecting cases). “Simply alleging
       that a board incorrectly exercised its business judgment and made a ‘wrong’ decision in response to red
       flags ... is insufficient to plead bad faith.” Melbourne Municipal Firefighters’ Pension Trust Fund, 2016 WL
       4076369, at *9, 2016 Del. Ch. LEXIS 114, at *26 (Del. Ch., Aug. 1, 2016) (citing In re Citigroup Inc. S'holder
       Derivative Litig., 964 A.2d 106, 131 (Del. Ch. 2009)).




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            Iqbal, 556 U.S. at 683, 129 S.Ct. 1937 (holding that conclusory statements regarding petitioners’
       discriminatory state of mind were insufficient without supporting factual allegations). Here, the Complaint has
       not alleged a Caremark claim of bad faith against either Josefowicz or Rauch.

483    E.g. Canosa v. Ziff, 2019 WL 498865, at *12, 2019 U.S. Dist. LEXIS 13263, at *30-31 (S.D.N.Y. Jan. 28,
       2019) (quoting Marketxt Hldgs. Corp. v. Engel & Reiman, P.C., 693 F. Supp. 2d 387, 393 (S.D.N.Y. 2010)).

484    Given MSIM's limited argument, the Court does not need to decide the additional issue raised by the Trust
       that the internal affairs doctrine may not apply, in any event, to an aiding and abetting breach of fiduciary duty
       claim and New York's “interests analysis” would, instead. See generally Okimoto v. Youngjun Cai, 2015 WL
       3404334, at *4, 2015 U.S. Dist. LEXIS 68295, at *10 (S.D.N.Y., May 21, 2015); LaSala v. Bank of Cyprus
       Pub. Co. Ltd., 510 F. Supp. 2d 246, 266 n.7 (S.D.N.Y. 2007)

485    RBC Capital Markets, LLC v. Jervis, 129 A.3d 816, 861 (Del. 2015) (citation omitted); See also Cargill Inc. v.
       JWH Special Circumstance LLC, 959 A.2d 1096, 1125 (Del. Ch. 2008). New York applies a similar standard:
       the plaintiff must allege “that there was a breach of fiduciary duty by another, the defendant had actual
       knowledge of the breach, the defendant knowingly induced or participated in the breach, and that the plaintiff
       suffered damages as a result of the breach.” Kraus USA, Inc. v. Magarik, 2020 WL 2415670, at *13, 2020
       U.S. Dist. LEXIS 83481, at *35 (S.D.N.Y., May 12, 2020).

486    In re Del Monte Foods Co. S'holders Litig., 25 A.3d 813, 836 (Del. Ch. 2011).

487    Morrison v. Berry, 2020 WL 2843514, at *8, 2020 Del Ch. LEXIS 200, at *25 (Del. Ch., June 1, 2020) (internal
       quotation marks omitted), citing RBC Capital Markets, LLC v. Jervis, 129 A.3d 816, 849-50 (Del. 2015) and
       arising in the scope of a Revlon change in control context.

488    In re Essendant, Inc. Stockholder Litig., 2019 WL 7290944, at *17, 2019 Del. Ch. LEXIS 1404, at *36 (Del.
       Ch., Dec. 30, 2019).

489    Singh v. Attenborough, 137 A.3d 151, 153 (Del. 2016).

490    Complaint ¶ 4.

491    Id. ¶ 132

492    Id. ¶¶ 142, 153.

493    Id. ¶ 19.

494    Id. introductory paragraph.

495    Id. at ¶¶ 25 and 26 (Matthews and Fry).

496    Id. at ¶ 27 ( Kanter).

497    Lumping these defendants together, which is “generally impermissible,” is not excused even by analogy to
       the “group pleading doctrine” because that doctrine does not also encompass allegations of scienter. In re
       Platinum-Beechwood Litig., 2019 WL 1570808, at *8, 2019 U.S. Dist. LEXIS 62745, at *35 (S.D.N.Y., Apr.
       11, 2019).



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